EXHIBIT 11




EXHIBIT 11
               Ogechukwu Amarachukwu Gloria Mimi Mbegbu - March 16, 2017

                                                                           1

 1            IN THE UNITED STATES DISTRICT COURT

 2                FOR THE DISTRICT OF ARIZONA

 3

 4   Ngozi Mbegbu, individually as the   )
     surviving spouse of decedent        ) Case No.
 5   Balantine Mbegbu and on behalf of   ) 2:16-cv-00424-DGC
     decedent's children Ogechukwu       )
 6   Amarachukwu Gloria Mbegbu and       )
     C.C.E.M. (a minor) as the           )
 7   statutory beneficiaries of          )
     Balantine Mbegbu; and as            )
 8   Personal Representative of the      )
     Estate of Balantine Mbegbu,         )
 9                                       )
               Plaintiffs,               )
10   vs.                                 )
                                         )
11   City of Phoenix, et al.,            )
                                         )
12             Defendants.               )
     ____________________________________)
13
14                   VIDEOTAPED DEPOSITION OF

15         OGECHUKWU AMARACHUKWU GLORIA "MIMI" MBEGBU

16
17                          Chandler, Arizona
                             March 16, 2017
18                              10:22 a.m.

19

20   REPORTED BY:
     LINDA BLACKMON, RPR/RMR
21   Certified Reporter
     Certificate No. 50320
22

23   PREPARED FOR:

24   (Copy)

25

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                  Ogechukwu Amarachukwu Gloria Mimi Mbegbu - March 16, 2017

                                                                                     2

 1                                   I N D E X

 2   WITNESS                                                                  Page

 3   OGECHUKWU AMARACHUKWU GLORIA "MIMI" MBEGBU

 4                 Examination by Ms. Retts                                     5

 5
                                E X H I B I T S
 6
     Deposition
 7   Exhibits:               Description                                      Page

 8

 9                      (NO EXHIBITS WERE MARKED)

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                                                                           3

 1                   VIDEOTAPED DEPOSITION OF

 2       OGECHUKWU AMARACHUKWU GLORIA "MIMI" MBEGBU,

 3   was taken on March 16, 2017, commencing at 10:22 a.m.,

 4   at the law offices of Struck Wieneke & Love, 3100 West

 5   Ray Road, Chandler, Arizona, before LINDA BLACKMON,

 6   RPR/RMR, a Certified Reporter in the State of Arizona.

 7

 8   COUNSEL APPEARING:

 9                  For the Plaintiffs:
                    Megwa Law Offices
10                  By: SABINUS A. MEGWA, ESQ.
                    6811 South Central Avenue
11                  Phoenix, Arizona 85042

12

13                  For the Defendants:
                    Struck Wieneke & Love
14                  By: CHRISTINA RETTS, ESQ.
                    3100 West Ray Road, Suite 300
15                  Chandler, Arizona 85226

16
                    ALSO PRESENT:
17
                    William Marinakis, VideoDep, Incorporated
18
                    Ngozi Mbegbu
19
                            Mbegbu
20

21
22

23

24

25

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               Ogechukwu Amarachukwu Gloria Mimi Mbegbu - March 16, 2017

                                                                           40

 1   just my uncle.

 2      Q.    Does he live here in Arizona?

 3      A.    No, he's in Nigeria.

 4      Q.    Your grandparents on your mother's side, are

 5   they still living?

 6      A.    Not that I'm aware.              I don't think so.

 7      Q.    Who would you say that your parents' closest

 8   friends were here in Arizona?

 9      A.    With my father, I would say it was Gerald, and

10   with my mother, she had a lot of friends.
11      Q.    After your father passed, did you ever hear any

12   information about there being an argument at any time

13   before his death?
14      A.    No.

15                   MR. MEGWA:         Objection, form.

16      Q.    BY MS. RETTS:         Did you ever call the police to
17   respond to your home?

18      A.    Yes.

19      Q.    Tell me what happened.

20      A.    It was a night where there had been some mild

21   arguing going on.      And one of my aunts who had come
22   over, not a blood relative, had wanted to go home, but

23   my father was not entirely sure where we were going, so

24   he didn't want us to go.

25                   And so when I was trying to leave the

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 1   driveway, he had grabbed on to the car to not let me go,

 2   and I had started reversing so it knocked him down.                    And

 3   then he got upset because I knocked him down with the

 4   car.

 5                   So I went and called the police to tell

 6   them that there was a dispute occurring, and that my

 7   father had gotten very angry because we had tried to

 8   leave and he didn't know where we were going.

 9      Q.    What did you see happen with him when you say

10   he got very angry?       What did that look like to you?
11      A.    He just -- when he gets angry, he starts

12   stuttering quite often, and physically his eyes were

13   wide and he was breathing heavily.
14      Q.    Your father was a tall man?

15      A.    Decently.

16      Q.    Would you consider him to have been a strong
17   man?

18      A.    For the most part, yes.                   There were some things

19   he couldn't do all the time.

20      Q.    Tell me what those were.

21      A.    He couldn't stand for long periods of time
22   because his diabetes led to varicose veins, so he had to

23   wear a lot of tight socks to help his -- the flow in his

24   legs.   So he couldn't stand for long periods of time or

25   lift heavy things without having pain.

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 1      Q.      When he would lift heavy things, was it pain in

 2   his arms or his legs?

 3      A.      In his legs.

 4      Q.      You mentioned that your father stuttered when

 5   he got angry?

 6      A.      Yes.

 7      Q.      Was that the only time that you saw him

 8   stutter?

 9      A.      Yes.

10      Q.      Was your father yelling during this interaction
11   when you called the police?

12      A.      Yes.

13      Q.      Was this something that you had seen or the
14   first time you had seen something like this?

15      A.      The first time I had seen something to this

16   magnitude, because I had knocked him down, so to him, it
17   had gotten physical.

18      Q.      Were you ever aware of your father calling your

19   school or your brother's school multiple times?

20      A.      He would call my school sometimes to find out

21   either where I was or where my brother was because I was
22   doing dance classes and I would stay after quite often.

23      Q.      Were you ever aware of the police being called

24   because of some of those phone calls?

25      A.      No, I'm not aware.

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                                                                                    43

 1      Q.     And I apologize if I asked you, I just remember

 2   asking it in the first deposition.

 3      A.     That's fine.

 4      Q.     Can you describe the relationship that your

 5   parents had.

 6      A.     It was a typical husband/wife relationship with

 7   ups and downs, but at the end they lived fine together.

 8      Q.     Would you consider your father to have had a

 9   temper?

10      A.     Yes.    A stress-induced temper.
11      Q.     Was there a specific type of stress that would

12   cause him to become angry?

13      A.     It was monetary thoughts, because at that time
14   we started to struggle a little bit.                       His car was not

15   functioning, so I would have to drop him off at the bus

16   station, and he would take a bus to the correction
17   facility.

18                    So the fact that he lacked a car, the fact

19   that he was the only source of income, and that he had

20   to pay large sums of money without having a savings

21   account just built upon stress.                   So whenever things
22   involving money came up, he would get quite angry.

23      Q.     How often would you say that you would see your

24   father get angry during the times that you were living

25   at home about those types of things?                       Like once a week?

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 1      A.     Maybe once every two, three weeks.

 2      Q.     When your parents would argue, if you were ever

 3   around, did you ever see it become physical?

 4      A.     No.

 5      Q.     Did your father ever strike you?

 6      A.     No.

 7      Q.     Did you ever observe your father to strike

 8   anyone?

 9      A.     No.

10      Q.     Did you ever visit your father in the hospital?
11      A.     Yes.

12      Q.     On how many occasions?

13      A.     One that I can remember in detail.
14      Q.     Tell me about what you remember.

15      A.     He became sick, and I believe it was work

16   related, and he had been in the hospital for two days,
17   and he was not feeling stable at all.                       So we spent a lot

18   of time with him in the hospital.

19      Q.     Do you have an understanding of what he was in

20   the hospital for?

21      A.     I don't recall.
22      Q.     Did you ever take him to any medical

23   appointments?

24      A.     I don't recall.

25      Q.     Did your father ever talk to you about the

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 1   STATE OF ARIZONA         )
                              )   ss.
 2   COUNTY OF MARICOPA       )

 3            BE IT KNOWN that the foregoing proceedings were
     taken before me; that the witness before testifying was
 4   duly sworn by me to testify to the whole truth; that the
     foregoing pages are a full, true and accurate record of
 5   the proceedings, all done to the best of my skill and

 6   ability; that the proceedings were taken down by me in
     shorthand and thereafter reduced to print under my
 7   direction.

 8
              I CERTIFY that I am in no way related to any of
 9   the parties hereto nor am I in any way interested in
     the outcome hereof.
10
               [X] Review and signature was requested.
11             [ ] Review and signature was waived.
               [ ] Review and signature not required.
12

13            I CERTIFY that I have complied with the ethical
     obligations set forth in ACJA 7-206(F)(3) and ACJA
14   7-206 J(1)(g)(1) and (2). Dated at Phoenix, Arizona,
     this 27th day of March, 2017.
15

16
17

18                  _________________________________
                    Linda Blackmon, RPR, RMR
19                  Certified Reporter
                    Arizona CR No. 50320
20
                          *               *                 *              *
21
              I CERTIFY that GRIFFIN & ASSOCIATES, LLC, has
22   complied with the ethical obligations set forth in ACJA
     7-206 (J)(1)(g)(1) through (6).
23
                    __________________________________
24                  GRIFFIN & ASSOCIATES, LLC
                    Registered Reporting Firm
25                  Arizona RRF No. R1005

                        Griffin & Associates Court Reporters, LLC
                                      602.264.2230
EXHIBIT 12




EXHIBIT 12
EXHIBIT A
                                                                    2 Berkery Place
                                                                    Alpine, NJ
                                                                    07620-0398

                                                                    201-750-8220
CHARLES V. WETLI, MD
FORENSIC PATHOLOGIST                                         Cllarles VWetli@gmamiLcom

                                                             17 November 2016


Ms. Christina Retts, Esq.
c/o Struck Wieneke & Love
31 00 West Ray Road
Suite 300
Chandler, AZ 85226

Re: Mbegbu, et al v. City of Phoenix

Dear Ms. Retts:

Regarding the death of Mr. Balantine 0. Mbegbu, the following items were reviewed:

       Plaintiff Notice of Claim
       Plaintiff Complaint
       Police Reports (including Academy Training Records)
       Medical Records of Dr. Cunningham, Lincoln Hospital and Honor Health
       Miscellaneous Medical Records (including employment records and
               Concentra Medical Centers, insurance forms, etc.)
       Photographs of Mr. Mbegbu taken at Honor Health Medical Center
       Professional Standards Bureau Investigative Memorandum
       Medical Examiner Records, including Autopsy and Toxicology Reports
       Autopsy Photographs and Postmortem X-Rays
       Histological Sections taken at the time of Autopsy
       Pending Death Certificate
       Defendants Supplemental Disclosure Statements (multiple)
       Phoenix Union and Washington High School Records
       Arizona Department of Corrections Employment Records

Very briefly, Mr. Balantine Mbegbu was a 65 year old Nigerian man with a history of
hypertension, diabetes mellitus, hypothyroidism, hyperlipidemia and gout. He would
apparently anger easily but he did not have a history of domestic violence. However, the
police received an anonymous telephone call requesting they respond to the residence
because of a fight taking place and the concern that it could escalate to physical violence.
It was later learned that the call was made by a friend of Mr. Mbegbu who told him that if
he did not die that day his wife would. When the police arrived at the scene they




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encountered Mrs. Mbegbu outside the house. She indicated that there was no fight and
invited the police into the house. Upon entering, Mr. Mbegbu reportedly became verbally
abusive toward the police and threateningly approached the officers. The encounter
escalated into a physical struggle whereupon Mr. Mbegbu was punched once in the face.
A conducted electrical weapon (TASER) was discharged twice in dart mode. During the
first discharge he continued to flail his arms and legs, and after the second discharge he
fell prone onto the floor. He nonetheless continued to struggle with the police who
eventually were able to apply handcuffs. Shortly after being handcuffed he was found to
be without vital signs. CPR commenced immediately to no avail and he was pronounced
deceased upon arrival at a local hospital. The postmortem examination did not reveal any
injury or disease process that could account for his death. Toxicological analysis of
postmortem blood revealed <0.18mg/L (180mcg/L) of cyclobenzaprine. Vitreous fluid
was negative for volatile substances (alcohols and acetone) but was not tested for glucose
or electrolytes. A hemoglobin electrophoresis was not done. At issue is the cause and
mechanism of death, and whether the actions of the police caused or contributed to his
death.

Cyclobenzaprine (Flexeril, Lisseril) is a centrally acting skeletal muscle relaxant. Toxic
effects associated with prolonged usage or overdosage have included agitation and
psychosis. The high level detected in postmortem blood may well have been the cause of
his aggressive behavior.

Police actions in the attempt to subdue and arrest Mr. Mbegbu included physical strikes
and two applications of a TASER in dart mode. The postmortem examination excluded
any life-threatening physical injury. Although it has been alleged that the discharge of a
conducted electrical weapon such as the TASER can interfere with the heart, this has
never been substantiated. Furthermore, the flow of electricity is between the two
electrodes, not from an electrical source through the body to the ground (the usual path
for electrocutions with man-made electricity). Also, if a disturbance of heart rhythm
should occur following a TASER discharge, one would expect a fatal arrhythmia to occur
about 15 seconds after the discharge, and this did not happen with Mr. Mbegbu who
continued to struggle for some time following the last discharge.

Some years ago it was hypothesized that the prone position would interfere with the
movement of the diaphragm and therefore impair respiration and lead to death from
suffocation. This theory has subsequently been debunked and, in fact, it has been found
that the prone position actually facilitates breathing (probably because it allows the
posterior chest to more adequately expand and allow the larger lower lung lobes to inflate
with air).

A likely mechanism of death for Mr. Mbegbu would be similar to those victims of a
syndrome known as excited delirium. These individuals are violent and psychotic, do not
respond to pain compliance techniques, have unexpected strength and endurance, and
suddenly lose vital signs after being restrained (i.e. upon cessation of the physical
struggle). The physiologic mechanism of death is thought to be due to a profound drop in
blood pH secondary to a large accumulation oflactic acid in the blood as the result of the




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intense physical struggle. This, in combination with a surge in the hormone nor-
epinephrine upon cessation ofthe struggle, results in a sudden loss of vital signs with a
terminal heart rhythm of asystole (as seen with Mr. Mbegu) or pulseless electrical
activity.

Examination of the histological sections taken at the time of the autopsy revealed that Mr.
Mbegbu had sickle cell trait. This is generally a benign condition found in about 8% of
African Americans. However, it can cause serious illness or sudden death following
intense physical exertion (and the accompanying acidosis) since the red blood cells
deform and lose their ability to carry oxygen. The condition is known as exertional
sickling and is seen most frequently in the setting of military recruit training or physical
exertion related to law enforcement incidents.

From the materials examined, and in accordance with the foregoing discussion, it is my
opinion to a degree of reasonable medical certainty that the actions of the police officers
(including the discharges from a conducted electrical weapon, physical strikes, restraint,
and prone position) did not cause or contribute to the death of Mr. Mbegbu. His behavior,
aggression, and resistance to the police were likely the result of toxicity from
cyclobenzaprine. An identifiable contributing factor to his death would be exertional
sickling as the result of lactic acidosis from the struggle and the surge of nor-epinephrine
upon cessation of the struggle.


Yours Truly,

~~?Y~
Charles V. Wetli, MD




                                                                             &23B%0
 CURRICULUM VITAE
    (30 July 2015)



CHARLES V. WETLI, M.D.




   TEL. 201-750-8220


 charlesvwetli@gmail.com


     2 Berkery Place
  Alpine, NJ 07620-0398




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                                 CURRICULUM VITAE
                                CHARLES V. WETLI, M.D.

I.     GENERAL:

 Full name:         Wetli, Charles Victor
 Place of birth:    Green Bay, Wisconsin
 Date of birth:     27 August 1943


II.    EDUCATION AND TRAINING:

University:
      University of Notre Dame, South Bend, Indiana
      Pre-professional studies (concentration in chemistry)
      Degree - Bachelor of Science, 6 June 1965

Medical School:
      St. Louis University School of Medicine, St. Louis, Missouri
             September 1965 - June 1969
             Degree - M.D., 31 May 1969

Internship:
       Jackson Memorial Hospital and University of Miami School of Medicine
              Miami, Florida, June 1969 - June 1970
              Anatomic and Clinical Pathology

Residency:
      Jackson Memorial Hospital, University of Miami School of Medicine and Veteran’s
             Administration Hospital, Miami, Florida, June 1970 - June 1973

       Dade County Medical Examiner Department and University of Miami School of
             Medicine, September 1977 - September 1978
             Forensic Pathology

Government and Administration/Management:
      Forensic Administration - St. Louis University School of Medicine, Department of
             Pathology (Division of Forensic and Environmental Pathology)
             July 28-31, 1986, St. Louis, MO

       Harvard Program for Senior Executives in State and Local Government, John F. Kennedy
             School of Government, Harvard University, Cambridge, MA, June 12 - July 1,
             1988; Alumni Refresher Course (Harvard): 1989, 1990, 1991, 1992, 1993




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                                CURRICULUM VITAE
                               CHARLES V. WETLI, M.D.



III.   CERTIFICATION AND LICENSURE:

National Board of Medical Examiners No. 107806, 1 July 1970
      American Board of Pathology May 1974, Anatomic and Clinical Pathology

American Board of Pathology, May 1979, Forensic Pathology

State Board of Medical Examiners of the State of Florida, No. 16616,
               4 September 1970
               (inactive status as of January 1995; allowed to expire January 2008)
Medical Licensure, State of Missouri (lapsed)
New York State (effective 25 January 1995, No. 198336)
State Board of Medical Examiners of New Jersey (license # 25MA08212100, effective 1
       February 2007)

FEMA Certification in IS-00100 and IS-00700, 26 June 2006


IV.    MILITARY EXPERIENCE:

Reserve Commission (Berry Plan) U.S. Army, November 21, 1969
       active duty September 1973 to August 1976

Rank:         Major
Station:      U.S. Army Medical Laboratory Pacific (Japan)
Function:     Chief of Pathology Unit; Emergency Room Coverage
Awards:       Certificate of Appreciation, Far East U.N. Command (April 1975)

Army Commendation Medal, August 1976


V.     APPOINTMENTS:

Associate Instructor of Otolaryngology (part-time),
       University of Miami School of Medicine, 1 August 1970 - 30 June 1973

Associate Medical Examiner, Dade County Medical Examiner Department
       Miami, Florida, 1 July 1973 - 31 August 1973

Staff Pathologist, Daniel Seckinger, M.D. & Associates, P.A., Staff,
        Appointment to Cedars of Lebanon Health Care Center, Miami, Florida
        September 1976 - September 1977




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                                 CURRICULUM VITAE
                                CHARLES V. WETLI, M.D.



Director, Physician’s Reference Laboratory, Miami, Florida, September 1976, September 1977
Associate Medical Examiner, Dade County Medical Examiner Department
       Miami, Florida, September 1977 - October 1980

Deputy Chief Medical Examiner, Dade County Medical Examiner Department
      Miami, Florida, November 1980 - January 1995

Assistant Professor of Clinical Pathology, University of Miami School of Medicine
       Department of Pathology, Miami, Florida, September 1977 - June 1982

Clinical Associate Professor of Pathology, Department of Pathology, University of Miami
       School of Medicine, June 1982 - January 1995

Staff Instructor, Drug Enforcement Administration, 1980 – 1993

Chief Medical Examiner, Suffolk County, New York
      February 5, 1995 – 14 August 2006
      Note: Accredited by National Association of Medical Examiners (NAME)
             April 2000 and May, 2005; American Board Forensic Toxicology, April 1999;
             National Society of Crime Laboratory Directors (ASCLD/LAB), March 1997.

       Note: National Association of Counties (NACO) Award for Mass Disaster Preparedness
             Program, May 2000 (Best in Category); semifinalist in Innovations in American
             Government competition (JFK School of Government, Harvard University).

Lecturer in Forensic Pathology, State University of New York at Stony Brook, March 23, 1995 -
30 April 1996

Clinical Professor of Pathology, State University of New York at Stony Brook, 1 May 1996 – 14
August 2006

Regional Trauma Oversight Committee and Trauma Peer Death Review Committee, 1999 - 2006
      Note: NYS Trauma Physician of Distinction, 1999
             Presented by NYS Trauma Committee, American Trauma Society, NY Division


VI.    JOURNAL MANUSCRIPT REVIEWER:

Journal of the American Medical Association, January 1983
American Journal Forensic Medicine & Pathology, January 1992 - Present
American Society Clinical Pathology Check Sample (1986-2005)
Annals Internal Medicine (Occasional, since approximately 1990)
American Journal of Clinical Pathology (Dec. 1996 - 2006)




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                              CURRICULUM VITAE
                             CHARLES V. WETLI, M.D.



Circulation (March 2004)
VII. PROFESSIONAL AFFILIATIONS:

1.   American Society of Clinical Pathologists (Fellow No. F094661)
          Elected October 1972 - December 2006
          ASCP Activities: SEE ADDENDUM

2.   American Academy of Forensic Sciences (Fellow #84825)
           February 1979 - present

     Discipline/Assessment Task Force Committee Member for Path/Bio Section
            November 1991 - Feb. 1995

3.   National Association of Medical Examiners (Fellow)
           August 1980 –present

     Ad Hoc Committee for Guidelines for Use of Pathology Assistants in Medical
           Examiner Offices (11/95 - 11/96).

     Ad-Hoc Committee on Current Issues Response (9/97 - 2/98)

     Ad-Hoc Committee on NTSB-ME Linkage (9/97)

     Ad-Hoc Committee on Cocaine (10/99 – 01/01)

     Ad-Hoc Committee for the Utilization of Pathology Assistants

     Ad-Hoc Committee for Relationship Between Tissue Procurement Agencies and
           Medical Examiners/Coroners (10/01 – 12/14)
           Appointed Chairman, February 02/05 - 06/12

     Ad Hoc Committee for NAME Journal RFP
           March 2010 – September 2010.

     Accreditation Inspector for:
           Bergen County, NJ, Medical Examiner Office (06-14-02)
           Los Angeles County Coroner/Medical Examiner Office, Los Angeles, CA
                   (06-06, 07-06)
           San Diego, CA, Medical Examiner Office, October 20, 2008

     Board of Directors, October 2006 – December 31, 2012

     Executive Committee, 2009 - 2011



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                              CURRICULUM VITAE
                             CHARLES V. WETLI, M.D.




4.    Medical Society of the State of New York, 1995 – 2006
      Forensic Committee, April 1995, and
      Vice-Chair, April 2005 – December 2006

5.    Suffolk County Medical Society, 1995 - 2006

6.    NYS Association of County Coroners and Medical Examiners, 1997 - 2006

7.    National Disaster Management System (D-Mort Team, Region II, 3/11/98 - 2006

8.    College Of American Pathologists (Fellow)
      May 2000 (Member No. 0073905) – December 2006

9.    American Red Cross
      National Medical Examiner/Coroner Advisory Committee, 1998 – 2005

10.   New York Organ Donor Network
      Medical Advisory Board
      Chairman Tissue Subcommittee, January 2002 – February 2009

11.   College of American Pathologists, Fellow No. 073905
      Elected May 1973 - December 1978 (resigned)

12.   The American Board of Pathology
      Forensic Pathology Test Committee, 1985-1989 (five year maximum tenure)

13.   Florida Medical Examiners Commission
      1985 Committee on Standards & Training (ad hoc)
      1989 Committee on Operations & Procedures (ad hoc)

14.   South Miami Medical Forum
      July 1984 - January 1995

15.   Dade County Association of Chiefs of Police, May 1989 - January 1995

16.   American Society for Public Administration, January 1989 - 1995




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                                CURRICULUM VITAE
                               CHARLES V. WETLI, M.D.



VIII. FORMAL MEDICAL AND FORENSIC PRESENTATIONS:

1.    Dermatofibrosarcoma Protuberans - Case Report, Zola Cooper Dermatology Seminar, at
      Convention of Southern Medical Association, Miami, Florida, November 1971, (Co-
      author, A. Bernard Ackerman)

2.    Cocaine-Related Deaths, Amer. Acad. Forensic Sci., Atlanta, Georgia, February 1979

3.    Potassium Chloride Overdose Deaths, Amer. Acad. Forensic Sci., Atlanta, Georgia,
      February 1979

4.    Propoxyphene Related Deaths, A Ten Year Assessment, Amer. Acad. Forensic Sci., New
      Orleans, Louisiana, February 1980

5.    Death from Primary Pulmonary Hypertension, Amer. Acad. Forensic Sci., New Orleans,
      Louisiana, February 1980 (Co-author, presented by Donna L. Brown, M.D.)

6.    Fatal Hemorrhage from Peripheral Vascular Disease, Amer. Acad. Forensic Sci.; Los
      Angeles, California, February 1981 (Donna L. Brown, M.D., Co-author)

7.    The Body Packer Syndrome, Amer. Acad. Forensic Sci., February 1981 (Co-author,
      presented by R.E. Mittleman, M.D.)

8.    Forensic Aspects of Santeria, Amer. Acad. Forensic Sci., February 1981 (R.Martinez, Co-
      author)

9.    Symposium on Drug Abuse, Plenary Session (Moderator), at Seventh International
      Congress of Cuban Physicians in Exile; 30 June 1981, Bal Harbour, Florida

10.   Santeria: A Magico-Religious System of Afro-Cuban Origin; Amer. Assoc. for Soc.
      Psychiatry, 29 October 1981 (Co-author, presented by Rafael Martinez, M.A.)

11.   Methaqualone-Related Death: 1971 - 1981 Amer. Acad. Forensic Sci., February 1982,
      Orlando, Florida (Poster Session)

12.   The Fatal Cafe Coronary: A Two Decade Experience, Amer. Acad. Forensic Sci.,
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      the National Association of Medical Examiners, 13 September 2004 in Nashville, TN by
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      Jurisprudence Section of the American Academy of Forensic Sciences, February 25,
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      Abuse and Control, 96th Congress, 26 July 1979 (U.S. Govt. Printing Office SCNAC-
      96-1-9, 1980)

2.    Homicides and Drug-Related Deaths in Dade County, Florida, Dade County Grand Jury,
      11th Judicial Circuit of Florida, Fall term, 1981, 23 March 1982

3.    Cocaine-Related Deaths, New York State Division of Substance Abuse Services,
      Symposium on Cocaine, May 3 and 4, 1982, New York, N.Y. (Julio Martinez, Director)

4.    Methaqualone-Related Deaths, U.S. Senate Committee on Labor and Human Resources,
      Subcommittee on Investigations and General Oversight Hearing: Drug Abuse -
      Quaaludes, 13 May 1982 (Senator Paula Hawkins, Chairperson); Ninety-Seventh
      Congress, second session, pp 57-60

5.    Drug Abuse, Turks and Caicos Islands (British West Indies), “Hearts and Minds”
      Campaign (Invitation of Governor C.J. Turner and Minister of Health In Conjunction
      With U.S. Drug Enforcement Administration; 1-4 March 1983; 19-23 July 1983; 8-10
      November 1984)

6.    Death Related to Methaqualone and Cocaine in Current Topics in Drug and Alcohol
      Abuse Symposium, April 1983. Sponsored by the Academy of Medicine of New Jersey,
      the Medical Society of New Jersey, and the New Jersey State Department of Health

7.    Cocaine, Governor’s Council on Drug and Alcohol Abuse, September 12, 1984 - Miami,
      Florida

8.    Cocaine, President’s Commission on Organized Crime, 27 November 1984, Washington,
      DC, (Hon. Irving R. Kaufman, Chairman; James D. Harmon, Jr., Exec. Dir): Hearing IV,
      Organized Crime and Cocaine Trafficking, pp. 108-128

9.    Cocaine, Governor’s Task Force on Cocaine, Tallahassee, 4 September 1986, (Hon. Janet
      Reno, Chairperson); Senate Judiciary Committee (Criminal), Tallahassee, 2 Dec. 1986
      (Sen. Robert Johnson, Chairman)

10.   Cocaine Toxicity: Panel Evaluation of N.Y.P.D. Response to Emotionally Disturbed
      Persons & Victims of Cocaine Psychosis. New York, N.Y., 5 Dec. 1989

11.   National Institute on Drug Abuse, Bethesda, MD. July 9-10, 1991: “Acute Cocaine
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      TWA-800. 8 December 1997, Baltimore, MD

13.   NIH Teleconference: Initiative on “Cardiovascular Complications Related to Cocaine
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      Did Voodoo Terror Bring Insanity? Forensic Echo 2:3-4, 1998



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                                         CURRICULUM VITAE
                                        CHARLES V. WETLI, M.D.




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100.   Torres-Matundan, E., and Wetli, C.V.: Salicylate Poisoning. ASCP Check Sample FP00-09,
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                                        CURRICULUM VITAE
                                       CHARLES V. WETLI, M.D.



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       Forensic Med and Pathol 25:11-13, 2004

110.   Avella, Joseph; Wetli, Charles V.; Wilson, James C.; Katz, Michael and Hahn, Timothy: Fatal
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                                        CURRICULUM VITAE
                                       CHARLES V. WETLI, M.D.




118.   Pinckard, JK, Wetli, CV & Graham, MA: National Association of Medical Examiner Position
       Paper on the Medical Examiner Release of Organs and Tissues for Transplantation. Amer J
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       Pathology, Toxicogenetics, and Criminalistics of Drug Abuse, Karch, S.B. (ed). CRC
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       379-388, Springer Science + Business Media, New York, 2009; ISBN978-0-387-85474-8

121.   Wetli, CV; Ponzin, D; Womack, C; and McCann, G: Facilitating Donation – The Role of Key
       Stakeholders: The Medical Examiner, the Coroner, the Hospital Pathologist, and the
       Funeral Director, in Tissue and Cell Donation - An Essential Guide. Warwick, RM; Fehilym,
       D; Brubaker, S; and Eastlund, T (eds.); Chapter 9, pp 160-178,Wiley-Blackwell, Oxford, UK,
       2009 ISBN 978-1-4051-6322-4

122.   Scheinin, L and Wetli, CV: Sudden Death and Sickle Cell Trait – Medicolegal
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123.   Mash, DC; Duque, L; Pablo, J; Qin, Y; Adi, N; Hyma, B; Karch, S; Druid, H; and Wetli, CV:
       Brain Biomarkers for Identifying Excited Delirium as a Cause of Sudden Death. Forensic
       Science International, 190: e13-e19, 2009

124.   Wetli, CV and Davis, JA: Pediatric Organ and Tissue Donation in Forensic Pathology of
       Infancy and Childhood, Springer, 2014, (Collins, KA and Bayard, RA -- eds.) -- pages 1157-1171
       (print ISBN 978-1-61779-402-5; online ISBN 978-1-61779-403-2)




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                                CURRICULUM VITAE
                               CHARLES V. WETLI, M.D.



                                   ADDENDUM I

  AMERICAN SOCIETY OF CLINICAL PATHOLOGISTS ACTIVITIES

Forensic Council of Commission on Continuing Education 1982-1988 (Chairman, 1986-
1988); ex officio 1989-2001; Forensic Resource Council, January 2002 - 2005

Check Sample: Editor for Forensic Council, 1985 - 2005
      Associate Editor for Check Sample Program &
      Editor-in-Chief of Anatomic Pathology, 1990-1993

Executive Committee, (Editorial Board), April 1993 - 2005

Abstract Review Subcommittee for Anatomic Pathology, May 1988 - present

American Journal of Clinical Pathology Editorial Board, Dec. 1996 - 2006

Resident In-Service Examination (“RISE”) National Contributing Editor for Forensic
Pathology (test committee), June 1998 - 2006

George F. Stevenson Society, Nov. 2000 - 2006

ASCP Awards:

Commission of Continuing Education Medal, November 1988
Distinguished Service Award, May 1989

Check Samples Published:

FP 81 - Naked Hyperthermia (ref. 14)
FP 84-5 - Haitian AIDS (ref. 34)
FP 84-6 - Coronary Artery Dissection (ref. 35)
FP 89-6 - Sudden Death from Falciparum Malaria (ref. 58)
FP 96-1 - Fatal Lightning Strike (ref. 78)
LPM-96-3 - When Lawyers Call: Pathologists and Laboratorians as Expert Witnesses (ref.
85)
FP 00-09 - Aspirin Toxicity (ref. 99)
FP01-10 - Mass Disaster Management (ref. 101)
FP02-06 - Delayed Cardiac Death from Vehicular Trauma (ref. 103)
FP 06-5 (FP 316) - Ophthalmic Endoscopy – The Retina in Forensic Medicine (ref. 116)




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                                  CURRICULUM VITAE
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Teleconferences:

Drug Overdose Deaths June and October, 1985; September 1988

Forensic Pathology for the Hospital Pathologist - Part I, May 1989

Anatomy of Firearms Injuries (Dr. Geetha Ann Natarajan, Co-director), October 1995


ASCP Workshops:

#4430:     Man & Machine: Evaluating the Auto Accident Victim (Co-director with Dr.
           James Benz), October 1982, October 1983; Revised, with Dr. Don Reay as Co-
           director: November 1985, April 1987, March 1993

#4436:     Forensic Pathology for the Hospital Pathologist (with Dr. Roger Mittleman as Co-
           director), October 1984, April 1985, November 1985, April 1986, March 1987,
           October 1987, April 1988, March 1989 October 1989, March 1991, April 1992,
           September 1995

#4443:     Pathology of Drug Abuse (with Dr. Allen Jones, Co-director) October 1988, October
           1989, October 1990; (with Dr. Geetha Natarajan, Co-director), September 1995

#A-135:    The Art of Courtroom Testimony, October 1989 (Mini-workshop)

#4447:     The Art of Courtroom Testimony, October 1990, March 1991, October 1992,
           October 1993, October 1994, October 1996

#A-152:    Euthanasia and Physician-Assisted Suicide (Mini-workshop) October 1994

#4454:     Anatomy of Firearms Injuries (with Dr. Geetha Natarajan, Co-director) April 1995,
           April 1996, April 1997

#A-166:    Death Certification, October 1996, September 1997, October 2000 (Mini-
           Workshop)

#A-190:    Forensic Pathology Chat Room, October 2000

#R-233:    Forensic Pathology Round Table (Lawyers, Courts & Judges), October 2000
           (Workshop #4410)




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ASCP Dinner Seminars Presented:

1982:   Spontaneous Human Combustion;
        Fungal Cerebritis in IV Cocaine Abuse

1983:   The Body Packer Syndrome;
        Graves, Skulls, and Blue Tattoos
        (Afro-Caribbean Religions).

1984:   Two Point Contact; (cylinder flare in GSW homicide)
        Psychotic Heat (excited delirium and cocaine).

1985:   Double Impact; (in automobile crash)
        Silence Please: Murder in Progress (firearms silencers)
        Lust Murder

1986:   Potential Significance of the Hexagram;
        Sudden Death in Crisis Intervention;
        Delayed Symptoms (Amoxapine Overdose);
        Blood, Alcohol and Trauma

1987:   Trial by Press;
        Hyperacute Cerebral Edema in an Adult

1988:   Blackpowder Backfire; (breech plug fatality)
        Sudden Death in Mental Illness (Neuroleptic Malignant Syndrome)

1989:   The Explosion (deflagration vs bomb)
        A Fatal Breeze (CO poisoning).

1990:   An Epitaph of Adolfo De Jesus Constanzos;
        From Natural Causes (not so apparent manner of death).

1991:   A Maturational Arrest (in the grief reaction),
        The Hemlock Debate, (assisted suicide, euthanasia)
        If At First You Don’t Succeed...; (multiple SGW suicide).
        Tales Bullets Tell (bullet cytology).

1992:   Time of Death;
        Candomble
        A Not-So-Spontaneous Subarachnoid Hemorrhage (vertebral artery laceration).




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                             CHARLES V. WETLI, M.D.



1993:   Colombian Entrepreneur (heroin body packer)
        Death of a Healthy Child (child abuse)
        Deaths From Hurricane Andrew

1994:   A Matter of Position (gunshot wound problem solving);
        The Naked Truth (autoerotic sexual asphyxia)
        Chango’s Revenge (Fatal Lightning Strike)

1995:   “The Chameleon” (approach to the Police Shooting);
        Fatal Firearm Facsimile (Black Powder Firearms)
        Gasping Baby Syndrome (Benzyl Alcohol Toxicity)

1996:   Degenerate Dissection (Heroin Body Packer)
        Degenerative Deglutination (Food Aspiration in Elderly)
        Acute Exhaustive Mania, Excited Delirium and the Neuroleptic Malignant Syndrome

1997:   Press, Politics and Mass Disaster (TWA 800 Disaster).
        Of Broken Bones and Dry Gas (Homicidal Methanol Poisoning)
        Forensic Stridor (Sudden Death from Laryngeal Tuberculosis)

2000:   Modified Cardiectomy
        Suicide with Open Revolver Cylinder




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                               CURRICULUM VITAE
                              CHARLES V. WETLI, M.D.



                                  ADDENDUM II

          ACTIVITIES ASSOCIATED WITH ORGAN AND TISSUE
              PROCUREMENT FOR TRANSPLANTATION

Medical Examiner and Coroner Advisory Committee for the American Red Cross, 1998-2005

Ad Hoc Committee of the National Association of Medical Examiners for Developing
Guidelines for the Relationship between Tissue Procurement Agencies and Medical
Examiners/Coroners, 01/01 – 12/14; appointed chairman 02/05-06/12

Medical Advisory Board and Chairman of the Tissue Subcommittee for the New York Organ
Donor Network, 10/01 – 02/09

Medical Examiner and Coroner Advisory Board for the Musculoskeletal Tissue Foundation
(Co-Chair), February 2006-2011


Publications:

106. Wetli, C.V.: The Medical Examiner’s Role in Organ & Tissue Recovery. On the Beat
(NY Organ Donor Network). 6:12, 2003. Update (publication of UNOS – United Network for
Organ Sharing), May-June, 2003, p. 29 (ref. 105)

103. Wetli,C.V., Kolovich, R.M. and Dinhofer, L.: Modified Cardiectomy: Documenting
Sudden Cardiac Death in Hearts Selected for Valve Allograft Procurement. Amer J Forensic
Med & Pathol. 23(2): 137-141, 2002 (ref. 102)

121. . Wetli, CV; Ponzin, D; Womack, C; and McCann, G: Facilitating Donation – The Role
of Key Stakeholders: The Medical Examiner, the Coroner, the Hospital Pathologist, and
the Funeral Director, in Tissue and Cell Donation - An Essential Guide. Warwick, RM;
Fehilym, D; Brubaker, S; and Eastlund, T (eds.); Chapter 9, pp 160-178,Wiley-Blackwell,
Oxford, UK, 2009 ISBN 978-1-4051-6322-4 (ref 119)

118. Pinckard, JK, Wetli, CV, and Graham, MA: National Association of Medical Examiner
Position Paper on the Medical Examiner Release of Organs and Tissues for
Transplantation. Amer J Forensic Med and Pathol 28 (3): 202-207, 2007

124. Wetli, CV and Davis, JA: Pediatric Organ and Tissue Donation in Forensic Pathology of
Infancy and Childhood, Springer, NY, 2014 (Collins, KA and Byard, RA - eds.); pages 1157-
1171 (Print ISBN 978-1-61779-402-5; Online ISBN 978-1-61779-403-2)




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                                 CURRICULUM VITAE
                                CHARLES V. WETLI, M.D.



Presentations at the American Association of Tissue Banks:

2001:     Modified Cardiectomy
2005:     Medical Examiners and Tissue Procurement (panel)




                                   ADDENDUM III

                                         AWARDS


Far East United Nations Command: Certificate of Appreciation, April, 1975

United States Army Commendation Medal, August, 1976

American Society of Clinical Pathologists Commission on Continuing Education Medal, 11/88

American Society of Clinical Pathologists Distinguished Service Award, May 1989

National College of District Attorneys Lecturer of Merit Award, June 1990

NYS Trauma Physician of Distinction, 1999
(Presented by NYS Trauma Committee, American Trauma Society, NY Division)
(Note: The only pathologist to ever receive this award)

National Association of Counties Award (Best in Category): Mass Disaster Preparedness
Program, May 2000

St. Louis University School of Medicine: The George E. Gantner Memorial Lecture Award, July
23, 2007

Professional Leadership Award presented by The Association of Organ Procurement
Organizations (AOPO), October 14, 2013 (presented at the annual meeting of the National
Association of Medical Examiners, Milwaukee, WI)




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EXHIBIT 13




EXHIBIT 13
 1   Kathleen L. Wieneke, Bar #011139
     Christina Retts, Bar #023798
 2   STRUCK WIENEKE & LOVE, P.L.C.
     3100 West Ray Road, Suite 300
 3   Chandler, Arizona 85226
     Telephone: (480) 420-1600
 4   Fax: (480) 420-1699
     kwieneke@,swlfirm.com
 5   cretts@swTfirm.com

 6   Attorneys for Defendants City of Phoenix,
     Matthew Johnson, Celina Gonzales, Joel
 7   Zemaitis and William Weber
 8
                              UNITED STATES DISTRICT COURT
 9
                                    DISTRICT OF ARIZONA
10
     Ngozi Mbegbu, individually as the surviving        NO. 2:16-cv-00424-DGC
11   spouse of decedent Balantine Mbegbu and on
     behalf of decedent' s children Ogechukwu
12   Amarachukwu Gloria Mbegbu and C.C.E.M.
     (a minor) as the statutory beneficiaries of        DECLARATION OF DR. MACE
13   Balantine Mbegbu;                                  BECK.SON
     and as Personal Representative of the Estate of
14   Balantine Mbegbu,
15                                        Plaintiffs,
16                 V.
17   City of Phoenix, a public entity;
     Matthew Johnson and Jane Doe Johnson,
18   husband and wife;
     Celina Gonzales and John Doe Gonzales, wife
19   and husband;
     Joel Zemaitis and Jane Doe Zemaitis, husband
20   and wife;
     William Weber and Jane Doe Weber, husband
21   and wife;
     John Does 1-5 ;
22   and Jane Does 1-5,
23                                      Defendants.
24
25          I, MACE BECKSONM M.D., make the following Declaration:
26          1.     I am over the age of 18 years and competent to testify to the matters set

27   forth in this Declaration.
28
 1          2.     I have prepared a Rule 26(a)(2)(B) expert witness report in the matter of
 2   Ngozi Mbegbu, et al v. City of Phoenix, et al. , Case No. 2:16-cv-00424-DGC, attached
 3   hereto as Exhibit A .

 4          3.     The opinions expressed therein are stated to a reasonable degree of
 5   probability within my field of expertise as a board-certified physician in psychiatry,
 6   forensic psychiatry, and addiction medicine.           My report, Exhibit A, at attachment A
 7   (COP_BM002356 - 2368).
 8          4.     I declare, pursuant to 28 U.S.C. Section 1746, under penalty of perjury that

 9   the opinions in Exhibit A are true to the best of my knowledge and belief.

10          I declare under penalty of perjury that the foregoing is true and correct.

11          Executed on           ,--1r /
                          -f-f-+---------
                                            /   :::f-       , 2017.
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13
                                                    Mace Beckson, M.D.
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EXHIBIT A
                                         MACE BECKSON, M.D.
                                             A PROFESSIONAL CORPORATION
                        DISTINGUISHED FELLOW, AMERICAN PSYCHIATRIC ASSOCIATION
                 DIPLOMATE IN ADDITION MEDICINE, AMERICAN BOARD OF ADDICTION MEDICINE
      DIPLOMATE IN PSYCHIATRY & FORENSIC PSYCHIATRY, AMERICAN BOARD OF PSYCHIATRY AND NEUROLOGY




                                            November 4, 2016



Christina Retts, Esq.
Struck Wieneke & Love
3100 West Ray Road, Suite 300
Chandler, AZ 85226



Re:      Ngozi Mbegbu, et al., v. City of Phoenix, et al.
         Superior Court of the State of Arizona in and for the County of Maricopa
         CV-2015-011529
         Expert Report



Dear Ms. Retts:

At your request, I have reviewed the records that you have provided, which are
itemized below. My professional opinions are stated in this report with a reasonable
degree of medical certainty, based upon the information I currently possess, as well as
my education, training, knowledge, and experience. Should I become aware of
additional information in the future, my opinions would be subject to revision as
appropriate.



BACKGROUND AND CREDENTIALS

I am a physician licensed by the States of California, Florida, and New York; and Board
certified in Psychiatry, Forensic Psychiatry, and Addiction Medicine.           I am a
Distinguished Fellow of the American Psychiatric Association, and a Health Sciences
Clinical Professor of Psychiatry and Biobehavioral Sciences at the University of
California, Los Angeles (UCLA). As a member of the full-time UCLA faculty, my
academic responsibilities include teaching and clinical supervision of post-graduate
trainees. I graduated magna cum laude in Biochemical Sciences from Harvard College
and obtained my medical degree from Cornell University. Subsequently, I completed
post-graduate residency training in psychiatry at UCLA, where I served as a chief


11301 WEST OLYMPIC BLVD. #657, LOS ANGELES, CALIFORNIA 90064                   TELEPHONE: 310.966.1907




                                                                                   &23B%0
       Mr. Mbegbu did have insulin-dependent diabetes mellitus. Blood sugar
       derangements can cause alteration of cognition and mood. In addition,
       microvascular disease associated with diabetes can cause dementia and
       abnormal behavior through that mechanism.

       The differential diagnosis of Mr. Mbegbu’s behavior, considering nature and
       course of his behavioral and psychological signs, would include personality
       change due to an underlying medical disorder, late-life psychotic disorder, mood
       disorder, intermittent explosive disorder, and early dementia. Without more
       information, it would be hard to further narrow down the possibilities. Without
       a diagnosis, it would not be possible to formulate Mr. Mbegbu’s prognosis had
       he not died on October 6, 2014.



   2. Balantine Mbegbu’s telephonic communication to his friend Geralds (which
      prompted the 911 call), his history of domestic disputes, including one in which
      he struck his wife, and his behavior when police entered his home, indicated his
      increased risk of violence. It was reasonable for the responding police officers to
      be concerned for Mrs. Mbegbu’s safety were they to leave without further
      assessment of the situation, knowing that Mrs. Mbegbu would be returning
      home, where she would be with her husband.

       Paranoia, impaired anger regulation, poor impulse control, impaired judgment,
       and a history of physical violence are risk factors for violence. Mr. Mbegbu’s
       statement to Geralds that about either Mr. Mbegbu’s wife or Mr. Mbegbu dying
       that day was threatening enough to Geralds such that he called 911. Mr.
       Mbegbu’s aggressive behavior towards police, including hitting the hand of
       Officer Johnson and his combative resistance to being detained and handcuffed,
       including kicking officers, additionally demonstrate his elevated risk of violence.
       The professional judgment of responding officers that Mr. Mbegbu was
       potentially dangerous to his wife based upon the 911 call and what they had
       already experienced, was a reasonable judgment based upon their knowledge
       and experience at the time. Based upon their professional judgment, the officers
       felt they could not just walk away without further assessing the situation in
       order to ensure safety, knowing that Mrs. Mbegbu would be at home with Mr.
       Mbegbu,




MACE BECKSON, M.D.           MBEGBU, ET AL. V. CITY OF PHOENIX, ET AL.            PAGE 25



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ATTACHMENT A

                             MACE BECKSON, M.D., DFAPA
                                   Curriculum Vitae
                                       (August 19, 2016)


Contact Information:

Mailing Address:       11301 West Olympic Boulevard #657, Los Angeles, CA 90064
Telephone:             310.966.1907
Email:                 macebeckson@outlook.com



Education:

Harvard College        A.B. magna cum laude in Biochemical Sciences       1976-1980

The Rockefeller University                     Molecular Biology          1980-1983

Cornell University Medical College             M.D.                       1980-1985



Post-Graduate Training:

The New York Hospital-Cornell Medical Center/Payne Whitney Clinic         1985-1986
      Internship

University of California, Los Angeles/Neuropsychiatric Institute          1986-1989
      Psychiatry Residency and Chief Residency

University of California, Los Angeles/Department of Neurology             1989-1991
      Fellowship/Division of Neurobehavior



Licensure:

Physician and Surgeon, License No. G59242, State of California            1986—

Medical Doctor, License No. ME 102592, State of Florida                   2008—

Doctor (Physician), License No. 269791, State of New York                 2013—



MACE BECKSON, M.D.            MBEGBU, ET AL. V. CITY OF PHOENIX, ET AL.           PAGE 27



                                                                          &23B%0
Certifications:

American Board of Psychiatry & Neurology:

       Psychiatry                               Certificate      33666     1991—
       Forensic Psychiatry                      Certificate      0625      1998-2018
       Addiction Psychiatry                     Certificate      0499      1994-2014
       Geriatric Psychiatry                     Certificate      0874      1994-2004



American Board of Addiction Medicine:

       Addiction Medicine                       Certificate 000375         2009—



Medical Review Officer Certification Council:

       Medical Review Officer                   Certificate 15-11424       2015-2020



American Association of Suicidology:

       Certified Forensic Suicidologist                                    2010—
       Certified Psychological Autopsy Investigator                        2014—



National Commission on Correctional Health Care:

       Certified Correctional Health Care Professional                     2013—



American Society of Addiction Medicine:

       Addiction Medicine                       Certificate 010603         1994



National Board of Medical Examiners

       Diplomate (Parts I, II, III)             Certificate 289627         1986




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                                                                           &23B%0
Academic Appointments:

Health Sciences Clinical Professor of Psychiatry                         2010—
       University of California, Los Angeles

Clinical Professor of Psychiatry (Compensated)                           2005-2010
        University of California, Los Angeles

Associate Clinical Professor of Psychiatry (Compensated)                 2000-2005
       University of California, Los Angeles

Assistant Clinical Professor of Psychiatry (Compensated)                 1996-2000
       University of California, Los Angeles School of Medicine

Assistant Clinical Professor of Psychiatry (Voluntary)                   1991-1996
       University of California, Los Angeles

Clinical Instructor of Psychiatry (Voluntary)                            1990-1991
        University of California, Los Angeles

Clinical Instructor of Neurology (Voluntary)                             1989-1991
        University of California, Los Angeles



Clinical Positions:

Staff Psychiatrist, Substance Abuse Treatment Programs                   2016—
        VA Greater Los Angeles Healthcare System

Private Practice of Addiction Psychiatry                                 1997—

Medical Director, Psychiatric Intensive Care Unit                        1998-2016
      VA Greater Los Angeles Healthcare System

Staff Psychiatrist, Psychiatric Intensive Care Unit                      1997-1998
        VA Greater Los Angeles Healthcare System

Consulting Psychiatrist, Didi Hirsh Community Mental Health Center       1988-1998
      Culver City, California




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                                                                         &23B%0
Chief & Founder, Intensive Outpatient Treatment of Addictions              1995-1997
       Day Hospital, VA Medical Center West Los Angeles

Chief & Founder, Substance Abuse Consultation Team                         1995
       VA Medical Center West Los Angeles

Program Director, Alcohol and Drug Treatment Program                       1991-1995
      VA Medical Center West Los Angeles

Attending Psychiatrist, Consultation-Liaison Service                       1990-1991
       University of California, Los Angeles Medical Center

Staff Psychiatrist (Voluntary), Student Psychological Services             1989-1991
        University of California, Los Angeles



Consultation:

Forensic Consultant                                                       1998—

Expert Reviewer, Medical Board of California                              2000-2009
       Department of Consumer Affairs, State of California

Psychiatric Consultant to Sexual Recovery Institute                       1998-2003
       Los Angeles, California

Consultant to Ventura County Sheriff’s Department                         1998-1999
      Ventura, California



Teaching:

Core Faculty                                                               1998—
       UCLA/VA Integrated Psychiatry Residency Program

Clinical Supervisor                                                        1988—
        UCLA/VA Integrated Psychiatry Residency Program
        UCLA/San Fernando Valley Psychiatry Residency Program
        UCLA/Harbor Psychiatry Residency Program




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                                                                           &23B%0
Director, Intensive Care & Forensic Psychiatry Residency Rotation        1998-2016
       Psychiatric Intensive Care Unit
       VA Greater Los Angeles Healthcare System

Lecturer, PGY-1 Core Curriculum                                          2001-2016
       UCLA/VA Integrated Psychiatry Residency Program

Forensic Psychiatry Fellowship Faculty                                   1998-2008
       University of California, Los Angeles

Lecturer, PGY-3 Psychopharmacology Course                                1993-2000
       UCLA/VA Integrated Psychiatry Residency Program

Lecturer, Forensic Psychiatry Fellowship                                 1992-2008
       University of California, Los Angeles

Director, Addiction Psychiatry Residency Rotation                        1991-1997
       VA Medical Center West Los Angeles

Supervisor, Addiction Therapists                                         1991-1997
      VA Medical Center West Los Angeles

Preceptor, Medical Student Psychiatry Clerkship                          1991-1993
       University of California, Los Angeles

Preceptor, Medical Student Neurology Clerkship                           1989-1991
       University of California, Los Angeles



Awards and Recognition:

Service Award                                                            2016
       Twenty-five Years of Service
       U.S. Department of Veterans Affairs

Certificate of Appreciation                                           2012
        Exemplary Performance in the Realm of Patient Safety:
        Management of High Risk Patients with Severe Mental Disorders
        Greater Los Angeles Healthcare System
        U.S. Department of Veterans Affairs




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                                                                         &23B%0
Certificate of Appreciation                                               2012
        Service to the Profession of Psychiatry and the
        California Psychiatric Association as a
        Member of the Judicial Action Committee,
        California Psychiatric Association

Service Award                                                             2011
       Twenty Years of Service
       U.S. Department of Veterans Affairs

Outstanding Contribution                                                  2010
       Improving Patient Safety through Root Cause Analysis
       For contribution to Gold Award
       Cornerstone Recognition Program
       National Center for Patient Safety
       U.S. Department of Veterans Affairs

On-the-Spot Award                                                         2006
       Aggregate Parasuicide Root Cause Analysis Team
       Greater Los Angeles Healthcare System
       U.S. Department of Veterans Affairs

Director’s Recognition                                                    2005
       Outstanding Contribution in Improving Patient Safety
       Greater Los Angeles Healthcare System
       U.S. Department of Veterans Affairs

Distinguished Fellow, American Psychiatric Association                    2003

Special Contribution Award                                                2003
        Mental Health Service
        VA Greater Los Angeles Healthcare System
        U.S. Department of Veterans Affairs

Fellow, American Psychiatric Association                                  2001

Innovations of Care, VA Headquarters, Washington, D.C.                1996
      Recognition of the Intensive Outpatient Treatment of Addictions
      Day Hospital at VA Medical Center West Los Angeles



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                                                                          &23B%0
Oskar Diethelm Prize for Excellence in Psychiatry                         1985
      Cornell University Medical College



Committee Activities:

Co-Chair, PGY-2 Sub-Committee                                             2016—
     Residency Oversight Committee
     UCLA/VA Integrated Psychiatry Residency Program

Suicidology Committee                                                     2005—
       American Academy of Psychiatry and the Law

Chair and Member, Ad Hoc Promotion Committees                             2005—
       Department of Psychiatry & Biobehavioral Sciences
       University of California at Los Angeles

Aggregate Parasuicide Root Cause Analysis Team                            2003—
      VA Greater Los Angeles Healthcare System

Judicial Action Committee                                                 2008-2012
        California Psychiatric Association

Chair (2004-2009) and Member,                                             1999-2011
       Addiction Psychiatry Committee
       American Academy of Psychiatry and the Law

Co-Chair, Patient Rights Committee                                        1998-2011
      VA Greater Los Angeles Healthcare System

Quality, Academics, and Research Advisory Board                           2007-2010
       Jail Mental Health Services, Adult Systems of Care
       Department of Mental Health, County of Los Angeles

Co-Chair, PGY-4 Sub-Committee                                             2005-2008
      Residency Oversight Committee
      UCLA/VA Integrated Psychiatry Residency Program

Co-Chair, Psychiatric Emergency Consultation Committee                    2005
      VA Greater Los Angeles Healthcare System



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                                                                          &23B%0
Executive Committee (Member-at-Large)                                     2004-2006
       American Society for Adolescent Psychiatry

Council on Education and Scientific Affairs                               2004-2006
      American Society for Adolescent Psychiatry

Chair, Task Force on Adolescent Substance Abuse                           2003-2005
       American Society for Adolescent Psychiatry

Sexual Offender Committee                                                 2003-2005
       American Academy of Psychiatry and the Law

Research and Development Committee                                        1993-1996
       VA Medical Center West Los Angeles (Brentwood Division)



Research Positions:

Director, Clinical Trials                                              1995-1996
       Medication Development Research Center
       National Institute on Drug Abuse/Department of Veterans Affairs
       VA Medical Center West Los Angeles

Co-Director, Brain Imaging Program                                    1994-1996
      Medication Development Research Center
      National Institute on Drug Abuse/Department of Veterans Affairs
      VA Medical Center West Los Angeles

Research Psychiatrist                                                  1991-1997
       Medication Development Research Center
       National Institute on Drug Abuse/Department of Veterans Affairs
       VA Medical Center West Los Angeles



Professional Organizations:

Academy of Correctional Health Professionals
American Academy of Addiction Psychiatry
American Academy of Psychiatry and the Law
American Association of Medical Review Officers
American Association of Suicidology

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                                                                          &23B%0
American College of Occupational and Environmental Medicine
American Psychiatric Association
California Psychiatric Association
International Society for Traumatic Stress Studies
Society for Risk Analysis
Southern California Psychiatric Society



Publications:

Fischer CA, Beckson M, Dietz P. A case of factitious disorder in a patient claiming to be
a sexually sadistic serial killer with homicidal ideation. American Journal of Forensic
Sciences, accepted, 2016.

Kim AH, Beckson M, Jones AW, Berman AL. Psychological autopsy and postmortem
toxicology in forensic psychiatry. In: Scott C, Rosner R, Eds. Principles and Practice of
Forensic Psychiatry, Third Edition. London: Arnold, in press, 2016.

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the Law: Changes and Challenges. New York: Oxford University Press, pp. 177-200, 2015.

Beckson M, Berman AL. Psychological autopsy in forensic psychiatry.             American
Academy of Psychiatry and the Law Newsletter 40(1):15, 26, 2015.

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use disorders. Journal of the American Academy of Psychiatry and the Law 42:453–458, 2014.

Beckson M, Sokolov G. DSM-5 Substance Use Disorder: ready for prime time?
American Academy of Psychiatry and the Law Newsletter 39(2):1-2, 17, 2014.

Beckson M, Penn J. Standard of care for suicide risk assessment: how much is enough?
American Academy of Psychiatry and the Law Newsletter 37(2):17, 29, 2012.

Bullock CM, Beckson M. Male sexual assault: phenomenology, psychology, physiology.
Journal of the American Academy of Psychiatry and the Law 39:197-205, 2011.

Simpson JR, Beckson M. Methamphetamine in criminal court. American Academy of
Psychiatry and the Law Newsletter 34(1):18-19, 2009.

Vari G, Beckson M, Weinstock R. Legal issues in inpatient psychiatry. In: Ovsiew F,
Munich RL, Eds., Principles of Inpatient Psychiatry. Philadelphia: Lippincott Williams &
Wilkins, 2008, pp. 139-153.

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disorders and psychiatrists: competent assessment and treatment? The American Journal
on Addictions 17:245-246, 2008.

Vari G, Beckson M. Escitalopram-associated serotonin toxicity.            Journal of Clinical
Psychopharmacology 27:229-230, 2007.

Venneman S, Leuchter A, Bartzokis G, Beckson M, Simon SL, Schaefer M, Rawson R,
Newton T, Cook IA, Uijtdehaage S, Ling W. Variation in neurophysiological function
and evidence of qualitative electroencephalogram discordance: predicting cocaine-
dependent treatment attrition. Journal of Neuropsychiatry and Clinical Neuroscience 18:209-
216, 2006.

Simpson JR, Thompson CR, Beckson M. Impact of orally disintegrating olanzapine on
the use of intramuscular antipsychotics, seclusion, and restraint in an acute inpatient
psychiatric setting. Journal of Clinical Psychopharmacology 26:333-335, 2006.

Beckson M.      Adolescent substance use and addiction (Special Section Editor’s
Introduction). Annals of the American Society for Adolescent Psychiatry 29:3-17, 2005.

Thompson CR, Beckson M. A case of factitious homicidal ideation.              Journal of the
American Academy of Psychiatry and the Law 32:277-281, 2004.

Bartzokis G, Beckson M, Lu PH, Edwards N, Rapoport R, Bridge P, Mintz J. Cortical
gray matter volumes are associated with subjective responses to cocaine infusion.
American Journal on Addictions 13:64-73, 2004.

Beckson M, Bartzokis G, Weinstock R. Substance abuse and addiction. In: Rosner R,
Ed. Principles and Practice of Forensic Psychiatry, Second Edition. London: Arnold, 2003,
pp. 672-684.

Beckson M, Bartzokis G. Brain disease: forensic neuropsychiatric issues. In: Rosner R,
Ed. Principles and Practice of Forensic Psychiatry, Second Edition. London: Arnold, 2003,
pp. 603-611.

Bartzokis G, Beckson M, Lu PH, Edwards N, Bridge P, Mintz J. Brain maturation may
be arrested in chronic cocaine addicts. Biological Psychiatry 51:605-612, 2002.

Beckson M. Smack is back: heroin in the 21st century. Century City Lawyer 11(8): 19-22,
2002.



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Bartzokis G, Beckson M, Lu PH, Neuchterlein K, Edwards N, Mintz J. Age-related
changes in frontal and temporal lobe volumes in men: A magnetic resonance imaging
study. Archives of General Psychiatry 58(5): 461-465, 2001.

Barzokis G, Lu PH, Beckson M, Rappaport R, Grant S, Wiseman E, London ED.
Abstinence from cocaine reduces high-risk responses on a gambling task.
Neuropsychopharmacology 22(1): 102-103, 2000.

Bartzokis G, Beckson M, Po H, Edwards N, Rappaport R, Wiseman E, Bridge P.
Increased CSF volumes are associated with diminished subjective response to cocaine
infusion. Neuropsychopharmacology 23(4): 468-473, 2000.

Bartzokis G, Beckson M, Lu PH, Edwards N, Rappaport, Wiseman E, Bridge P. Age-
related brain volume reductions in amphetamine and cocaine addicts and normal
controls: Implications for addiction research. Psychiatric Research: Neuroimaging Section
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lobe score, part I: construction of a mental status of frontal systems. Clinical
Rehabilitation 14: 260-271, 2000.

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Newton TF, Kalechstein A, Beckson M, Bartzokis G, Bridge TP, Ling W. Effects of
selegiline pretreatment on response to experimental cocaine administration. Psychiatric
Research 87(2-3): 101-106, 1999.

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evidence of ‘silent’ neurovascular toxicity in cocaine dependence. Biological Psychiatry
45: 1203-1211, 1999.

Beckson M. Marijuana: mental and behavioral aspects. Century City Lawyer 8(1): 12-13,
1999.

Bartzokis G, Beckson M, Wirshing DA, Lu P, Foster JA, Mintz J. Choreoathetoid
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subjective ratings of euphoria. Neuropsychopharmacology 20: 582-90, 1999.




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J, Bridge P. The incidence of T2-weighted MR imaging signal abnormalities in the brain
of cocaine-dependent patients is age-related and region-specific. American Journal of
Neuroradiology 20(9): 1628-1635, 1999.

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age-related increase of brain iron in young adult and older normal males. Magnetic
Resonance Imaging 15(1): 29-35, 1997.

Bartzokis G, Beckson M. MRI evaluation of neurotoxicity in cocaine users. In: Nahas G,
Ed., Drugs of Abuse in the Decade of the Brain. Cambridge, Massachusetts: I.O.S. Press,
pp. 249-57, 1997.

Bartzokis G, Beckson M. Clinical and MRI evaluation of psychostimulant neurotoxicity.
In: Mjewska MD, Ed., Neurotoxicity and Neuropathology Associated with Cocaine Abuse,
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Human Services, 1996.

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Scientific Meeting, College on Problems of Drug Dependence, Inc. (NIDA Research
Monograph Series 162: 46-48). U.S. Department of Health and Human Services, 1995.

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in methadone-maintained patients. Drug and Alcohol Dependence 40 (2): 125-131, 1995.

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468.

Beckson M, Ling W. Pharmacologic interventions in cocaine dependence. Southern
California Psychiatrist 41(10): 10-11, 1993.

Ettlin TM, Beckson M, Benson DF, Langfitt Jt, Amos EC, Pineda GS. Prosopagnosia: a
bihemispheric disorder. Cortex 28: 129-134, 1992.

Beckson M, Cummings JL. Psychosis in basal ganglia disorders.            Neuropsychiatry,
Neuropsychology, and Behavioral Neurology 5: 126-131, 1992.

Beckson M, Cummings JL. Neuropsychiatric aspects of stroke. International Journal of
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as a prolonged confusional state. Journal of Clinical Psychopharmacology 8 (3): 229-230,
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required for the generation of recovered avian sarcoma viruses and characterization of a
series of replication-defective avian sarcoma viruses. Journal of Virology 49 (3): 881-891,
1984.




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                                                                           &23B%0
EXHIBIT 14




EXHIBIT 14
EXHIBIT A
                     Gary M. Vilke, M.D., FACEP, FAAEM
                           11279 Breckenridge Way
                         San Diego, California 92131
                                (619) 666-8643

November 11, 2016


Christina Retts
Struck, Wieneke & Love
3100 West Ray Road, Suite 300
Chandler, AZ 85226



RE:    Mbegbu, et al. v. City of Phoenix
       U.S. District Court of Arizona Case #: 2:16-cv-00424-DGC


                                            Introduction


       I am a board-certified emergency physician with substantial experience in sudden cardiac

arrest and sudden death, including my service as the Medical Director of the American Heart

Association Training Center at the University of California, San Diego Center for Resuscitation

Science. I am an expert on the topic of restraint physiology, neck holds, TASER electronic control

devices (ECDs) and on in-custody cardiac arrest and deaths. I have served on multiple expert and

consensus panels and have published multiple peer-reviewed papers and book chapters on these

topics. My qualifications are further delineated at the end of my report. I have been retained as an

expert to review relevant materials and provide expert opinion on this matter, including the state of

the medical and scientific literature, and to consider and render expert opinion on whether the

restraining process or the TASER ECD caused or contributed to the death of Mr. Balantine Mbegbu

on October 6, 2014. After careful review, it is my opinion to a reasonable degree of medical

certainty that neither the restraining process nor the TASER ECD caused or contributed to the death

of Mr. Balantine. These opinions and related opinions are set forth in my report.
                                                                                 &23B%0
Vilke GM, Sloane C, Levine S, Neuman T, Castillo E, Chan TC. Twelve-lead electrocardiogram
monitoring of subjects before and after voluntary exposure to the Taser X26. Am J Emerg Med.
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Vilke GM, Sloane CM, Bouton KD, Kolkhorst FW, Levine SD, Neuman TS, Castillo EM, Chan
TC. Physiological effects of a conducted electrical weapon on human subjects. Ann Emerg Med.
2007 Nov;50(5):569-75. Epub 2007 Aug 24.

Ho J, Dawes D, Nelson RS, et al. Acidosis and catecholamine evaluation following simulated law
enforcement "use of force" encounters. Acad Emerg Med 2010 Jul;17(7):e60-8.

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Weapon Use: Review of the Literature for the Clinician. J Emerg Med 2011;40(5):598-604. Epub
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Panescu D, Kroll M, Brave M. Cardiac Fibrillation Risks with TASER Conducted Electrical
Weapons. IEEE EMBS 2015; 37:323-329.





                                      Overview of Opinions
                       (all opinions within this report are to a reasonable
                            degree of medical or scientific probability)

       An overview of my opinions is as follows with more description of each below:


    1. The restraining process did not cause the sudden cardiac arrest and death of Mr.
       Mbegbu.

    2. The use of the TASER ECD did not cause the cardiac arrest and death of Mr. Mbegbu.

    3. The reported possible neck hold on Mr. Mbegbu did not cause or contribute to his
       sudden cardiac arrest and death.

    4. 7KHILVWVWULNHWR0U0EHJEX¶VIDFHGLGQRWFDXVHRUFRQWULEXWHWRKLVGHDWK




                                             Analysis

       After reviewing the above listed materials, it appears that on October 6, 2014, Phoenix

Police officers were dispatched to a private residence based on the concerns of an anonymous caller

                                                                               &23B%0
                                                -6-
regarding a verbal argument and possible domestic violence. After arriving at the scene and

evaluating the incident, the officers decided to take Mr. Balantine Mbegbu, who was 65 years old,

¶" tall and weighed approximately 208 pounds at the time, into custody.

       The police reports reflect that Mr. Mbegbu was aggressively approaching the officers.

Initially the officers tried verbal de-escalation techniques, but this was unsuccessful. When they

physically attempted to take him into custody, Mr. Mbegbu resisted. Additional officers were

dispatched to the scene to assist. As the officers attempted to gain control of Mr. Mbegbu's arms, he

pulled away and resisted. The officers also reported that Mr. Mbegbu was kicking at the officers as

well. When one of the officers was kicked in the leg, Officer Johnson delivered a close fist strike

with his right hand to Mr. Mbegbu¶s left face.

       They again attempted to gain control of his arms again but were once again unsuccessful.

Officer Zemaitis deployed his TASER X2 on Mr. Mbegbu. While the TASER ECD was activated,

officer Johnson noted that Mr. Mbegbu appeared to be clenching his arms in front of him. The

officers gave Mr. Mbegbu instructions to get on the ground, but he did not comply. About 41

seconds following the first TASER ECD activation, Officer Zemaitis activated his TASER ECD a

second time causing Mr. Mbegbu to fall to his stomach on the floor.

       Officer Weber had arrived on scene and assisted in handcuffing Mr. Mbegbu. During the

brief time to get his hands out from under him and handcuffed, Officer Johnson placed a knee over

the back of Mr. Mbegbu's head and neck. Once he was handcuffed, Officer Johnson removed his

knee. After being handcuffed, Mr. Mbegbu kept on resisting and trying to roll over, so Officer

Johnson used his right thumb to apply a pressure point control for approximately three seconds to

the rear of Mr. Mbegbu's left mandibular angle. Officer Weber was trying to keep him from rolling

over by placing a knee on Mr. Mbegbu's back. Officer Zemaitis bent Mr. Mbegbu's legs at the knees

and applied pressure to stop him from turning. At this point, a RIPP restraint was requested.

       The officers soon after noted Mr. Mbegbu stopped moving and appeared unconscious.

                                                                                 &23B%0
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Officer Zemaitis palpated that a carotid pulse was present. The officers also noted that he appeared

to be breathing. EMS was dispatched to respond to evaluate Mr. Mbegbu as being unconscious.

Shortly thereafter, the officers could not confirm a pulse and Mr. Mbegbu had the handcuffs

removed, was rolled over and CPR was started.

       Paramedics arrived to find CPR being administered and when they put Mr. Mbegbu on the

monitor, they found an initial cardiac rhythm of asystole, flat line. Advanced cardiac care was

given, but ultimately, he could not be resuscitated and was pronounced dead at the hospital at 2212.

The medical examiner who performed an autopsy UHSRUWHGWKHFDXVHRIGHDWKWREH³Cardiac arrest

in the setting of acute cyclobenzaprine intoxication, multiple medical problems, and law

enforcement subdual´

       Given this history, there are a number of issues that need to be addressed in more detail

below. All opinions given are to a reasonable, or higher, degree of medical probability based on the

information currently available.



                             Detailed discussion and basis of opinions

   1. The restraining process did not cause the sudden cardiac arrest and death of Mr. Mbegbu.

       During the period that Mr. Mbegbu was being handcuffed, he was restrained in a position on

his stomach with some weight placed on him initially to gain control over him. After Mr. Mbegbu

was cuffed he was reported to continue kicking and resisting. In fact, a RIPP restraint was

requested because he kept resisting and trying to roll over. He was making noises, breathing and

struggling and without any reported evidence of respiratory or ventilatory difficulty during this

time. He was not reported to complain of shortness of breath or difficulty breathing after being

restrained.

       The timeline based on records available noted that Officer Zemaitis arrived at 2120. At

2121, Mr. Mbegbu was reported to be in custody. This timing is consistent with the 90 second

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estimated time by Officer Zemaitis that it took to get him into custody. At approximately 2124, the

fire department was requested due to Mr. Mbegbu being unconscious and at 2129, there was a

request to expedite EMS because it appeared that Mr. Mbegbu was no longer breathing. Thus the

actual time of struggle to get the handcuffs was not long enough to cause asphyxiation in and of

itself.

          The majority of the weight force was not even on Mr. Mbegbu in such a position that would

have created the potential to limit ventilation. The minimal weight placed on the upper torso while

cuffing would not significantly limit ventilations enough to cause asphyxiation. After the cuffing,

Mr. Mbegbu was trying to roll over, so Officer Weber placed a knee onto his back to keep him from

UROOLQJRYHU2IILFHU=HPDLWLVEHQW0U0EHJEX¶VOHJVDWWKHNQHHVDQGDSSOLHGSUHVVXUHWRNHHS

him from moving. This pressure on the legs would not have any impact on ventilations. Research

XVLQJXSWROEVRIZHLJKWRQDVXEMHFW¶VEDFNKDVQRWVKRZQWRFDXVHSK\VLRORJLFFKDQJHVWKDW

would imply asphyxiation is even possible with that amount of weight.

          Given that Mr. Mbegbu was alive and resisting before, during, and after the hand-cuffing,

and that the cardiac arrest occurred suddenly later in time with only a minimal amount of weight

being placed for a short time period, the effort to restrain and handcuff him did not cause asphyxia.

There is no evidence that position, restraint or body weight caused or contributed to Mr. Mbegbu¶s

death.



    2. The use of the TASER ECD did not cause the cardiac arrest and death of Mr. Mbegbu.

          There is a great deal of unwarranted concern of electrocution based on lay misunderstanding

of the reported 50,000 volts (V) peak open arcing voltage used by TASER handheld ECDs. TASER

handheld ECDs deliver only a fraction of the open arcing 50,000 V to the body. However, it is not

the voltage, but the delivered electrical charge (amperage), that actually creates a theoretical risk for

cardiac effects. For example, the static electricity from walking across a carpet can generate 30,000

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                                                   -9-
to 100,000 V. The amount of delivered electrical energy able to be transferred to a person is

limited as the TASER X2 ECD is only powered by a small battery pack, not an electrical outlet or

power generator.

       ,WLVWKH7$6(5(&'¶VUDSLGF\FOLQJWKDWFDQFDXVHWKHVXEMHFWV PXVFOHVWRFRQWUDFWDW

about 19 times a second that offers the effective incapacitation of the subject in probe mode, or

painful compliance in drive-stun mode, while still offering a significant safety margin from

electrical injury. Once the energy from an ECD is turned off, the subject is back to his physical

baseline and can fight, struggle or move immediately.

       There are no peer-reviewed published scientific or medical literature studies that

conclusively demonstrate that TASER ECDs cause cardiac dysrhythmias or cardiac arrest in

humans. More than 1.5 million volunteer subjects have undergone TASER ECD activations, and

none have ever been reported to develop sudden cardiac arrest or die. Just because a TASER ECD

was being used in some temporal proximity to a subject's death does not imply causation.

       7KHSROLFHUHSRUWQRWHGWZRWULJJHUSXOOVZLWKWKHWRWDOWLPHIURPWKHWULJJHUSXOOVZDV

VHFRQGVRIDFWLYDWLRQWLPHLQFOXGLQJDVHFRQGDFWLYDWLRQIROORZHGE\DVHFRQGDFWLYDWLRQ

DSSUR[LPDWHO\VHFRQGVODWHU%RWKRIWKHVHDFWLYDWLRQVZHUHUHSRUWHGWREHIURPDVLQJOHSUREH

PRGHGHSOR\PHQWE\2IILFHU=HPDLWLV7KHILUVWZDVLQSUREHPRGHDQGWKHVHFRQGXVHZDVZLWK

WKH7$6(5GHYLFHEHLQJSODFHGLQWRFRQWDFWWRIRUPDQDUFIRUEHWWHUFRQGXFWLRQAs noted

previously, in order for an ECD to deliver a charge to the person, the electrical circuit must be

completed and maintained. Thus, as a point of clarification, just because the TASER ECD

download recorded 17 seconds of activation time from the TASER ECD does not mean that the

TASER ECD was indeed in contact with Mr. Mbegbu and delivering the electrical stimulus for that

amount of time. Often with a subject who is struggling, running, squirming and moving, there will

be disruption with the contact points of the TASER ECD.




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      ,ZLOOEDVHP\RSLQLRQVRQD³ZRUVW´FDVHVFHQDULRDVVXPLQJDOOVHFRQGVRIWULJJHUSXOOV

ZHUHDSSOLHGWR0U0EHJEXHowever, as noted previously, in order for an ECD to deliver a

charge to the person the electrical circuit must be completed and maintained. If the TASER ECDs

KDG³HOHFWURFXWHG´0UMbegbu, his heart would have gone into a ventricular fibrillation (VF) at the

time the electricity was being delivered and he would have immediately lost consciousness at the

time that the TASER ECD was firing or within 1-2 seconds after stopping. Subjects in VF cannot

fight or struggle, let alone remain conscious, as the blood flow to the brain ceases immediately.

       This time of struggle that Mr. Mbegbu had after the last TASER ECD activation supports

that the TASER ECD did not cause the heart to go into cardiac arrest. He was struggling so much

that a RIPP restraint was requested to help control his legs. This conclusion that the TASER ECD

did not cause the cardiac arrest is also supported in that the first rhythm reported by the paramedics

who attended to Mr. Mbegbu after he went into cardiac arrest was asystole, flatline. Asystole is not

a rhythm caused by electrocution, VF is.

       In order for one to possibly conclude that a TASER ECD could even be considered to cause

cardiac arrest, all of the following facts would need to be present:

       1) The device probes would need to be penetrating deep into the chest wall for the tips to be

           close to the heart (a close dart to heart ratio);

       2) The subject would need to have a thin chest wall;

       3) The subject would need to be standing at the time of the TASER ECD activation and

           leaning forward so that the heart is closer to the anterior chest wall;

       4) The subject would need to lose consciousness immediately during the TASER ECD

           activation or with 1-2 seconds after; and

       5) The first cardiac rhythm would need to be ventricular fibrillation.

       All of these would be needed to even consider the TASER ECD as the cause of death, but in

this case with Mr. Mbegbu, the majority of these facts are not present. In summary, all of the

                                                                                     &23B%0
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published scientific data as well as the objective evidence available in this case confirms that the

use of the TASER ECD was non-contributory to the cardiac arrest and death of Mr. Mbegbu.



   3. The reported possible neck hold on Mr. Mbegbu did not cause or contribute to his sudden
      cardiac arrest and death.

       ,QWKH1RWLFHRI&ODLPWKHSODLQWLIIVUHSRUWWKDW³:KLOHBalantine was still on the ground, it

appeared that one of the Police Officers may havHSODFHGKLVIRUHDUPRQWKHIURQWRI%DODQWLQH¶s

neck in a choke hold depriving him RIR[\JHQ´

       By way of background, the pathophysiology and safety, of the lateral vascular neck restraint

(LVNR), also known as a carotid restraint, are relatively straightforward and well delineated in

many texts. This is the neck hold that is typically used by law enforcement when a neck hold is

needed. The purpose is to place the arm around the neck of the subject to be controlled. The crook

of the elbow is placed at the anterior (front) region of the neck and the forearm and upper arm come

around the sides and are used to place pressure on the lateral aspects of the neck where the carotid

arteries are located. Pressure placed on these arteries diminishes blood flow to the brain, quickly

rendering the subject unconscious. This hold is considered safe and has been used in judo and other

forms of martial arts for centuries.

       In this case, there was no evidence of even an attempted neck hold. None of the police

reports reflect that a neck hold was used. Even the Notice of Claim was vague in noting that the

KROG³PD\´KDYHEHHQSODFHGMr. Mbegbu never lost consciousness during the attempt to get him

handcuffed, so a successful neck hold was obviously not placed. Additionally, the findings in the

autopsy report support that there was no neck hold even attempted as the hyoid bone was intact as

were the tracheal and laryngeal cartilages. Additionally, there was no soft tissue injury reported of

the neck muscles. Even if there had been a neck hold placed during the time of the handcuffing, it

was not successful and did not cause any injuries that would have caused or contributed to the

cardiac arrest and death of Mr. Mbegbu.
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   4. The fist strike to Mr. Mbegbu’s face did not cause or contribute to his death.

       During the altercation, Mr. Mbegbu sustained an injury to his face.      The police report noted

WKDW2IILFHU-RKQVRQGHOLYHUHGDFORVHGILVWVWULNHWRWKHOHIWVLGHRI0U0EHJX¶VIDFHA review of

the emergency department record describes some left periorbital edema extending to the left side of

the forehead. This is consistent with the medical examiner finding of a two-inch span of

subcutaneous swelling centered on the left lower eyelid and in the center having a ¼ inch superficial

laceration. Basically this is a small bruise with a tiny superficial break in the skin in the middle.

This injury is consistent with minor blunt trauma as reported by the officer.

       Additionally, and more importantly, there were no abnormal intracranial findings on the

autopsy report that indicated that this fist strike had any contributing effects to Mr. Mbegbu¶VGHDWK

The brain and associated structures were all normal. Based on the autopsy findings and his clinical

presentation, the blunt injury did not cause or contribute to Mr. Mbegbu¶VFDUGLDFDUUHVW and death.




                                             Background

       My background is that I am a full time faculty member in the department of emergency

medicine at the University of California, San Diego Medical Center. I am residency trained and

board certified in Emergency Medicine. I work full time as a practicing clinician in the Emergency

Department of a busy urban hospital and serve as the clinical operations chief for our two

emergency departments with a combined annual census of approximately 80,000 visits. I currently

serve as the Medical Director for Risk Management for the UC San Diego Health System. I also

VHUYHDVWKH8&6'0HGLFDO&HQWHU¶V0HGLFDO5LVN0DQDJHPHQW&RPPLWWHH&KDLU and Allocation

Committee Co-Chair, as well as previously having served as the Chair of the Patient Care and Peer

Review Committee, each of which are charged with the task of reviewing medical records and
                                                                                    &23B%0
                                                   - 13 -
making determinations of standard of care. I am also the former Chief of Staff for the UCSD

Medical Center.

       I have worked for over 20 years as a faculty emergency physician at an urban-based

emergency department that is contracted to receive patients who in custody, both as field arrests and

for on-going care while incarcerated. I served as the UCSD Director of Custody Services

oveUVHHLQJKRVSLWDOVHUYLFHVIRUWKH6DQ'LHJR&RXQW\6KHULII¶V'HSDUWPHQW0HGLFDO6HUYLFHVIRU

16 years. I also have worked in a jail setting for over 18 years, staffing weekly sick call clinics on

VLWHDWWKH6DQ'LHJR6KHULII¶VMDLOVWKURXJKRXW6DQ'LHJR County. I have also served as the on-site

PHGLFDOGLUHFWRUIRUWKH6DQ'LHJR6KHULII¶VPHGLFDOFOLQLFVIRU\HDUVZKHUH,KDYHWUDLQHGVWDII

physicians, participated in quality assurance, resource utilization, policy and protocol development

and peer review. I have also overseen the physician staffing for seven jails in San Diego County

over that time.

       I am knowledgeable of peer-reviewed medical and scientific research on the physiological

effects of positional restraint and positional asphyxia conducted by others. ,KDYHDOVRSHUIRUPHG

H[WHQVLYHFOLQLFDOUHVHDUFKRQKXPDQVXEMHFWVZKRKDYHEHHQUHVWUDLQHGLQYDULRXVSRVLWLRQVDQG

ZLWKYDULRXVDPRXQWVRIZHLJKWEHLQJSODFHG DUWLFOHVLQFOXGHGLQP\FXUULFXOXPYLWDH ZKLFK

LQFOXGHVKDYLQJGLUHFWO\EHHQLQYROYHGZLWKKXQGUHGVRIVXEMHFWVEHLQJUHVWUDLQHGDQGVWXGLHG

KXQGUHGVRISDWLHQWVUHVWUDLQHGGXULQJP\ZRUNLQWKHHPHUJHQF\GHSDUWPHQWDQGKDYHSHUVRQDOO\

EHHQUHVWUDLQHGZLWKZHLJKWVSODFHGRQPHDVZHOO,KDYHEHHQLQYLWHGWROHFWXUHQDWLRQDOO\DQG

LQWHUQDWLRQDOO\RQWKLVVXEMHFW*LYHQP\RZQLQWHUHVWVLQWKLVDUHD,UHJXODUO\SHUIRUPDFRPSOHWH

UHYLHZRIWKHOLWHUDWXUHUHJDUGLQJUHVWUDLQWVDQGLQFXVWRG\GHDWK

       I am knowledgeable of peer-reviewed medical and scientific research on TASER electronic

control devices (ECDs) conducted by others. In fact, I was the lead author on work requested by

the American Academy of Emergency Medicine (AAEM) to review the totality of the peer

reviewed published medical literature on humans and come to conclusions regarding the necessary

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emergency department evaluation of patients being seen after receiving a TASER ECD activation. I

have received federal grant funding and performed extensive clinical research on human subjects

who have received TASER ECD applications (articles included in my curriculum vitae) which

includes having been involved with over 200 TASER ECD activations and have personally received

multiple applications of the device. I have written several book chapters on this topic and have

lectured internationally about the physiologic effects of TASER ECDs.

        I am knowledgeable of peer-reviewed medical and scientific research on neck holds. I have

written several peer reviewed papers and textbook chapters on this topic and have been invited to

lecture on this topic. I am trained as a second-degree black belt in tae kwon do and have been

WUDLQHGLQQHFNKROGVDQGKDYHHYHQEHHQSHUVRQDOO\³FKRNHGRXW´WRWKHSRLQWRIXQFRQVFLRXVQHVV

*LYHQP\RZQLQWHUHVWVLQWKLVDUHD,UHJXODUO\SHUIRUPDFRPSOHWHUHYLHZRIWKHOLWHUDWXUH

UHJDUGLQJQHFNUHVWUDLQWXVH

        I am knowledgeable of peer-reviewed medical and scientific research for cardiac arrest and

CPR practices. I was the Principle Investigator for 6DQ'LHJR¶V5HVXVFLWDWLYH2XWFRPHV

Consortium (ROC) site, a National Institute of Health (NIH) funded study for ten years that

involved over 200,000 cardiac arrest patients to evaluate treatment options for out of-hospital

cardiac arrest and severe traumatic injury. I have published many peer-reviewed papers on the topic

of cardiac arrest and cardiac resuscitation. I also serve as the Medical Director of the American

Heart Association Training Center at the University of California, San Diego Center for

Resuscitation Science since 2007, teaching Advanced Cardiac Life Support (ACLS) both locally

and being asked to give lectures on cardiac arrest internationally. I have been an ACLS instructor

for over 20 years. I also work at a busy urban comprehensive emergency department where I care

for patients in cardiac arrest on a regular basis.

        As per Rule 26 formatting, Appendix A is a copy of my current Curriculum Vitae, which

includes a list of all publications authored by me. Appendix B is a list of all cases in which I have

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testified as an expert in trial or deposition within the preceding four years. Appendix C is my fee

schedule. The knowledge base that I utilize has been developed over time from my years of

clinical practice and experience, reading and training as well as research. Under penalty of perjury,

I hereby swear that the opinions stated above are true and correct within a reasonable degree of

medical probability.



Respectfully submitted,




Gary M. Vilke, M.D., FACEP, FAAEM
Professor of Clinical Emergency Medicine
Emergency Medicine Clinical Service Chief and Co-Medical Director
Medical Director, Risk Management, UC San Diego Health
Director, Clinical Research for Emergency Medicine




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APPENDIX A                       CURRICULUM VITAE
                     GARY MICHAEL VILKE, M.D., FACEP, FAAEM



HOME ADDRESS:                                              OFFICE ADDRESS:

11279 Breckenridge Way                                     Department of Emergency Medicine
San Diego, CA 92131                                        UCSD Medical Center
Phone: (619) 666-8643                                      200 W. Arbor Drive
                                                           San Diego, CA 92103-8676
                                                           E-mail: gmvilke@ucsd.edu


PERSONAL:         Born September 12, 1966 in Cleveland, Ohio


EDUCATION:

Academic:               B.S. in Zoology, University of California, Berkeley
  1983-88               Berkeley, California

Medical School:         M.D., University of California, San Diego School of Medicine
 1988-92                La Jolla, California

Internship:             Department of Surgery
   1992-93              University of California, San Diego Medical Center
                        San Diego, California

Residency:              Department of Emergency Medicine
  1993-96               University of California, San Diego Medical Center
                        San Diego, California (Chief Resident: 1995-96)

Physician Leadership    University of California, San Diego Medical Center
Academy:                San Diego, California
  2007-09


LICENSURE: California Medical License Number G-78057


BOARD CERTIFICATIONS:
   National Board of Medical Examiners, 1993
   American Board of Emergency Medicine, 1997, renewed 2007




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APPOINTMENTS:

  9/11 - Present    Professor of Clinical Emergency Medicine and Medicine, University of
                    California, San Diego (UCSD) School of Medicine

  1/16 – Present    Emergency Medicine Clinical Service Chief, UC San Diego Health System

  1/16 – Present    Co-Medical Director, Department of Emergency Medicine, UCSD Medical
                    Center

  10/15 – Present   Medical Director, AirLinkUSA Air Ambulance Service

  9/15- Present     Staff Physician, El Centro Regional Medical Center Department of
                    Emergency Medicine

  2/14- Present     Assistant Chief, Division of Emergency Medical Services (EMS)/Disaster
                    Medicine, UCSD Medical Center, Department of Emergency Medicine

  1/13 – Present    Medical Director, Carlsbad Fire Department

  7/12 – Present    Medical Director, Risk Management, UC San Diego Health

  6/12 – Present    Associate Director, Department of Emergency Medicine Behavioral
                    Emergencies Research (DEMBER) Lab

  10/09 – Present   UCSD Department of Emergency Medicine Clinical Research Scholar
                    Fellowship Director

  2/06 - Present    Chief, Division of Clinical Research, UCSD Medical Center, Department of
                    Emergency Medicine

  7/96 - Present    Assistant Director, Department of Emergency Medicine, UCSD Medical
                    Center

  7/94 - Present    Base Hospital Physician, University of California Medical Center




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PREVIOUS EXPERIENCE/APPOINTMENTS:

  4/07 – 9/16    Medical Director of the American Heart Association Training Center at the
                 UCSD Center for Resuscitation Science

  7/13 – 9/15    Chief, Division of Custody Medicine, UCSD Medical Center, Department of
                 Emergency Medicine

  4/99 – 9/15    Director, Custody Services, UCSD Medical Center (Co-Director 1999-2013)

  3/13 – 9/15    Medical Director, AviaMedix Air Ambulance Service
  10/11- 2/14    Chief, Division of Emergency Medical Services (EMS)/Disaster Medicine, UCSD
                 Medical Center, Department of Emergency Medicine

  4/12 – 3/13    Medical Director, Aeromedevac Air Ambulance Service
  7/09 – 6/12    Chief of Staff, UCSD Medical Center
  7/07 - 6/09    Vice Chief of Staff UCSD Medical Center
  7/04 – 6/09    EMS/Disaster Medicine Fellowship Director, Department of Emergency
                 Medicine.
  3/02 - 2/06    Medical Director, San Diego County Emergency Medical Services
  3/03 - 12/05   Medical Consultant, San Diego Chapter Red Cross Disaster Health Services
  6/04 - 2/05    Interim Chief, San Diego County Emergency Medical Services
  1/01 - 2/04    Medical Director, Southwestern College Paramedic Training Program
  7/00 - 2/04    Medical Director, Palomar College Paramedic Training Program
  7/97 - 1/03    Director, Prehospital Services, UCSD Medical Center
  6/97 - 1/03    Medical Director, Paramedic Base Hospital, UCSD Medical Center
  7/96 - 1/03    Medical Director, Mercy Air Medical Transport Service, San Diego,
                 California
  4/99 - 3/01    Medical Co-Director, San Diego Central Jail Medical Services
  1/96 - 7/96    Flight Physician, Mercy Air Medical Transport Service, San Diego, California
  7/95 - 7/96    Associated Emergency Physicians Medical Group, San Diego, California
  12/94 - 7/96   Kaiser Permanente Emergency Department, San Diego, California
  10/94 - 7/96   Med America Health Resource Company, San Diego, California
  4/94 - 7/95    Sharp-Rees-Stealy Urgent Care, San Diego, California
  7/93 - 12/95   Flight Physician, Life Flight Air Medical Transport Service




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PREVIOUS ACADEMIC APPOINTMENTS
  7/05 – 9/11   Professor of Clinical Medicine, UCSD School of Medicine
  7/01 - 6/05   Associate Professor of Clinical Medicine, UCSD School of Medicine
  7/96 - 6/01   Assistant Clinical Professor of Medicine, UCSD School of Medicine




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HONORS AND AWARDS:

  1990   Random House Medical Student Award
  1996   American College of Emergency Physicians, California Chapter Challenge
         Bowl Winner

  1996   Council of Residency Directors (CORD) Resident Academic Achievement Award
  1996   Outstanding Emergency Medicine Resident
  1996   UCSD Emergency Department Staff Support Award
  1996   Journal of Emergency Medicine Outstanding Contribution Award
  1999   “Golden Apple” Teaching Award, UCSD Emergency Medicine Residency
         Graduating Class of 1999

  2000   Faculty of the Year, UCSD Emergency Medicine Residency Graduating Class of 2000
  2000   Best Research Poster Presentation, California Chapter of the American College of
         Emergency Physicians (CAL/ACEP) Scientific Assembly, Dana Point, California

  2000   Outstanding Scientific Abstract, State of California EMS Authority Annual Emergency
         Medical Services for Children Conference, San Diego, California, November 2000

  2001   Best Oral Presentation, CAL/ACEP Scientific Assembly, Santa Clara, California
  2004   Academy of Clinician Scholars, University of California San Diego
  2004   Top Doctor in San Diego County, San Diego Magazine
  2004   Top Peer Reviewer, Annals of Emergency Medicine
  2005   Top Doctor in San Diego County, San Diego Magazine
  2005   Clinical Investigation Institute, University of California San Diego
  2006   Top Doctor in San Diego County, San Diego Magazine
  2007   Finalist San Diego Business Journal Health Care Champion Award
  2007   Top Doctor in San Diego County, San Diego Magazine
  2007   Top Peer Reviewer, Annals of Emergency Medicine
  2008   Top Doctor in San Diego County, San Diego Magazine
  2008   UCSD Undergraduate Campus Outstanding Faculty Mentor of the Year
  2009   Clinical and Translational Research Institute, Charter member
  2009   Top Doctor in San Diego County, San Diego Magazine
  2010   Top Doctor in San Diego County, San Diego Magazine
  2011   Top Doctor in San Diego County, San Diego Magazine




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HONORS AND AWARDS, continued:
  2012 Top Doctor in San Diego County, San Diego Magazine
  2013 Top Doctor in San Diego County, San Diego Magazine
  2014 Top Doctor in San Diego County, San Diego Magazine
  2015 "25 Emergency Medicine & EMS Professors You Should Know" From Medical
       Technology Schools at: http://www.medicaltechnologyschools.com/emt/emergency-
       medicine-ems-professors-to-know



PROFESSIONAL SOCIETY MEMBERSHIPS:
  American Medical Association, 1988-97
  California Alumni Association, 1988
  American College of Emergency Physicians, 1991-2000
  Fellow, American College of Emergency Physicians, 2000
  California Chapter of the American College of Emergency Physicians, 1991
  Society for Academic Emergency Medicine, 1995
  National Association of EMS Physicians, 1998
  Fellow, American Academy of Emergency Medicine, 2000
  California Chapter of the American Academy of Emergency Medicine, 2000
  American Association of University Professors, 2002
  California Conference of the American Association of University Professors, 2002
  San Diego Faculty Association, 2002
  San Diego County Medical Society, 2003
  California Medical Association, 2003
  American Association of Emergency Psychiatry, 2014




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PATENTS:

  # WO 2010/011976 A2: Medication Delivery Devices Having Penetrable Sterility Barriers and
  Alignment Features (January 28, 2010)

  # WO 2010/011976 A2: Medication Delivery Devices Having Penetrable Sterility Barriers and
  Alignment Features (January 28, 2010)

  # US 2010/011966 A2: Medication Delivery System (January 28, 2010)

  # US 2010/0022987 A1: Medication Delivery System (January 28, 2010)

  # US 61476836 Medication Delivery Apparatus (April 19, 2011)




  CURRENT ACTIVITIES:

  Objective Structured Clinical Examiner, Introduction to Clinical Medicine, UCSD School of
  Medicine, 1997

  UCSD Alumni Preceptor, UCSD School of Medicine, 1997

  Physician Member, San Diego County Metropolitan Medical Strike Team, 1998

  Quality Assurance Reviewer, Department of Emergency Medicine, UCSD Medical Center, 1999

  Evaluator, UCSD Physician Assessment and Clinical Evaluation (PACE) Program, 2000

  Tactical EMS Care Provider for San Diego Sheriff’s Special Enforcement Detail (SED), 2007

  San Diego State Pre-Med Preceptor, SDSU, 2008

  Phi Delta Epsilon Faculty Mentor, UCSD, 2008

  LIFESHARING, A Donate Life Organization Advisory Board, 2010




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Journals
   Editor-in-Chief, Advances in Legal Medicine, Longdom Publishing, 2014-2015.

   Senior Associate Editor/Editorial Board, Journal of Emergency Medicine, Elsevier Science,
   Inc., 2013 (Associate Editor since 2007, Editorial board since 2000; reviewer since 1994)

   Editorial Board, Prehospital Emergency Care, Taylor & Francis Group, 2006 (Reviewer since
   2004)

   Editorial Board, Journal of Forensic and Legal Medicine, Elsevier Science, Inc. 2012
   (Reviewer since 2011)

   Editorial Board, Emergency Medicine and Healthcare, Herbert Publications, 2013
   Senior Reviewer, Annals of Emergency Medicine, Mosby, 2007 (Reviewer since 1998)
   Reviewer, European Journal of Epidemiology, Kluwer Academic Publishers, 1996-97
   Reviewer, Western Journal of Emergency Medicine, 2001
   Reviewer, American Journal of Emergency Medicine, Elsevier Science, Inc., 2005
   Reviewer, Emergency Medicine Journal, BMA House, 2006
   Reviewer, Forensic Science International, 2007
   Reviewer, California Journal of Emergency Medicine, 2007
   Reviewer, Journal of the American Medical Association (JAMA), 2009
   Reviewer, BioMedical Engineering OnLine, 2009
   Reviewer, Bioelectromagnetics, 2010
   Reviewer, Forensic Science, Medicine and Pathology, 2010
   Reviewer, Psychology Research and Behavior Management, 2010
   Reviewer, Academic Emergency Medicine, 2010
   Reviewer, Medicina, 2012
   Reviewer, Injury Prevention, 2013
   Reviewer, Therapeutics and Clinical Risk Management, 2013
   Reviewer, Pediatrics, 2013
   Reviewer, Journal of Forensic Toxicology and Pharmacology, 2014
   Reviewer, Journal of Injury and Violence Research, 2014
   Reviewer, International Journal of Molecular Sciences, 2015
   Reviewer, Emergency Medicine International, 2015
   Reviewer, Policing: A Journal of Policy and Practice, 2016




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Content Expert

   Reviewer, Practical Summaries in Acute Care, Thomson American Health Consultants, 2006
   Expert Editorial Advisor, Managing the Ankylosing Spondylitis Patient in an Emergency Setting
   for the Spondylitis Association of America (SAA). 2008

   Content Expert for Cable News Network (CNN), 2009

   Content Expert for ABC News, 2011




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PREVIOUS ACTIVITIES:

  Vice-President, California Chapter of Emergency Medicine Residents Association, 1994-95
  Editor-in-Chief, California Chapter of Emergency Medicine Residents Association Newsletter,
  1994-95
  Co-Director, School of Medicine 225: Introduction to Emergency Medicine, UCSD School of
  Medicine, 1994-95
  Strike Team Leader, DMAT Olympics 1996 Biological & Chemical Antiterrorist Medical Support
  Director, Mercy Air Medical Transport Services Continuing Clinical Education, 1996-2003
  Member, San Diego County 911 Dispatch Quality Review Board, 1997-98
  Co-Director, University of California, San Diego School of Medicine, Course SOM 224I,
  Pediatric Advanced Life Support Course Director, 1997-2002
  Editor-in-Chief, UCSD Medical Center EMS Run Review, 1997-2003
  Sponsor, Palomar College Emergency Medical Education Department Paramedic Training,
  1997-2003
  Medical Support Physician, Super Bowl XXXII, San Diego, California, January 25, 1998
  Medical Support Physician, Suzuki Rock-n-Roll Marathon, San Diego, California, June 21, 1998
  Marketing Director, California Chapter of the American College of Emergency Physicians
  (CAL/ACEP) Scientific Assembly, 1998-99
  Member, Program Committee, CAL/ACEP Scientific Assembly, 1998-99
  Howard Hughes Foundation Undergraduate Preceptor, 1998, 1999
  Co-editor, Pearls from PAC Newsletter, 1998-2000
  Preceptor, Introduction to Clinical Medicine 201-B, UCSD School of Medicine, 1999
  EMS Team Leader, San Diego County Metropolitan Medical Strike Team, 1999
  Co-Chair, Program Committee, CAL/ACEP Scientific Assembly, 1999-2000 and 2000-01
  Member, San Diego County Bio-Terrorism Planning Group, 1999-2003
  Moderator, EMS Poster Section, Western Regional Society for Academic Emergency Medicine
  Conference, Portland, Oregon, April 2000
  Preceptor, California State University Dominguez Hills Statewide Nursing Program, 2000
  Affiliate Faculty, Southwestern College Paramedic Training Program, 2000-03




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PREVIOUS ACTIVITIES, continued:

   Medical Director, EPIC “Eliminate Preventable Injuries of Children” Medics, San Diego
   County, 2000-03
   San Diego Port District AED (Automated External Defibrillator) Program RPF Panel, 2001
   Peer Reviewer, Pediatric Emergency Medicine Reports, 2001
   Reviewer, Scientific Abstract Presentations, CAL/ACEP Scientific Assembly, 2001-02
   Member, Board of Directors, CAL/ACEP, 2001-03
   Moderator, Western Regional SAEM Research Presentations, San Diego, California, April
   2002
   Clinical Coordinator, Southwestern College Emergency Medical Technician Program, 2001-
   03
   Santa Clara County/Regional Medical Center Trauma Designation Review Committee, 2004
   San Diego County Health Services Capacity Issues Task Force, 2002-06
   San Diego Regional Safety Consortium Inter-facility Transfer Protocol Task Force, 2004-06
   San Diego Regional Fire Prevention Emergency Preparedness Task Force, 2004-2006
   San Diego County Task Force on Fire Prevention, 2004-06
   President-Elect, EMS Medical Director’s Association of California, 2005-06
   Medical Director, San Diego County Metropolitan Medical Strike Team, 1998-2008
   American College of Emergency Physicians (ACEP) Task Force on Excited Delirium Syndrome
        2009-10
   National Institute of Justice Task Force on Excited Delirium, 2011
   Member, Disaster Medical Assistance Team (CA-4), 1994-2011
   Operations Committee, San Diego County Metropolitan Medical Strike Team, 1998-2010




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CURRENT UCSD COMMITTEE MEMBERSHIPS:

  Research Committee, Department of Emergency Medicine, 1997
  UCSD Faculty Association, 2002
  Quality Improvement/Peer Review Committee, Department of Emergency Medicine, 2002
  UCSD Academy of Clinician Scholars Executive Committee, 2005
  UCSD Medical Staff Executive Committee, 2007
  Chair, UCSD Medical Risk Management Committee, 2012
  Chair, UCSD Allocation Committee, 2012
  UCSD Significant Events Committee, 2012
  Rady Children’s Root Cause Analysis Committee, Ad hoc, 2012
  Co-Chair, UCSD/Rady Children’s Joint Risk Management Committee (JRMC), 2013
  UCSD Patient Experience Executive Committee, 2013
  UCSD Faculty Leadership Group, 2014
  Patient Advocacy Reporting System (PARS) Oversight Team, 2014
  Rady Children’s Emergency Department Faculty Search Committee, 2015
  UCSD Department of Emergency Medicine Clinical Operations Committee, 2016
  UCSD Department of Emergency Medicine Executive Committee, 2016
  UCSD Department of Emergency Medicine Management Committee, 2016
  UCSD Department of Emergency Medicine/Psychiatric Committee, 2016
  UCSD Hillcrest Emergency Department Patient Flow Task Force, 2016
  UCSD Health System Grievance Committee, 2016
  UCSD Treat Assessment Management Committee, 2016




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PREVIOUS UCSD COMMITTEE MEMBERSHIPS:

  President, UCSD Academy of Clinician Scholars, 2013-15
  UCSD Board of Governor’s Committee, 2013-15
  UCSD Academic Senate Representative Assembly, Alternate, 2011-13
  UCSD Sheriff Managed Care Oversight Committee
  Ladder Rank Recruitment Committee, UCSD Department of Emergency Medicine, 2013
  UCSD Medical Staff Bylaws Work Group, 2014
  Chair, Emergency Department Staffing Committee of Process Action Team, 1994-95
  Hospital Infection Control Committee, 1994-95
  Emergency Medicine Housestaff Association Representative, 1994-96
  Emergency Department Clinical Practices Committee, 1994-96
  Emergency Department Peer Review/Quality Assurance Committee, 1995-96
  Emergency Department Critical Care Room Process Action Team, 1996
  Paramedic/Emergency Department Interface Task Force, 1998-99
  Emergency Department Staffing Committee, Department of Emergency Medicine, 1999
  Credentials Committee, 1997-2000
  Faculty Search Committee, Department of Emergency Medicine, 1999, 2000, 2002
  Medical Director’s Group, 1997-2002
  Patient Care Review Committee, 2003
  Medical Risk Management Committee, 2002-07
  Patient Improvement and Outcome Committee, 2003-05
  Medical Staff Executive Committee Reorganization Ad Hoc Committee, 2005-2006
  UCSD Phasing Strategy Ad Hoc Committee, 2005-06
  Clinical Representative, Trauma Quality Assurance Program, 1998-2006
  Vice Chief of Staff, UCSD Medical Center, 2007-2009
  UCSD/San Diego Sheriff Security Working Group, 2003-10
  Chief of Staff, UCSD Medical Center, 2009-2012
  Vice-Chair, Quality Council Committee, 2009-2012 (member since 2003)
  Chair, Medical Staff Executive Committee, 2009-2012
  UCSD Governance Advisory Committee, 2009-2012
  UCSD Department of Medicine Clinical Operations Redesign Enterprise (CORE) Initiative
  Team, 2009-2012




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PREVIOUS UCSD COMMITTEE MEMBERSHIPS, continued:

  Director of Risk Management Selection Committee, 2007
  Chair, Medical Risk Management Committee, 2003-07 (member since 2002)
  Medical Risk Management Executive Committee, 2003-07
  UCSD Medical Center Allocation Committee 2005-07
  Patient Safety Committee, 2003-07
  Vice Chair, Medical Staff Executive Committee, 2007-09
  Chair, Patient Care and Peer Review Committee, 2007-09 (member since 2005)
  Trauma Multidisciplinary Committee, 2000-09
  Department of Medicine Committee on Advancement and Promotions (DOMCAP), 2007-09
  Vice Chair, Quality Council Committee, 2009-2012
  UCSD Medical Center Syncope Task Force, 2010-11
  UCSD Director of Risk Management Selection Committee, 2012
  Secretary-Treasurer, UCSD Academy of Clinician Scholars, 2005-12
  UCSD Root Cause Analysis Committee, 2013
  UCSD Department of Emergency Medicine Chair Selection Committee, 2012-13
  UCSD Department of Emergency Medicine Faculty Coverage Committee, 2012-13
  UCSD Integrated Delivery Network Design Team, 2012-13
  UCSD Department of Emergency Medicine Patient Satisfaction Committee, 2012-13
  UCSD Department of Emergency Medicine Faculty Search Committee, 2013


CURRENT COMMITTEE MEMBERSHIPS:

  American Academy of Emergency Physicians, Clinical Practice Committee, 2011
  Carlsbad Fire Department EMS Oversight Committee, 2013
  San Diego County Base Station Physicians’ Committee, 2013




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PREVIOUS COMMITTEE MEMBERSHIPS:

  Practice Management Committee, CAL/ACEP, 1994-95
  Committee on Prehospital Stroke Triage, San Diego County Medical Society, 1998
  Research Subcommittee, San Diego County Prehospital Audit Committee, 1997-99
  Prehospital RSI Task Force, San Diego County Prehospital Audit Committee, 1997-99
  Chair, San Diego County Prehospital Audit Committee, 1998-2000
  San Diego County Pediatric CPR Task Force, 1999-2000
  San Diego Sheriff’s Source Selection Committee, 2000
  Steering Committee, San Diego County Metropolitan Medical Strike Team, 1998-2001
  Program Committee, CAL/ACEP Scientific Assembly, 1998-2001 (Co-Chair for 1999-2001)
  Awards Committee, CAL/ACEP Scientific Assembly, 1999-2001
  EMS Committee, San Diego County Metropolitan Medical Strike Team, 1999-2001
  San Diego Metropolitan Medical Response System Bio-Terrorism Planning Group, 1999-2001
  San Diego County EMS QA Net Prehospital Design Steering Committee, 2000-01
  Chair, CPR Subcommittee, San Diego County Prehospital Audit Committee, 1998-2002
  San Diego County SIPs (Serial Inebriate Program) Task Force, 2000-02
  Task Force Leader, CAL/ACEP Scientific Assembly, 2001-02
  Chair, Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-02
  Co-Chair, EMS Committee, CAL/ACEP, 2001-02
  Policy Committee, CAL/ACEP, 2001-02
  Chair, Research Subcommittee, San Diego County Prehospital Audit Committee, 2000-02
  Governmental Affairs Committee, CAL/ACEP, 2001-02
  Didactic Subcommittee, SAEM Program Committee, 2001-02
  Program Mgmt Committee, San Diego County Metropolitan Medical Strike Team, 2001-03
  Air Medical Transport Section, American College of Emergency Physicians, 2001-03
  San Diego County Sheriff’s Mortality Review Committee, 2001-03
  San Diego County Sheriff’s Pharmacy and Therapeutics Committee, 2001-03
  City of San Diego EMS Physicians' Advisory Committee, 1998-2006
  City of San Diego Prehospital Cardiac Advisory Committee, 1998-2006
  Education Committee, CAL/ACEP, 2000-03
  SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)




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PREVIOUS COMMITTEE MEMBERSHIPS, continued:

  San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
  Scientific Subcommittee, SAEM Program Committee, 2002-05
  Police Executive Research Forum Task Force on Conductive Energy Weapons Use, 2005
  San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
  Scientific Subcommittee, SAEM Program Committee, 2002-05
  Member-at-large, EMDAC Officer Board, 2004-05
  San Diego County Fire Chief’s Association, 2004-06
  San Diego County Sheriff’s Helicopter Program Ad Hoc Advisory Committee, 2004-06
  Chair, San Diego County HRSA Work Group, 2004-06
  San Diego County Regional Helicopter Advisory Committee, 2004-06
  San Diego County HRSA Executive Steering Committee, 2004-06
  San Diego County Critical Care Transport Working Group, 2005-06
  San Diego County Prehospital Patient Record IT Steering Committee, 2005-06
  San Diego County Cardiac Advisory Committee, 2005-06
  San Diego County Stroke Advisory Committee, 2005-06
  San Diego County Emergency Medical Care Committee, 2006
  Co-Chair, San Diego County Medical Society EMS Medical Oversight Committee, 2002-2006
  Chair, EMS Committee, American Academy of Emergency Medicine California Chapter, 2000-06
  EMS Medical Director’s Association of California, 2002-06
  San Diego County Trauma Administrators Committee, 2002-06
  Chair, San Diego County EMS Research Committee, 2002-06
  Chair, San Diego County Paramedic Protocol Revision Committee, 2002-06
  San Diego County Public Health Services Physicians Group, 2003-06
  SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)
  San Diego County Healthcare Advisory Committee on Terrorism, 2003-06
  San Diego County Paramedic Training Joint Advisory Committee, 2000-06
  San Diego County Public Health Preparedness Team, 2001-06
  EMS Section, American College of Emergency Physicians, 2001-06
  Chair, San Diego County Aeromedical Protocol Committee, 1998-2006
  San Diego County Committee on Pediatric Emergency Medicine, 1998-2006




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PREVIOUS COMMITTEE MEMBERSHIPS, continued:
  San Diego County Base Hospital Physicians Committee, 1997-2006
  San Diego County Trauma Audit Committee, 1997-2006
  San Diego County Prehospital Audit Committee, 1997-2006
  EMS Medical Director’s Association of California, 2002-06
  SAEM Program Committee, 2001-2007
  Chair, Photography Subcommittee, SAEM Program Committee, 2002-2007
  Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-09
  San Diego BEACON/EMS Hub Technical Committee, 2012-13
  San Diego Central Jail Quality Assurance Committee, 1999-2013
  San Diego Central Jail Medical Oversight Committee, 1999-2013
  Resuscitative Outcomes Consortium (ROC) Executive Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) EMS Operations Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Management Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Hospital Practices Cardiac Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Publications Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Cardiac Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Trauma Committee, 2014-15




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CURRENT FUNDED RESEARCH:

1.   Co-Investigator with Edward Castillo (PI) for study entitled, “Acute Home Care as an
     Alternative to Inpatient Admission from the Emergency Department”. Funded by the Gary
     and Mary West Health Institute, 2015 – 2016. Amount: $499,125.

2.   Co-Investigator with Theodore Chan (PI) for study entitled, “The Gary and Mary West
     Geriatric Center of Excellence (West COE): Phase 1 Research Development”. Funded by the
     Gary and Mary West Health Institute, 2015-2016. Amount: $243,610.




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PREVIOUS FUNDED RESEARCH:

1.    Co-Investigator with Tom Neuman (PI) for evaluation of positional asphyxia in the hobble
      restraint position, funded by the County of San Diego, 1995--$33,900

2.    Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
      cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 1997--$10,000

3.    Co-Investigator with John Eisele (PI) for the evaluation of positional asphyxia in the hobble
      restraint position with weight on subjects' backs, funded by the American Academy of
      Forensic Sciences, 1998--$2,500

4.    Co-Investigator, with Theodore Chan (PI), for study entitled, “The Impact of Oleoresin
      Capsicum Spray on Respiratory Function in Human Subjects in the Sitting and Prone
      Maximal Restraint Positions.” Study funded by the National Institute of Justice, U.S.
      Department of Justice, 1998-99. UCSD No. 98-7107; USDOJ Federal Award #98-IJ-CX-
      0079. Amount: $128,176

5.    Principle Investigator (PI) for study entitled “Evaluation of Hurricaine anesthetic in patients
      with dyspepsia” funded by Beutlich Pharmaceuticals for, 2001. Amount: $1,500

6.    Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
      cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 2003. Amount:
      $12,000

7.    Co-Investigator, with David Hoyt (PI) for the Resuscitation Outcomes Consortium: UCSD /
      San Diego Resuscitation Research Center, funded by the NIH, 9/1/04 to 6/30/09. UO1
      HL077908. Amount: $2,250,522

8.    Co-Principal Investigator (Co-PI), with Theodore Chan, for study entitled, “The effect of
      Taser on Cardiac, Respiratory and Metabolic Physiology in Human Subjects.” Study funded
      by the National Institute of Justice, U.S. Department of Justice, 10/1/2005 to 9/30/2007.
      UCSD No. 2006-0846; USDOJ Federal Award #98-IJ-CX-0079. Amount: $213,941.4

9.    Co-Investigator, with Daniel Davis (PI) for the study entitled, “ROC Interventional Trials:
      Hypertonic Resuscitation for Traumatic Injury, Trauma Epistry, PRIMED”, funded by the
      NIH, 7/1/06 to 6/30/08. UO1 HL077863. Amount: $331,320

10.   Co-Investigator, with Daniel Davis (PI) for the, “ROC Cardiac Epistry”, funded by the AHA,
      7/1/06 to 6/30/08. Amount: $133,427

11.   Co-Investigator, with Theodore Chan (PI) for study entitled, “Multi-Center Study of the
      Impact of Nurse-Patient Ratios on Emergency Department Overcrowding.” funded by the
      Emergency Medicine Foundation, 7/1/07 to 6/30/08. Amount: $50,000

12.   Principal Investigator (PI) for study entitled, “Evaluation of the Ventilatory and Respiratory Effects of
      a Restraint Chair on Human Subjects.” Funded by the Institute for the Prevention of In-Custody
      Deaths, Inc, 1/1/07 to 12/31/07. Amount: $11,658



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PREVIOUS FUNDED RESEARCH (cont):

13.   Co-Investigator, with Edward Castillo (PI) for study entitled, “California ED Diversion
      Project Evaluation.” funded by the California Healthcare Foundation, 5/15/08 to 10/15/08.
      Amount: $50,990

14.   Principal Investigator (PI) for study entitled, “Ventilatory Effects of Prone Restraint on Obese Human
      Subjects.” Funded by the Institute for the Prevention of In-Custody Deaths, Inc, 1/1/09 to 12/31/09.
      Amount: $13,423

15.   Principal Investigator (PI) for study entitled, “FAST TRAC: Finding ACS with Serial Troponin
      Testing for Rapid Assessment.” Funded by the Nanosphere, Inc. 2/1/09 to 2/1/11. Amount: $85,000

16.   Principal Investigator (PI) for study entitled, “CHOPIN: Copentin Helps in the Early Detection of
      Patients with Acute Myocardial Infarction.” Funded by Brahms AG, 8/1/09 to 8/1/12. Amount:
      $103,950

17.   Co-Investigator, with Christine Hall for the study titled, “RESTRAINT - Risk of dEath in
      Subjects That Resisted: Assessment of Incidence and Nature of faTal events”, funded by the
      Vancouver Island Health Authority. 7/1/09 to 6/30/11. Amount $50,000

18.   Co-Investigator for study titled “STAT MERCURY: Studying the Treatment of Acute
      HyperTension: A Multicenter EmeRgency Department Clevidipine Utilization RestrY”
      funded by the Medicines Company, 7/27/10 to 11/1/11. Amount $1400

19.   Co-Investigator for study titled “A Phase II, Randomized, Double-blind, Placebo-
      controlled Study to Evaluate the Safety and Efficacy of MN-221 when Administered
      Intravenously as an Adjunct to Standard Therapy to Adults with an Acute Exacerbation
      of Asthma.” Study funded by MediciNova, Inc. 1/1/11 to 1/31/12. Amount $50,000

20.   Principle Investigator for study titled “AKINESIS: Acute Kidney Injury N-gal Evaluation of
      Symptomatic heart failure.” Study funded by Alere and Abbott, 4/1/11 to 6/30/12. Amount $32,000

21.   Principle Investigator for study titled “Evaluation of Ecallantide (DX-88) for the Acute
      Treatment of Angiotensin Converting Enzyme Inhibitor Induced Angioedema, a Phase II,
      double-blind study. Study funded by Dyax Corporation. 4/1/11 to 6/30/12. Amount $20,000

22.   Principle Investigator for study titled “REAL: Rapid Evaluation of Acute Kidney Injury with
      NGAL in Acutely Ill Patients in the ICU.” Study funded by Alere, 5/1/11 to 6/30/12. Amount
      $74,435

23.   Principle Investigator for study titled “A Mulit-Center, Open-Label, Surveillance Trial to
      Evaluate the Safety and Efficacy of a Shortened Infusion Time of Intravenous Ibuprofen
      Protocol CPI-CL-015.” Study funded by Cumberland Pharmaceuticals, Inc., 6/1/11 to 6/30/12.
      Amount $50,000




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PREVIOUS FUNDED RESEARCH (cont):

24.   Co-Investigator, with Edward Castillo (PI) for the study titled, “Restraint Chair Literature
      Review and Policy Gap Analysis", funded by the Ontario Ministry of Community Safety and
      Correctional Services, 7/1/13 to 9/30/13. COS-0010. Amount: $15,000

25.   Co-Investigator, with Daniel Davis (PI) for the study titled, “Resuscitation Outcomes
      Consortium (ROC) Regional Clinical Center, San Diego”, funded by the NIH, 3/1/10 to
      6/30/14. U01 HL077908-09. Amount: $1,389,389

26.   Co-Investigator with Edward Castillo (PI) for study entitled, “Diagnostic Evaluation using
      ClearView in Decision Making in the Emergency Room”. Funded by EPIC Research and
      Diagnostics, Inc, 2012-2014. Amount: $650,840.10 (based on 570 total participants).

27.   Co-Investigator with Edward Castillo (PI) for study entitled, “Point-of-Care Testing for Illicit
      Drugs and Alcohol Intoxication in an Emergency Room”. Funded by the National Institute on
      Drug Abuse through Seacoast Science, Inc., 2013-2015. Amount: $50,163.

28.   Co-Investigator with Edward Castillo (PI) for study entitled, “Evaluation of downward force
      placed onto prone subjects.” Funded by the Institute for the Prevention of In-Custody Deaths,
      Inc., 2014-2015. Awarded, contract in process. Amount: $7,500.

29.   Co-Investigator with Edward Castillo (PI) for study entitled, “Acute Bacterial Skin and Skin
      Structure Infection (abSSSI) Practice Pattern Assessment.” Funded by Durata Therapeutics
      International B.V., 2014-2015. Amount: $15,000.

30.   Co-Investigator with Edward Castillo (PI) for study entitled, “Exploring emergency room
      physician’s knowledge and attitudes concerning the use of appropriate and safe home care as
      an alternative to hospital admission.” Funded by the Gary and Mary West Health Institute,
      2014-2015. Amount: $118,021.

31.   Co-Investigator with Allyson Kreshak (PI) for study entitled, “Telephone, Text or Type?
      Comparing Tools for Improving Physician-Patient Communication Beyond the Walls of the
      Emergency Department after Discharge.” Funded by the UCSD Academy of Clinician
      Scholars, 2014-2015. Amount: $10,000.

32.   Principal Investigator (PI) for the study titled, “Resuscitation Outcomes Consortium (ROC)
      Regional Clinical Center, San Diego”, funded by the NIH, 7/1/14 to 12/31/15. U01
      HL077908-09. Amount: $1,389,389

33.   Principal Investigator (PI) for study entitled, “EXCITATION Study: Unexplained In-Custody
      Deaths: Evaluating Biomarkers of Stress and Agitation.” Study funded by the National
      Institute of Justice, U.S. Department of Justice, 11/1/2012 to 6/30/2016. USDOJ Federal
      Award # 2012-R2-CX-K006. Amount: $431,943

34.   Principal Investigator (PI) for the study titled, “Resuscitation Outcomes Consortium (ROC)
      Protocol -ALPS”, funded by the NIH, 7/1/13 to 6/3/16. 5U01HL077863-11 subaward
      758500. Amount: $289,003



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PUBLICATIONS:

Texts/Books

1.    Atlas of Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.);
      St. Louis: Mosby, Inc., 2001.

2.    Atlas of Emergency Procedures. (Edition translated into Spanish) Rosen P, Chan TC, Vilke
      GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2005.

Book Chapters

1.    Vilke GM: Head Trauma, Blunt. In: The 5 Minute Emergency Medicine Consult. Rosen P,
      Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott Williams &
      Wilkins, 1999, pp 472-473.

2.    Vilke GM: Head Trauma, Penetrating. In: The 5 Minute Emergency Medicine Consult.
      Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
      Williams & Wilkins, 1999, 474-475.

3.    Vilke GM: Urethral Catheterization. In: Atlas of Emergency Procedures. Rosen P,
      Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 124-127.

4.    Vilke GM: Cystostomy. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 128-129.

5.    Vilke GM: Bladder Aspiration. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 130-131.

6.    Vilke GM: Dorsal Slit in Phimosis. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 132-133.

7.    Vilke GM: Manual Paraphimosis Reduction. In: Atlas of Emergency Procedures. Rosen P,
      Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 134-135.

8.    Vilke GM: Zipper Removal. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 136-137.

9.    Hayden SR, Silfvast T, Deakin CD, Vilke GM: Surgical Procedures. In: Prehospital Trauma
      Care. Soreide E, Grande CM (Eds.); New York: Marcel Dekker, Inc., 2001, pp 323-354.

10.   Hayden SR, Thierbach A, Vilke GM, Sugrue M: Patient Turnover: Arriving and Interacting
      in the Emergency Department. In: Prehospital Trauma Care. Soreide E, Grande CM (Eds.);
      New York: Marcel Dekker, Inc., 2001, pp 737-751.

11.   Vilke GM: Cervical Spine Injury, Adult. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 1048-1049.

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PUBLICATIONS, continued:

Book Chapters

12.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 394-395.

13.   Vilke GM: Head Trauma, Blunt. In: Rosen and Barkin’s 5-Minute Emergency Medicine
      Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
      Philadelphia: Lippincott Williams & Wilkins, 2003, pp 476-477.

14.   Vilke GM: Head Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 478-479.

15.   Vilke GM: Ring/Constricting Band Removal. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 980-981.

16.   Vilke GM: Warts. In: Rosen and Barkin’s 5-Minute Emergency Medicine Consult (second
      edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.); Philadelphia:
      Lippincott Williams & Wilkins, 2003, pp 1222-1223.

17.   Vilke GM: Fournier’s Gangrene. In: Rosen and Barkin’s 5-Minute Emergency Medicine
      Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
      Philadelphia: Lippincott Williams & Wilkins, 2003, pp 430-431.

18.   Vilke GM: Variants of Normal. In: ECG in Emergency Medicine and Acute Care. Chan TC,
      Brady WJ, Harrigan RA, Ornato JP, Rosen P (Eds.); Philadelphia: Elsevier Mosby, 2005,
      pp 12-15.

19.   Vilke GM: Keloid Formation. In: Greenberg’s Text-Atlas of Emergency Medicine.
      Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
      Wilkins, 2005, p 684.

20.   Vilke GM: Distal Digital Amputation. In: Greenberg’s Text-Atlas of Emergency Medicine.
      Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
      Wilkins, 2005, p 685.

21.   Vilke GM: Painful Syndromes of the Hand and Wrist. In: Harwood-Nuss’ Clinical Practice
      of Emergency Medicine fourth edition. Editor-in-chief: AB Wolfson. Philadelphia: Lippincott
      Williams and Wilkins, 2005, pp 536-540.

22.   Vilke GM: Neck Holds. In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.);
      New Jersey: Humana Press, 2006, pp 15-38.




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PUBLICATIONS, continued:

Book Chapters

23.   Sloane C, Vilke GM: Riot Control Agents, Tasers and Other Less Lethal Weapons.
      In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.); New Jersey: Humana Press, 2006,
      pp 113-138.

25.   Vilke GM: Clostridium botulinum Toxin (Botulism) Attack. In: Disaster Medicine.
      Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 701-704.

26.   Vilke GM: Viral Agents (Section 10, Part 2). Section Editor. In: Disaster Medicine.
      Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 661-697.

27.   Patel R, Reynoso J, Vilke GM: Genitourinary Trauma. In: Emergency Medicine Handbook.
      Clinical Concepts for Clinical Practice. Roppolo LP, Davis D, Kelly SP, Rosen P (Eds.);
      Philadelphia: Elsevier Mosby, 2007, pp 164-173.

28.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
      Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 392-393.

29.   Vilke GM: Fournier’s Gangrene. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
      Philadelphia: Lippincott Williams & Wilkins, 2007, pp 428-429.

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       S148.




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PUBLICATIONS, continued:

Abstracts

181.   Sloane C, Chan TC, Vilke GM, Castillo EM, Kolkhorst F, Neuman T: The Ventilatory
       Effects of the Prone Maximal Restraint Position on Obese Human Subjects. Acad Emer Med
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182.   Hogen R, Brennan JJ, Vilke GM, Chan TC, Castillo EM: Visit Urgency amongst the Chronic
       Disease Population in a Large Metropolitan Region Emergency Department Network. Acad
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183.   Castillo EM, Chan TC, Vilke GM, Killeen JP, Brennan JJ: Factors Associated with Super
       Users of Emergency Department Resources Admitted to Acute Care. Acad Emer Med
       2013;20(5):S183.

184.   Brennan JJ, Chan TC, Vilke GM, Castillo EM, Killeen JP: Comorbidity among Frequent
       Emergency Department Users with Psychiatric Associated Discharge Diagnoses. Acad Emer
       Med 2013;20(5):S229.

185.   Brennan JJ, Castillo EM, Vilke GM, Killeen JP, Chan TC: Factors Associated with Frequent
       Users of California Emergency Department Resources. Acad Emer Med 2013;20(5):S230.

186.   Chan TC, Brennan JJ, Killeen JK, Stevenson ME, Kuntz KE, Vilke GM, Castillo EM:
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       Departments. Acad Emer Med 2013;20(5):S231.

187.   Castillo EM, Chan TC, Brennan JJ, Roberts EE, Vilke GM. What Contributes to Subject and
       Officer Injuries During Law Enforcement Use of Force Events? Ann Emerg Med 2013,
       62(4), S107.

188.   Brennan JJ, Castillo EM, Wilson M, Chan TC, Killeen JP, Vilke GM. Psychiatric-Associated
       Visits to California Emergency Departments: Presence of Licensed Psychiatric Beds and
       Admission. Ann Emerg Med 2013, 62(4), S118.

189.   Granata RT, Vilke GM. Impact of deferred CT imaging of intoxicated patients presenting
       with altered mental status. J Invest Med 2014;61(1):214.

190.   Nowak RM, Schreiber D, Hollander J, Nagurney J, Hogan C, Wu A, Vilke GM, Apple F,
       Cannon C, Daniels L, Anand I, deFillippi C, McCord J, Shah K, Marston N, Neath SX,
       Christenson R, Diercks D, Limkakeng A, Jaffe A, Mueller C, Maisel A, Peacock F: Copeptin
       Provides Prognostic Value in Emergency Department Patients Presenting with Acute
       Undifferentiated Chest Pain. Acad Emerg Med 2014;21(5):S89.




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PUBLICATIONS, continued:

Abstracts


191.   Peacock W, Nowak R, Neath SX, Hollander J, Cannon C, Nagurney JT, Schreiber D, Hogan
       C, Diercks D, Stein JC, Headden G, Limkakeng AT, Mueller C, Vilke GM, Maisel A: Can a
       Second Measurement of Copeptin Improve Acute Myocardial Infarction Rule Out? Acad
       Emerg Med 2014;21(5):S90.

192.   Vilke GM, Lassoff D, Chan TC, Hall CA, Bozeman WP, Castillo EM. Proning: Outcomes of
       Use of Force Followed with Prone Restraint. Acad Emerg Med 2014; 21(Supp 1): S161.

193.   Vilke GM, Chan TC, Roberts EE, Moore JD, Parra KM, Castillo EM. Does Law
       Enforcement Use Different Levels of Force if the Subject Appears to be Mentally Impaired?
       Acad Emerg Med 2014; 21(Supp 1): S238.

194.   Hopper A, Dee J, Vilke GM, Castillo EM, Chen V, Hall D, Wilson MP. Hypotensive Effects
       of Risperidone Are Not Increased When Used in Conjunction with Benzodiazepines or in
       Alcohol Intoxicated Patients but May Increase in Elderly Patients. Acad Emerg Med 2014;
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195.   Castillo, EM, Brennan JJ, Hsia RY, Killeen JP, Vilke, GM, Chan TC. Thirty-day
       Readmissions Through the Emergency Department in a Large, Metropolitan Region. Acad
       Emerg Med 2014; 21(Supp 1):S108.

196.   Castillo EM, Chan TC, Hsia RY, Killeen JP, Vilke GM, Brennan JJ. Should Rural Hospitals
       be Concerned about Frequent Users of Emergency Department Resources? Acad Emerg Med
       2014; 21(Supp 1):S218.

197.   Brennan JJ, Chan TC, Vilke GM, Hsia RY, Killeen JP, Castillo EM. Traveling Super Users
       of California Emergency Departments. Acad Emerg Med 2014; 21(Supp 1):S220.

198.   Killeen JP, Castillo EM, Brennan JJ, Vilke GM, Chan TC. Does Emergency Department
       Interrogation Reduce ED Time for Patients with Pacemakers or ICDs? Acad Emerg Med
       2014; 21(Supp 1):S274.

199.   Castillo EM, Brennan JJ, Hsia RY, Killeen JP, Vilke GM, Chan TC. Multiple Emergency
       Department Use and 30-day ED Visits. Acad Emerg Med 2014; 21(Supp 1):S322.

200.   Marston N, Shah K, Mueller C, Neath SX, Christenson R, McCord J, Nowak R, Vilke G,
       Daniels L, Hollander J, Apple F, Cannon C, Nagurney J, Schreiber D, DeFilippi C, Hogan C,
       Diercks D, Limkaken A, Anand I, Jaffe A, Peacock WF, Maisel A, Wu, A: Can a second
       measurement of copeptin improve acute myocardial infarction rule out?. J Am Coll Cardiol
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PUBLICATIONS, continued:

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201.   Chan TC, Killeen JP, Vilke GM, Castillo EM. Impact of the Affordable Care Act on the
       Health Care Coverage of Patients Seen in the Emergency Department: Initial First Quarter
       Findings. Ann Emerg Med 2014; 64(4s):S84 –S85.Smith C, Hopper AB,

202.   Castillo EM, Dang AQ, Chan TC, Vilke GM. Mortality and Timing of Death in Patients
       With Runaway Pacemakers. Ann Emerg Med 2014; 64(4s):S111.

203.   Brennan JJ, Chan TC, Hsia RY, Vilke GM, Killeen JP, Castillo EM. Predicting Frequent Use
       of Emergency Department Resources. Ann Emerg Med 2014; 64(4s):S118 – S119.

204.   Campillo A, Castillo EM, Vilke GM, Wilson MP. Use of Quetiapine in the Emergency
       Department for Acute Agitation and Associated Physiologic Effects. Ann Emerg Med 2014;
       64(4s):S138.

205.   Vilke GM, Lev R, Chan TC, Lucas J, Smith J, Painter NA, Castillo EM. Prescription Drug
       Prescribing Patterns in a Large Regional Area. Ann Emerg Med 2014; 64(4s):S139-S140.

206.   Hopper AB, Deen J, Smith C, Campillo A, Vilke GM, Castillo EM, Wilson MP.
       Hypotensive Effects of Oral Second Generation Antipsychotics in the Emergency
       Department. Ann Emerg Med 2014; 64(4s):S140-S141.

207.   Marston N, Shah K, Mueller C, Neath SX, Christenson R, McCord J, Nowak R, Vilke GM,
       Daniels L, Hollander J, Apple F, Cannon C, Nagurney J, Schreiber D, deFilippi C, Hogan C,
       Diercks D, Limkakend A, Anand I, Wu A, Clopton P, Jeffe A, Peacock F, Maisel A. Does
       Copeptin Provide Additional Risk Stratification in Chest Pain Patients With a Mild Troponin
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208.   Egnatios J, Lev R, Petro S, Castillo E, Vilke G. Long Active Death: Medadone. Ann Emerg
       Med 2015; 66(4s):S140-S141.

209.   Vilke GM, Guss DA. Pilot Study of Telemedicine in a County Jail to Assess and Treat
       Acutely Ill Inmates. Ann Emerg Med 2015; 66(4s): S14.

210.   Brennan JJ, Vilke GM, Hsia RY, Chan TC, Killeen JP, Huang J, Castillo EM. Transient
       Ischemic Attack “Bouncebacks”: Emergency Department Discharges Who Return as
       Admissions Within Seven Days. Ann Emerg Med 2015; 66(4s):S112.

211.   Brennan JJ, Chan TC, Vilke GM, Killeen JP, Hsia RY, Tehaney K, Castillo EM.
       Admissions Within Seven Days of an Emergency Department Discharge. Ann Emerg Med
       2015; 66(4s):S89.




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PUBLICATIONS, continued:

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212.   Lev R, Lee O, Petro S, Lucas J, Castillo EM, Vilke GM, Coyne CJ. Specialty-Specific
       Prescribing Patterns to Patients Who Die From Prescription Drugs: How Do Emergency
       Physicians Compare? Ann Emerg Med 2015; 66(4s):S119.

213.   Castillo EM, Chan, TC, Vilke GM, Hsia RY, Ishamine P, Shah S, Kapoor K, Brennan JJ.
       A Description of Pediatric Frequent Users of Emergency Department Resources. Ann
       Emerg Med 2015; 66(4s):S8.

214.   Chan TC, Brennan JJ, Vilke GM, Hsia RY, Killeen JP, Castillo EM. The Changing
       Landscape of Emergency Department Visits in California. Acad Emerg Med 2016;
       23:S15

215.   Castillo EM, Vilke GM, Killeen JP, Hsia RY, Wilson MP, Brennan JJ. ED Utilization
       Prior to a Suicide and Self-Inflicted Injury Related ED Visit. Acad Emerg Med 2016;
       23:S17.

216.   Supat B, Brennan JJ, Vilke GM, Ishimine P, Shah S, Hsia RY, Castillo EM. Assessing
       Factors Associated with Pediatric Frequent Emergency Department Utilization. Acad
       Emerg Med 2016; 23:S32.

217.   Coyne CJ, Chiu C, Brennan JJ, Castillo EM, Vilke GM. Medication Adherence in the
       Emergency Department: What are the Barriers? Acad Emerg Med 2016; 23:S41.

218.   Spinosa DL, Brennan JJ, Castillo EM, Hsia RY, Vilke GM. Multivariate Analysis of 30-
       Day Readmission for Acute Myocardial Infarction. Acad Emerg Med 2016; 23:S118.

219.   Castillo EM, Brennan JJ, Shah S, Vilke GM, Hsia RY, Nguyen M. Asthma and Asthma-
       Mimicking Pediatric ED Revisit Within Three Days of an ED Discharge. Acad Emerg
       Med 2016; 23:S120.

220.   Castillo EM, Brennan JJ, Chan TC, Killeen JP, Hsia RY, Vilke GM. ED Utilization 3-
       Days Prior to a Fall-Related ED Visit Among Elderly Patients. Acad Emerg Med 2016;
       23:S139.

221.   Coyne CJ, Le V, Brennan JJ, Castillo EM, Shatsky RA, Vilke GM. Low-Risk febrile
       Neutropenia: Can These Patients be Safely Discharged from the Emergency Department?
       Acad Emerg Med 2016; 23:S161.

222.   Brennan JJ, Vilke GM, Chan TC, Killeen JP, Hsia RY, Castillo EM. ED Revisits Within 3
       Days of an ED Discharge Among Elderly Patients. Acad Emerg Med 2016; 23:S169.

223.   Nakajima Y, Vilke GM, Castillo EM, Brennan JJ, Hsia R. Asthma Bouncebacks
       Emergency Department Discharges Who Return as Admission Within Three Days. Acad
       Emerg Med 2016; 23:S202.



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224.   Benaron D, Castillo E, Vilke G, Guluma K. Emergency Department Patient Perception of
       Stroke: A Comparison of Elderly and Nonelderly Knowledge of Stroke. Acad Emerg Med
       2016; 23:S256.




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ORAL PRESENTATIONS AT NATIONAL MEETINGS:

1.    Chan TC, Buchanan J, Anderson M, Vilke GM: Patient ethnicity and age in prehospital
      emergency ambulance use and acuity rates. NAEMSP Mid-Year Meeting, Lake Tahoe,
      Nevada; July 1998.

2.    Vilke GM, Dunford JV, Buchanan J, Chan TC: Are opiate overdose deaths related to patient
      release after naloxone? ACEP Research Forum, San Diego, California; October 1998.

3.    Gerling MC, Hamilton RS, Davis DP, Morris GF, Vilke GM, Hayden SR: The effects of
      cervical spine immobilization on technique and laryngoscope blade selection on an unstable
      cervical spine injury in a cadaver model of intubation. ACEP Research Forum, San Diego,
      California; October 1998.

4.    Vilke GM, Chan TC, Ray LU, Anderson ME: Use of prehospital crash injury data to assess
      regional automobile safety restraint use. NAEMSP Annual Meeting, Marcos Island, Florida;
      January 1999.

5.    Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does gastric distention from air
      insufflation affect the accuracy of the syringe esophageal detector device in detecting
      esophageal intubation? SAEM Western Regional Research Forum, Redondo Beach,
      California; March 1999.

6.    Davis DP, Kimbro T, Vilke GM: The use of midazolam for prehospital rapid-sequence
      intubation may be associated with a dose-related increase in hypotension. NAEMSP Annual
      Meeting, Dana Point, California; January 2000.

7.    Marino AT, Sharieff G, Gerhart AE, Chan TC, Vilke GM: The efficacy and complication rate
      of prehospital midazolam for the treatment of pediatric seizures. NAEMSP Annual Meeting,
      Dana Point, California; January 2000.

8.    Eisele JW, Chan T, Vilke G, Neuman T, Clausen J: Effect of weight placed on the back of
      subjects in the hobble restraint position. American Academy of Forensic Sciences Annual
      Meeting, Reno, Nevada; February 2000.

9.    Chan TC, Vilke GM, Neuman TS, Clark RF, Clausen JL: The effect of oleoresin capsicum
      spray inhalation on pulmonary and respiratory function. SAEM Western Regional Research
      Forum, Portland, Oregon; April 2000.

10.   Vilke GM, Chan TC, Seltzer A, Fisher R, Dunford JV: Outcome of out-of-hospital refusal
      of paramedic transport by parents of pediatric patients. State of California EMS Authority
      EMS for Children Annual Conference, San Diego, California; November 2000.

11.   Deitch S, Vilke GM, Marino A, Vroman D, Chan TC: Effect of prehospital use of
      nitroglycerine on EKG findings in patients with chest pain. American Academy of
      Emergency Medicine Annual Conference, Orlando, Florida; March 2001.




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ORAL PRESENTATIONS AT NATIONAL MEETINGS, continued:

12.   Vilke GM, Steen PJ, Smith AM, Chan TC: Pediatric intubation by paramedics: The San Diego
      County experience. SAEM Western Regional Research Forum, Irvine, California; March 2001.

13.   Davis DP, Ochs M, Hoyt DB, Dunford JV, Vilke GM: The use of the Combitube as a salvage
      airway device for paramedic RSI. SAEM Western Regional Research Forum, Irvine,
      California; March 2001.

14.   Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
      outreach team. SAEM Annual Meeting, Atlanta, Georgia; May 2001.

15.   Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
      outreach team. CAL/ACEP Scientific Assembly, Santa Clara, California; June 2001.
      (Won Award for Best Oral Presentation)

16.   Valentine C, Davis D, Ochs M, Hoyt D, Bailey D, Vilke G: The use of the Combitube as a
      salvage airway device for paramedic rapid sequence induction. NAEMSP Annual Meeting,
      Tucson, Arizona; January 2002.

17.   Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: Prospective countywide trial
      to decrease ambulance diversion hours. SAEM Western Regional Meeting, Scottsdale,
      Arizona; April 2003.

18.   Vilke GM, Lev R, Castillo EM, Murrin PA, Chan TC: Prospective countywide trial to
      decrease ambulance diversion hours. SAEM Annual Meeting, Boston, Massachusetts,
      May 2003.

19.   Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: San Diego County improved
      patient destination trial to decrease emergency department diversion hours and diverted
      patients. American College of Emergency Physicians Research Forum, Boston,
      Massachusetts; October 2003.

20.   Vilke G, Castillo E, Metz M, Murrin P, Ray LU, Lev R, Chan T: Community trial to decrease
      ambulance diversion of patients and hours. NAEMSP National Conference, Tucson, Arizona;
      January 2004.

21.   Marcelyn Metz, Patricia Murrin, Gary M. Vilke: The three-phase EMS cardiac arrest model
      for ventricular fibrillation. ENA Annual Meeting; San Diego, California; October 2004.

22.   Michalewicz, BA, TC Chan, GM Vilke, SS Levy, TS Neuman, and FW
      Kolkhorst: Ventilatory and metabolic demands during aggressive physical restraint in healthy
      adults. American College of Sports Medicine Annual Meeting, Denver, CO; June
      2006. [Medicine and Science in Sports and Exercise 38(5 Supplement), 2006].

23.   Vilke GM, Ali S, Simmons T, Witucki P, Wilson MP. Does an alcohol-based sanitizer impact
      breathalyzer levels? SAEM Annual Meeting, Chicago, Illinois; May 2012.




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      SELECTED SPEAKING ENGAGEMENTS:

1.    “Death of a Child: How to Treat the Survivors” -- Grand Rounds, Department of Emergency
      Medicine, UCSD Medical Center; April 1996.

2.    “Assessing GCS and the Field Neurologic Exam” -- Palomar College Paramedic Training;
      June 1998.

3.    “Prehospital Shock”; “Management of the Field Trauma Patient” -- Mercy Air, Ventura
      County Lecture Series; August 1998.

4.    “ER: Not Just a Television Show, But a Field of Research” -- Howard Hughes Foundation
      Lecture Series, University of California, San Diego; November 1998.

5.    “Multi-Casualty Incident” -- UCSD Medical Center Trauma Conference; March 1999.

6.    “Managing the Prehospital Multi-Casualty Incident” -- Southwestern College Paramedic
      Training Institute; May 1999.

7.    “Aeromedical Transport: The Past and Current Environment” -- Trauma Morbidity and
      Mortality Conference, Children’s Hospital, San Diego, California; July 1999.

8.    “Altitude Medicine”; “Carbon Monoxide Poisoning and Treatment Options”; “Aeromedical
      Transport Options”; “Emergent Airway Management Options” -- Rural Emergency Medicine
      Conference, Jackson Hole, Wyoming; August 1999.

9.    “Abdominal and Chest Trauma in Sports” -- First Annual San Diego County Athletic Coaches
      Workshop, San Diego, California; June 2000.

10.   “Tabletop Discussion on Chemical Weapon of Mass Destruction” -- Facilitator of Tabletop
      Training for San Diego County Metropolitan Medical Strike Team; July 2000.

11.   “Pediatric IV Access”; “Spinal Immobilization”; “Children with Special Health Care Needs”;
      “Cardiovascular Emergencies” -- American Academy of Pediatrics Pediatric Education for
      Prehospital Professionals Conference, San Diego, California; November 2000.

12.   “New Frontiers in Field Management of Pediatric Status Epilepticus” -- State of California EMS
      Authority Annual EMS for Children Conference, San Diego, California; November 2000.

13.   “EMS Medical Control: Avoiding your Day in Court” -- ACEP’s Emergency Medicine
      Connection Conference, San Diego, California; March 2001.

14.   “Pediatric Intubations by Paramedics” -- San Diego Chapter of the Committee on Pediatric
      Emergency Medicine; April 2001.

15.   “Warfare and Terrorism: A Review of Chemical Agents -- San Diego County Metropolitan
      Medical Strike Team Training; August 2001.




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SELECTED SPEAKING ENGAGEMENTS, continued:

16.   “Bioterrorism and San Diego County” -- Council of Community Clinics Meeting;
      October 2001.

17.   “Bioterrorism and San Diego County Readiness” -- CTN interview with Bill Horn;
      October 2001.

18.   “Future of Prehospital Care” -- Keynote Speaker, Southwestern Paramedic College
      Graduation; November 2001.

19.   “Biological Agents for Terrorism” -- San Diego County Metropolitan Medical Strike Team
      Training; November 2001.

20.   “Clinical Aspects of Bioterrorist Agents” -- Palomar Paramedic College; November 2001.

21.   “Clinical Aspects of Bioterrorism” -- Grand Rounds, Fallbrook Hospital; January 2002.

22.   “Bioterrorism and San Diego County Readiness” -- Poway Town Hall Meeting; January 2002.

23.   “Bioterrorist Preparedness” -- National Medical Association, San Diego County; January 2002.

24.   “Chemical Agents of Terrorism: Diagnosis and Treatment” -- Topics and Advances in Internal
      Medicine, San Diego, California; March 2002.

25.   “Bioterrorism: Implications for the Legal and Domestic Community” -- Thomas Jefferson
      School of Law, San Diego, California; April 2002.

26.   “Prehospital Management of Pediatric Seizures” -- EMS-Children Annual Conference;
      San Diego, California; November 2002.

27.   “Paramedicine – Past, Present and Future” -- Keynote Speaker, Southwestern Paramedic
      College Graduation; San Diego, California; December 2002.

28.   “Medical Group Preparedness: How would you Respond to a Possible Victim of
      Bioterrorism?” -- Bioterrorism Preparedness Training Conference; San Diego California;
      January 2003.

29.   “Update on Bioterrorism” -- The Western States Winter Conference on Emergency Medicine;
      Park City, Utah; January 2003.

30.   “Academic Emergency Medicine and Research Opportunities” -- San Diego Health
      Information Association, San Diego, California; February 11, 2003.

32.   “Blast and Radiological Injuries: Myths and Realities” -- San Diego County Metropolitan
      Medical Strike Team Training; San Diego, California; August 2003.




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SELECTED SPEAKING ENGAGEMENTS, continued:

33.   “Clinical Aspects of Bioterroism” -- American Correctional Health Services Association,
      California and Nevada Chapter Annual Conference, San Diego, California; September 2003.

34.   “Bioterrorism” -- UCSD/SDSU General Preventive Medicine Residency Lecture Series,
      La Jolla, California; October 2003.

35.   “Prehospital Pediatric Airway Obstruction” – Children’s Hospital Grand Rounds, San Diego,
      California; July 2004.

36.   “Future of Healthcare in San Diego: Trends Impacting our Delivery System” -- San Diego
      Organization of Healthcare Leaders, San Diego, California; August 2004.

36.   “Firestorm 2003” -- Children’s Hospital Grand Rounds, San Diego, California; January 2004.

37.   “EMS research: Unique ethical and regulatory issues” -- Applied Research Ethics National
      Association Annual meeting, San Diego, California; October 2004.

38.   “What happens when you call 911?” -- San Diego Sports Medicine Foundation, San Diego,
      California; October 2004.

39.   “Making the Metropolitan Medical Response System Work for You" -- Emergency Response
      2004 Conference, San Diego, California; November 2004.

40.   “San Diego County Emergency Department Ambulance Bypass - Past, Present, Future” --
      Urgent Matters Briefing, San Diego, California; November 2004.

41.   “San Diego County Emergency Department Ambulance Bypass - Past, Present, and Future” --
      San Diego Community Emergency Departments, San Diego, California; December 2, 2004.

42.   “Emergency Response Management for Efficiency of Care and Fiscal Consideration” --
      American Correctional Health Services Association, Oakland, California; April 2, 2005.

43.   “Conducted Energy Devices – Medical Updates and Issues” -- Police Executive Research
      Forum, Houston, Texas; October 18, 2005.

44.   “Conducted Energy Devices Proximity Deaths and Medical Response” -- 2005 Critical
      Issues in Policing Series, Police Executive Research Forum, San Diego, California;
      December 8, 2005.

45.   “Conductive Electrical Devices (Tasers£) and Patients with Excited Delirium for Law
      Enforcement and Emergency Medical Personnel” -- The U.S. Metropolitan Municipalities
      EMS Medical Directors Annual Meeting, Dallas, Texas; February 16, 2006.

46.   “Tasers and Sudden Death” -- Keynote speaker at One Day Symposium on In-Custody Deaths
      by the Florida Sheriffs Association, Orlando, Florida; June 1, 2006.



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SELECTED SPEAKING ENGAGEMENTS, continued:

47.   “Medical Aspects of the Use of Force Continuum” -- Department of Justice Community
      Oriented Policing Services (COPS) Conference, Washington, DC; July 29, 2006.

48.   “Resuscitation Outcomes Consortium” -- 7th Annual University of California Neurotrauma
      Meeting, Carmel, California; August 3, 2006.

49.   “Use of Force: Sudden Death Myths and Excited Delirium” -- The Commission of
      Accreditation for Law Enforcement Agencies (CALEA) Less Lethal Technology Working
      Group Meeting, Washington, DC; September 10, 2006.

50.   “Police In-Custody Deaths and the Taser Controversy” -- UCSD/SDSU General Preventive
      Medicine Residency Lecture Series, La Jolla, California; September 2006.

51.   “Conductive Energy Devices: The medical aspects of Taser Electronic Control Devices
      (ECDs) and other Energy Devices” – Sudden Death, Excited Delirium and In-Custody Death
      Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada;
      November 16-17, 2006.

52.   “Cardiac, Respiratory and Metabolic Effects of EMD” – Study of Deaths Following Electro
      Muscular Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
      Washington D.C.; January 9, 2007.

53.   “The Medical Implications of Tasers and the Impact on EMS ” – National Association of EMS
      Physicians National Conference. Naples, FL; January 12, 2007.

54.   “Excited Delirium” - Solutions For Corrections Seminar for the California State Sheriff’s
      Association. Ontario, CA; February 7, 2007.

55.   “Excited delirium, positional asphyxia and restraint” -- EMS Today Conference, Baltimore,
       Maryland; March 10, 2007.

56.   “Medical implications of Tasers and other Conductive Energy Devices” -- EMS Today
       Conference, Baltimore, Maryland; March 10, 2007.

57.   “Excited Delirium” -- American Correctional Health Services Association, Oakland,
      California; September 19, 2007.

58.   “Human Physiologic Effects of Tasers” – Study of Deaths Following Electro Muscular
       Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
       Washington D.C.; September 27, 2007.

59.   “The clinical impacts of TASER and other Conductive Energy Devices on Humans: A
      Review of the latest Medical Research” – Sudden Death, Excited Delirium and In-Custody
      Death Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas,
      Nevada; November 28-30, 2007.


SELECTED SPEAKING ENGAGEMENTS, continued:
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60.   “Physiological Effects of Tasers” – The City Council of Miami-Dade. Miami, Florida; January
        17, 2008.

61.   “Excited Delirium: What is it? Why does it kill? What do we need to know about it? Western
        States Winter Conference on Emergency Medicine. Park City, Utah, February 8, 2008.

62.   “Medical Effects of Tasers” – The City Council of Houston. Houston, Texas; March 10, 2008.

63.   “Less Lethal Weapons” - Emergency Nurses Association, San Diego Chapter. San Diego,
        California; April 18, 2008.

64.    “The Clinical Impacts of TASER and other Conductive Energy Devices on Humans and
       Why People Die Afterwards” -- American Correctional Health Services Association, San
       Diego, California; September 17, 2008.

65.    “Police In-Custody Deaths and Excited Delirium” -- UCSD/SDSU General Preventive
       Medicine Residency Lecture Series, La Jolla, California; October 2008.

66.    “The Clinical Impacts of TASER and other Conductive Energy Devices on Humans” –
       Sudden Death, Excited Delirium and In-Custody Death Conference by the Institute for the
       Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; October 29, 2008.

67.    “Agitated Delirium – Role of Illicit Drug Use in Sudden Restraint Death” Western Medical
       Toxicology Fellowship Conference. San Diego, California; April 29, 2009.

68.    “Conducted Energy Devices: Are They Safe Options?” Excited Delirium Conference by the
       Canadian Institute for the Prevention of In-Custody Deaths, Inc. Niagara Falls, Canada; May
       26, 2009.

69.    “The Physiologic Effects of the Taser on Humans” UCSD Biomedical and Clinical Research
       Seminars. San Diego, California; June 2, 2009.

70.    “The Taser-Plastic Surgery Interface” UCSD Department of Plastic Surgery Grand Rounds.
       San Diego, California; June 17, 2009.

71.    “ECD Research Update and Safety Issues” – Sudden Death, Excited Delirium and In-
       Custody Death Conference by the Institute for the Prevention of In-Custody Deaths, Inc.
       Las Vegas, Nevada; November 12, 2009.

72.    “Use of the Restraint Chair and Positional Asphyxia” – Southern California Jail Manager’s
       Association. Temecula, California; January 21, 2010.




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SELECTED SPEAKING ENGAGEMENTS, continued:

73.   “Excited Delirium Challenges and Best ER Practices” Excited Delirium Conference by the
      Canadian Institute for the Prevention of In-Custody Deaths, Inc. Niagara Falls, Canada; April
      19, 2010.

74.   “Excited Delirium and TASERs: What Physicians Need to Know” – Grand Rounds Scripps
      Encinitas Hospital. Encinitas, California; July 15, 2010.

75. “Excited Delirium and TASERs: What Physicians Need to Know” – Grand Rounds University
     Medical Center. Las Vegas Nevada; August 10, 2010.

76.   “Review of ECD Research and Reported Cardiac Capture” – Sudden Death, Excited Delirium
      and In-Custody Death Conference by the Institute for the Prevention of In-Custody Deaths,
      Inc. Las Vegas, Nevada; November 17, 2010.

76.   “The Science Behind the American Heart Association ACLS Guidelines” – Puerto Vallarta
      ACLS Resuscitation Conference. Puerto Vallarta, Mexico; February 18, 2011.

77.   “The Science Behind the American Heart Association ACLS Guidelines” – Cabo San Lucas
      ACLS Resuscitation Conference. Cabo San Lucas, Mexico; March 25, 2011.

78.   “ROC Cardiac Arrest Outcomes” – San Diego Resuscitation Conference. San Diego,
      California; April 9, 2011.

79.   “Do Electronic Control Devices Kill Humans: Review of the Data” – Sudden Death, Excited
      Delirium and In-Custody Death Conference by the Institute for the Prevention of In-Custody
      Deaths, Inc. Las Vegas, Nevada; November 16, 2011.

80.   “Evaluation After Choking or Strangulation” – UCSD Forensic Nursing Conference. San
      Diego, California; April 28, 2012.

81.   “Prehospital Hypothermia for Cardiac Arrest” – Santa Clara County EMS Conference. San
      Mr. Herrera, California; May 23, 2012.

82.   “The Science Behind the American Heart Association ACLS Guidelines” – Cabo San Lucas
      ACLS Resuscitation Conference. Cabo San Lucas, Mexico; August 21, 2012.

83.   “Acute Cerebral Accidents” – Hermosillo ACLS Resuscitation Conference. Hermosillo,
      Sonora, Mexico; September 11, 2012.

84.   “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – Emergency Nurses
      Association Annual Conference. San Diego, California; September 15, 2012.

85.   “Electronic Control Devices and the not so Shocking Truth about their Lethality” – Sudden
      Death, Excited Delirium and In-Custody Death Conference by the Institute for the Prevention
      of In-Custody Deaths, Inc. Las Vegas, Nevada; November 14, 2012.




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SELECTED SPEAKING ENGAGEMENTS, continued:

86.   “Medical Evaluation and Detection of Dementia and Delirium” – Annual Update on
      Behavioral Emergencies Conference. Las Vegas, Nevada, December 5, 2012.

87.   “Acute Cerebral Accidents” – Puerto Vallarta Resuscitation Conference. Puerto Vallarta
      Mexico; January 17, 2013.

88.   “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – San Diego County
      Emergency Nurses Association 911 Conference. San Diego, California; April 19, 2013.

89.   “Acute Cerebral Accidents” – Cabo San Lucas Resuscitation Conference. Cabo San Lucas
      Mexico; April 27, 2013.

90.   “Acute Myocardial Infarction” – Mazatlan Resuscitation Conference. Mazatlan Mexico; May
      7, 2013.

91.   “Hypothermia Post Cardiac Arrest” –Acapulco Resuscitation Conference. Acapulco, Mexico;
      May 28, 2013.

92.   “Bath Salts and In-Custody Death”- National Sheriff’s Association. Charlotte, NC; June 25,
      2013.

93.   “Updates in Cardiac Arrest: The ROC Trials” – Mexico Association of Emergency Medicine
      Emergency Update Conference. Mexico City, Mexico; June 28, 2013.

94.   “Management of Head Trauma” – Mexico Association of Emergency Medicine Emergency
      Update Conference. Mexico City, Mexico; June 28, 2013.

95.   “Hypothermia Post Cardiac Arrest” –La Paz Resuscitation Conference. La Paz, Mexico; July
      22, 2013.

96.   “Management of Head Trauma” – Mexico Association of Emergency Medicine Emergency
      Update Conference. Monterrey, Mexico; September 26, 2013.

97.   “Updates in Cardiac Arrest: The ROC Trials” – Mexico Association of Emergency Medicine
      Emergency Update Conference. Monterrey, Mexico; September 26, 2013.

98.   “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
      Orthopedics Grand Rounds, San Diego, CA October 2, 2013.

99.   “Decreasing Your Risk in Labor and Delivery” – UCSD 9th Annual Perinatal Symposium, San
      Diego, CA October 11, 2013.

100. “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – UCSD Department
     of Emergency Medicine Grand Rounds, San Diego, CA November 11, 2013.




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SELECTED SPEAKING ENGAGEMENTS, continued:

101. “Excited Delirium Syndrome” – Annual Update on Behavioral Emergencies Conference.
     Orlando, Florida; December 12, 2013.

102. “The importance of CT on the initial evaluation of a trauma patient: ABC or AB-CT ?” –
     Primero Simposium Internacional BNH con UCSD Celebrado en Los Cabos. Los Cabos,
     Mexico; December 7, 2013.

103. “Management of Head Trauma” –Emergency Medicine Update Conference. Puerto Vallarta,
     Mexico; December 18, 2013.

104. “Updates in Cardiac Arrest: The ROC Trials” – Emergency Medicine Update Conference.
     Puerto Vallarta, Mexico; December 18, 2013.

105. “Pulmonary Embolism: Evaluation and Treatment”- 25th Annual Mexico Emergency
     Medicine Congress. Acapulco, Mexico; February 20, 2014.

106. “Management of Head Trauma” –Emergency Medicine Update Conference. Puerto Vallarta,
     Mexico; March 5, 2014.

107. “Updates in Cardiac Arrest: The ROC Trials” – Emergency Medicine Update Conference.
     Puerto Vallarta, Mexico; March 5, 2015.

108. “Management of Burns” –Trauma Update Conference. Puerto Vallarta, Mexico; April 3,
     2014.

109. “Management of Head Trauma” –Trauma Update Conference. Puerto Vallarta, Mexico; April
     3, 2014.

110. “Cuffs, Chains and Chairs” – Restraint and In-Custody Death Conference by the Institute for
     the Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; April 24, 2014.

111. “Management of Burns” –Trauma Update Conference. Los Cabos, Mexico; June 5, 2014.

112. “Management of Head Trauma” - Primera Feria Annual de la Salud. Guadalajara, Mexico;
     July 18, 2014

113. “Management of Burns” - Primera Feria Annual de la Salud. Guadalajara, Mexico; July 18,
     2014.

114. “Updates in Cardiac Arrest: The ROC Trials” – Primera Feria Annual de la Salud.
     Guadalajara, Mexico; July 18, 2014.

115. “Pulmonary Embolism: Evaluation and Treatment”- Primera Feria Annual de la Salud.
     Guadalajara, Mexico; July 18, 2014.


116. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
     Anesthesia Pain Service Grand Rounds, San Diego, CA September 24, 2014.
                                                                              &23B%0
                                               - 96 -
117. “The ABCs of CPR” –Huatulco Resuscitation Conference. Huatulco, Mexico; October 2,
     2014.

118. “Risk Management and Minimizing Malpractice Exposure” – UCSD Division of
     Gastroenterology Grand Rounds, San Diego, CA October 16, 2014.

119. “Identification and Treatment of Excited Delirium Syndrome” - Annual Update on Behavioral
     Emergencies Conference. Scottsdale, Arizona; December 11, 2014.

120. “Autopsy of an In-Custody Death” – Defense Research Institute Annual Conference, San
     Diego, CA January 30, 2015.

121. “TASERS: The shocking truth”- 26th Annual Mexico Emergency Medicine Congress.
     Mazatlan, Mexico; February 5, 2015.

122. “Resuscitation Update: CPR, Hypothermia and new devices” - 26th Annual Mexico
     Emergency Medicine Congress. Mazatlan, Mexico; February 5, 2015.

123. “Management of Head Trauma” - Segundo Feria Annual de la Salud. Guadalajara, Mexico;
     May 22, 2015.

124. “Updates in Cardiac Arrest: The ROC Trials” – Segundo Feria Annual de la Salud.
     Guadalajara, Mexico; May 22, 2015.

125. “Pulmonary Embolism: Evaluation and Treatment”- Segundo Feria Annual de la Salud.
     Guadalajara, Mexico; May 22, 2015.

126. “Resuscitation Update: CPR, Hypothermia and new devices” – Altitude and Travel Medicine
     Symposium. Cusco, Peru; August 21, 2015.

127. “Approaches to Stabilization, Transfer and Disposition of Tourist with Multiple Trauma –
     Altitude and Travel Medicine Symposium. Cusco, Peru; August 21, 2015.

128. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
     Orthopedics Grand Rounds, San Diego, CA December 2, 2015.

129. “Ketamine and EMS” – Annual Update on Behavioral Emergencies Conference. Las Vegas,
     Nevada; December 3, 2015.

130. “Pulmonary Embolism: Evaluation and Treatment”- 27th Annual Mexico Emergency
     Medicine Congress. Puerto Vallarta, Mexico; February 4, 2016.

131. “The importance of CT on the initial evaluation of a trauma patient: ABC or AB-CT ?” – 27th
     Annual Mexico Emergency Medicine Congress. Puerto Vallarta, Mexico; February 4, 2016.




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SELECTED SPEAKING ENGAGEMENTS, continued:

132. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
     Dermatology Grand Rounds, San Diego, CA February 11, 2016.

133. “Remembering the Provider” – Southern California Association of Health Risk Managers,
     Palm Desert, CA May 4, 2016.

134. “The ABCs of CPR” –San Miguel Health Fair. San Miguel, Mexico; July 15, 2016.




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EXHIBIT 15




EXHIBIT 15
COP_BM000120
EXHIBIT 16




EXHIBIT 16
   MBEGBU vs. CITY OF PHOENIX, ET AL.



SUPERIOR COURT OF THE STATE OF ARIZONA

  IN AND FOR THE COUNTY OF MARICOPA


          CASE No. CV-2015-011529




      EXPERT WITNESS RULE-26 REPORT

                    BY

       DEFENSE EXPERT GREG MEYER

             November 17, 2016




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Mbegbu vs City of Phoenix, et al                                   Defense Expert Greg Meyer's Rule 26 Report
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Opinion No. 8
Officers Gonzales, Johnson, Zemaitis and Weber received several use-of-force
training classes within two years prior to this incident.
All Arizona peace officers, including PPD officers, attend a 585-hour basic academy training, and must pass a series of
physical and written tests as well as scenario-based proficiency tests in order to become certified as peace officers. In
addition, Arizona POST mandates specific in-service training requirements so that officers maintain proficiency on a variety
of subjects, including tactics.

The officers’ training records indicate that they attended the following use-of-force related training classes within two years
prior to this incident:

          Officer Gonzales
          10-08-12         Mental illness videos (3)
          11-09-12         AOT firearms training; stunbag shotgun recertification
          04-13-13         Advanced Officer Training; AOT firearms training; stunbag shotgun recertification
          08-30-13         TASER X2 operator

          Officer Johnson
          10-08-12        Mental illness videos (3)
          11-09-12        AOT firearms training; stunbag shotgun recertification
          04-13-13        Advanced Officer Training; AOT firearms training; stunbag shotgun recertification
          05-04-13        TASER X2 operator

          Officer Zemaitis
          04-13-13         Advanced Officer Training; AOT firearms training; stunbag shotgun recertification
          05-04-13         TASER X2 operator
          09-15-14         Stunbag shotgun recertification

          Officer Weber
          10-17-12          AOT firearms training; stunbag shotgun recertification
          04-13-13          AOT firearms training; stunbag shotgun recertification
          05-04-13          TASER X2 operator


Opinion No. 9
It is important for officers to attempt to quickly gain compliance and control
and to restrain resisting subjects.
The quick compliance, control and restraint of a resisting subject is important for the safety of the officers and the
subject. Prolonged struggles tend to result in more injuries to officers and suspects. When noncompliant/resisting
subjects are not quickly controlled and restrained, the situation tends to become more dangerous for the subject and
the officers who may be hurt if the altercation escalates. In this case, Mbegbu assaulted an officer and was to be
arrested for it. He violently resisted arrest. For all of these reasons, it was essential to quickly overwhelm the subject,
subdue him, and control him.




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Mbegbu vs City of Phoenix, et al                                 Defense Expert Greg Meyer's Rule 26 Report
Page 15

Opinion No. 10:
Domestic violence calls present police officers with significant dangers and
sensitivities, and police are required by law to take such calls seriously, and
to make arrests when there is probable cause.
Nationwide in 2008, the Federal Bureau of Investigation (FBI) reported in its annual Law Enforcement Officers Killed
and Assaulted (LEOKA) report that 58,792 officers were assaulted while performing their duties. The largest
percentage (32 percent) were assaulted while responding to “disturbance calls,” which includes family disputes among
other types of disturbances. 41

Also, I am aware of two 9th Circuit Court of Appeals rulings in domestic violence cases that provide that the equal-
protection requirements of the United States Constitution require police officers to respond appropriately to such calls
and take them seriously. 42

I am also aware of another 9th Circuit ruling discusses the dangers officers face when responding to domestic violence
calls.

          We have observed that “[t]he volatility of situations involving domestic violence” makes
          them particularly dangerous. United States v. Martinez, 406 F.3d 1160, 1164 (9th
          Cir.2005). “When officers respond to a domestic abuse call, they understand that violence
          may be lurking and explode with little warning. Indeed, more officers are killed or injured
          on domestic violence calls than on any other type of call.” Id. (internal quotation marks and
          citation omitted). We have also “recognized that the exigencies of domestic abuse cases
          present dangers that, in an appropriate case, may override considerations of privacy.”
          United States v. Black, 482 F.3d 1035, 1040 (9th Cir.2007) (internal quotation marks
          omitted). 43

Opinion No. 11:
TASER is a generally effective, generally safer alternative to other types of
force.
There is a plethora of documentation in the form of court decisions and research studies that show that
TASER produces fewer and less severe injuries to subjects and officers, compared to conventional tools and
tactics, especially when dealing with a determined, resisting subject as was the case in this incident.

One of those studies is my own master’s thesis, an internationally recognized study (attached as
EXHIBIT NO. 1) that shows that TASER deployment on a resisting suspect typically results in fewer and less
severe injuries to officers and suspects, compared to other nonlethal police tools and tactics (including
batons, kicks, punches, flashlights, the “swarm” technique, and miscellaneous bodily force such as ground-
fighting, grappling, tackling, and other hands-on tactics).

A major National Institute of Justice (NIJ) funded TASER safety study included six law enforcement agencies
across the United States and was completed in October 2007. A tactical physician at each participating
agency reviewed police and medical records after each successful application of a Taser. The study was
reported in “Safety and Injury Profile of Conducted Electrical Weapons Used by Law Enforcement Officers

41
   From http://www.fbi.gov/ucr/killed/2008/summary_leoka.html
42
   Navarro v. Block, 72 F.3d 712 (9th Cir. 1995); and Balistreri v. Pacifica Police Dept., 901 F.2d 696 (9th Cir. 1990)
43
   Mattos v. Agarano, 661 F.3d 433, 450 (9th Cir.2011) (en banc)


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Mbegbu vs City of Phoenix, et al                       Defense Expert Greg Meyer's Rule 26 Report
Page 20

EXHIBITS

          1. “Nonlethal Weapons vs. Conventional Police Tactics: The Los Angeles Police
             Department Experience,” by Greg Meyer (California State University, Los Angeles,
             1991)

          2.    “Safety and Injury Profile of Conducted Electrical Weapons Used by Law
               Enforcement Officers Against Criminal Suspects,” Bozeman, et al., Annals of
               Emergency Medicine (poster)

          3. “The impact of conducted energy devices and other types of force and resistance on
             officer and suspect injuries,” article, by Smith, Kaminski, Rojek, Alpert and Mathis,
             “Policing: An International Journal of Police Strategies &Management, Vol. 30, No.
             3, 2007, ppg. 423-446

          4.    Greg Meyer’s curriculum vitae


EXPERT QUALIFICATIONS, PUBLICATIONS, AND OTHER CASES

My curriculum vitae is attached to this report (see EXHIBIT NO. 4). It documents the relevant
publications that I have authored during the past 10 years, and it lists the relevant cases in which I
have testified at trial or deposition during the past 4 years.

During my service as a police officer, detective, sergeant, lieutenant, and captain, I have personally
been present at dozens of incidents featuring persons in bizarre, agitated states due to stimulant drugs,
disabilities and/or mental illness. In dozens of these incidents, I was personally involved in
controlling or attempting to control such persons. In other incidents, I personally observed the
incidents as they unfolded and other personnel were engaged in the control efforts. I have seen the
injury outcomes from these incidents, and I have studied and published on the subject of injury
outcomes for use of force incidents. Many of the incidents I participated in, observed, or studied
featured use of TASERs. I have personally used TASERs or watched and/or directed others to use
TASERs. To further my knowledge, education and training, I have personally attended many law
enforcement seminars (featuring emergency room doctors, medical examiners, and medical
researchers) that lectured on the subject of people in bizarre, agitated states and issues of how to
control and restrain them.

I am a consultant and expert witness who specializes in police procedures, including use of force,
including TASERs. I have more than 37 years of experience with various TASER devices and other
nonlethal weapons devices (including shooting or deploying them) in my official law enforcement
capacity and my consulting capacity, including research, static testing, field testing, actual field
usages, designing and revising lesson plans for users and instructors, training users, training
instructors, writing published articles, lecturing on this subject, conducting demonstrations (including
voluntary exposures) for political officials and the media, and experiencing the TASER effects. I
have both supervised and adjudicated internal investigations of TASER usage incidents. In my
capacity as a commanding officer at the Los Angeles Police Academy, I observed and participated in
TASER training including TASER exposures conducted by instructors who worked for me. I have


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                                    GREG MEYER                        .&:&3&9)*#*5/0
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                                   CURRICULUM VITAE


NAME:                     Greg Meyer

LOCATION:          Los Angeles, CA

CONTACTS:          Office: (818) 956-1303
                   Cell:   (562) 715-7497

                   E-Mail: gregmeyer@earthlink.net

BIRTH:             1948 - Culver City (Los Angeles), CA

EDUCATION:         M.S. - Public Administration, Cal State Los Angeles (1991)
                         Master's Thesis: "Nonlethal Weapons vs. Conventional Police Tactics:
                          The Los Angeles Police Department Experience"

                   B.A. - Journalism, Cal State Long Beach (1979)

                   A.A. - Journalism, Los Angeles Pierce College (1974)

CERTIFICATES
& LICENSES:        Certified Force Science Analyst
                          Force Science Institute (2009 - present)

                   Certified Litigation Specialist
                          Americans for Effective Law Enforcement (2003 – present)

                   Certified instructor, TASER X-26 (2005, 2009)

                   Certified instructor, TASER M-26 Instructor (2001, 2003, 2005, 2009)

                   Certified instructor, Tasertron (various TASER devices, 1992 – 1999)

                   Teaching Credential (Police Science)
                          State of California (1981 - Lifetime)

                   California Peace Officer Standards and Training (P.O.S.T.)
                         (Basic, Intermediate, Advanced, Supervisory, Management Certificates)

EMPLOYMENT:        Police Tactics and Procedures Consultant
                          (Author, Lecturer, Consultant, Expert Witness) - self-employed
                          (1989 - present)

                   Los Angeles Police Department (1976 – 2006)
                          Officer, Detective, Sergeant, Lieutenant, Captain, including assignments
                          in patrol, detectives, vice, traffic, planning and research, tactical
                          planning, administration, and training. Retired from active service 5-31-



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                                  GREG MEYER
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                          06. Field Reserve Officer (1976-77); Reserve Officer (2006-2012);
                          Specialist Volunteer, LAPD Training Group (2013 – present).

                   Long Beach Police Department, Patrol Officer (1977-78)

                   McDonald's Corporation, Restaurant Manager, Training Coordinator
                     (1972-76)

ASSOCIATIONS:      Force Science Research Center (FSRC)
                          National Advisory Board member (2006 - present)
                          Certified Force Science Analyst (2009 - present)

                   Police Executive Research Forum (PERF)
                          Associate Member (2005 – present); advisor, PERF’s
                          Center for Force and Accountability (2005 – 2007);
                          panel member for development of Conducted Energy Device guidelines
                          (2005 and 2010); attended annual meetings (2004, 2005, 2006, 2012);
                          attended special meeting re Body Worn Cameras (2013)

                   Peace Officers Association of Los Angeles County (POALAC)
                          Training Seminars Committee chair (2003 - 2011); Board of Directors
                          (2004 – present); member (1981 - present)

                   Americans for Effective Law Enforcement (AELE)
                          Certified Litigation Specialist (2003 – present); Academic Committee
                          member for AELE’s Certified Litigation Specialist program (2002 –
                          present); Chairman, Association of Certified Litigation Specialists (2011-
                          2013); Monthly Law Journal l review panelist (2009 - present); seminar
                          instructor for “Critical Incident Response: Management and Legal
                          Liability” seminar (2002-2005); seminar instructor for “Lethal and Less-
                          Lethal Force” seminar (2006-2013); seminar instructor for
                          “Management, Oversight and Monitoring of Use of Force” (2013)

                   American Society for Law Enforcement Training (ASLET)
                          Vice Chair (2003-2004); Treasurer (2001-2003); Executive Board
                          (2001-2004); seminar instructor (1994 - 2004); master of ceremonies
                          for annual seminar opening ceremonies in Anchorage, Ontario (CA), and
                          St. Louis (2002-2004)

                   International Association of Chiefs of Police (IACP)
                          Co-author of Electronic Control Weapons model policy revision (2010);
                          Project Advisor, “Electro-Muscular Disruption Technology: A Nine Step
                          Strategy for Effective Deployment” (published April 2005); IACP member
                          (1993 - present); attended IACP Annual Conference (2004, 2005, 2006)

                   PoliceOne.com
                          Featured columnist (2006 - present)

                   Los Angeles Police Command Officers Association
                          Member (1998 - 2006)


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                                   GREG MEYER
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                   POLICE Magazine
                          Advisory Board Member and article contributor (1997 - present)

                   California Association of Force Instructors (CAFI)
                          Presenter and Associate Member (1994 – 2000)

                   Public Administration Advisory Committee
                          California State University, Los Angeles (1993 - 1998)

                   Pi Sigma Alpha public administration honor society (1990)

                   California Homicide Investigators Association
                          Past Member

                   California Peace Officers Association (CPOA)
                          Member (1980 - life member)

                   Century Club, West Valley Family YMCA
                          Member (1974 - 2006)

                   President’s Club, Los Angeles Metropolitan YMCA
                          Member (1976 – present)

                   Chairman’s Round Table, West Valley Family YMCA
                          Member (2007 – present)


MILITARY:          United States Army Security Agency (1968-72)
                          Top Secret/Cryptographic security clearance; Radio Traffic Analyst,
                          Airborne Radio Direction Finding Specialist and German Linguist; duty
                          stations included Pleiku and Nha Trang, Vietnam (1969-1970); and
                          Bad Aibling, West Germany (1970 – 1972)

COMMUNITY
SERVICE:           Los Angeles Metropolitan YMCA
                         Member, Steering Committee, Board of Governors (2016 –
                         present)

                   Mid-Valley YMCA (San Fernando Valley, CA)
                          Chairman, Board of Managers (2014 – present)

                   Tri-Valley YMCA (San Fernando Valley, CA)
                          Chairman, Board of Managers (2012 – 2014); (a combination of three
                          YMCA branches under one management/leadership team)




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                   Los Angeles Police Museum
                          Chairman of the Board of Directors (1992-1995; 2007-2010); Vice
                          Chairman (2014); Director (1989-2014); on-camera interview for “The
                          History Channel” program on the 1997 North Hollywood Bank Robbery
                          Shootout (2008); Co-Chair, Capital Development Campaign (2000-
                          2001); Producer, Annual Jack Webb Awards Night (1996, 1999, 2012);
                          Co-producer, Jack Webb Awards Night (1997, 1998, 2001, 2004)

                   Valley Traffic Advisory Council (San Fernando Valley, CA)
                          Founder (2001); Advisor (2001-2004); Director (2007- 2009); Honorary
                          Member (2009 - present)

                   West Valley Family YMCA (Reseda, CA)
                         Member, Board of Managers (2011 - 2012); Leadership reunion
                          organizer (2010); Keynote speaker, annual campaign kickoff dinner
                          (2008 & 2009); Chairman’s Round Table (2007-present); President’s
                          Club (1974-present);Century Club (1974 – 2006); Board of Managers
                          (1973-76); Camp Committee Chairman (1974)

HONORS &
AWARDS:            Flip Smith “Pillar of the Community Award” (2015) as chairman of the
                   Mid Valley Family YMCA

                   “Mid-Valley YMCA Golden Triangle Award for Outstanding Service”
                   (2014)

                   “Lifetime Achievement Award” (2012); “Member of the Year” (2006)
                   Peace Officers Association of Los Angeles County (POALAC)

                   LAPD Management Achievement Award Nominee, for leadership
                   accomplishments as a division commanding officer (2001)

                   “Volunteer of the Year” Los Angeles Police Historical Society (2000)

                   LAPD Management Achievement Award Nominee, for leadership of
                   Wilshire Area’s “Predators to Prison” Program (1996)

                   Defensive Tactics Newsletter’s Leadership Award to recognize
                   commitment and contributions to research in training & tactics (1994)

                   Medallion Recipient, National Philanthropy Day in Los Angeles for activities
                   with the Los Angeles Police Historical Society (1992)

                   LAPD’s Hollywood Detective of the Year (1983)

                   Soldier of the Quarter, U.S. Army Field Station Bad Aibling, Germany (1971)

                   Army Commendation Medal, Vietnam (1969-1970)



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                                      GREG MEYER
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LAPD
PROFESSIONAL
ACTIVITIES: *          Member, Tactics Training Review Committee, a work group that
                       creates and updates LAPD Use of Force Tactics Directives for the Chief
                       of Police; monthly meetings (2013 – present)

                   *   Leader, LAPD Use-of-Force “Best Practices” Strategic Planning
                       Work Group, direction and coordination of internal subcommittees and
                       outside consultants examining policy, training, equipment, tactics, post-
                       incident review processes; directed LAPD’s TASER Model X-26 field test;
                       LAPD media resource on these issues (2005-2006)

                   *   Leader, LAPD Use-of-Force “Best Practices” Strategic Planning
                       Work Group (2005 – 2006) (turned over the leadership role upon retiring
                       from LAPD in May 2006, continued as work group member); recognized by
                       the Los Angeles Board of Police Commissioners during its adoption of a
                       revised LAPD use-of-force policy resulting from a four-year project (2009)

                   *   Member, Professional Advisory Committee, a work group focusing on
                       police improvement training issues, coordinated by the LAPD Director
                       of Police Training and Education, LAPD Academy (2009 - present)

                   *   Demonstrated TASER-Cam device for the Chief of Police (2007)

                   *   Presenter, LAPD Chief of Police and United States Military
                       Delegation from Baghdad, Iraq, on crime and traffic issues,           Los
                       Angeles (August 2006)

                   *   Participant, National Institute of Justice Conference, featuring
                       nonlethal weapons session and force-options simulator technology
                       session, Washington, DC (July 2006)

                   *   Participant, Police Executive Research Forum (PERF) focus group on
                       officer safety issues, Washington, DC (May 2006)

                   *   Participant, Police Executive Research Forum (PERF) Annual
                       Meeting, focused on law enforcement “best practices,” San Francisco
                       (April 2006)

                   *   Presenter, TREXPO-West on TASERs and Excited Delirium (March
                       2006)

                   *   Presenter, LAPD In-Service Training Section Training Day on
                       TASERs and Excited Delirium (March 2006)

                   *   Presenter, LAPD Chief of Police press conference, to announce
                       LAPD’s field test of TASER Model X-26 (February 2006)


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                   *   Presenter, Institute for Law Enforcement Administration (ILEA)
                       national summit on use of force, Plano, TX (January 2006)

                   *   Presenter, TASER Executive Course for law enforcement leaders, risk
                       managers, and legal staff, Scottsdale (December 2005)

                   *   Participant, Police Executive Research Forum (PERF) conference on
                       handling the mentally ill and use of force, San Diego (December 2005)

                   *   Member, California Peace Officer Standards and Training
                       Commission (POST) committee to create a statewide standardized
                       lesson plan for TASER instructor certification, Sacramento (2005)

                   *   Coordinator, Use of Force Training for LAPD Commissioners (2005)

                   *   Presenter, Performance Institute’s 2005 Use of Force Summit,
                       Arlington VA (November 2005)

                   *   Participant¸ Police Executive Research Forum (PERF) conference on
                       TASER policy development, Houston (October, 2005)

                   *   Participant, International Association of Chiefs of Police (IACP)
                       annual conference, numerous use of force seminars, Miami (September
                       2005)

                   *   Participant, Canadian Officer Safety Conference, Victoria BC
                       (September 2005)

                   *   Participant, Force Science Research Center (FSRC) seminar on
                       biomechanics of officer-involved shooting incidents, “Winning Extreme
                       Encounters from Street to Court,” Seattle (June 2005)

                   *   Advisor, Police Executive Research Forum (PERF) Center for Force
                       and Accountability (June 2005 – present)

                   *   Participant, Police Executive Research Forum (PERF) Annual
                       Meeting, focused on international police use of force issues and “best
                       practices,” New York City (April 2005)

                   *   Creator, multi-agency custody-death research work group to inspire
                       the US Surgeon General to involve the medical research community in this
                       persistent law enforcement problem (April 2005)

                   *   Project Advisor, International Association of Chiefs of Police
                       (IACP) publication, “Electro-Muscular Disruption Technology: A
                       Nine Step Strategy for Effective Deployment” (published April 2005)


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                   *   Participant, US Department of Justice Symposium on Less-Lethal
                       Weapons Technology, including workshop interaction with international
                       law enforcement and military chiefs and trainers, Arlington, VA  (April
                       2005)

                   *   Coordinator, Chief of Police-directed review of LAPD use-of-force
                       policies and procedures by eight nationally renowned use-of-force
                       experts (March 2005)

                   *   Participant, International Association of Chiefs of Police (IACP)
                       annual conference, attended numerous use of force seminars,
                       Los Angeles (November 2004)

                   *   Participant, LAPD Chief of Police “72-hour Briefings” following
                       officer-involved shootings and other major incidents (2004-2006)

                   *   Advisor, William H. Parker Foundation (2004-2006)

                   *   Guest lecturer on police traffic safety and management issues,
                       Pepperdine University’s School of Public Policy, graduate seminar
                       (2004)

                   *   Chairman, ad hoc committee to improve traffic collision reporting
                       efficiency (2003-2004)

                   *   Member, Los Angeles City Councilman Jack Weiss’ Advisory
                       Commission (2002 – 2004)

                   *   First-level adjudicator as the commanding officer for hundreds of
                       disciplinary cases involving public and internal personnel complaints;
                       directed these investigations (1998 – 2006)

                   *   Presenter of facts, findings and recommendations to the Use of
                       Force Review Board for officer-involved shootings and other significant
                       use of force incidents (1999 – 2006)

                   *   Board member, Police Sergeant selection process (2001)

                   *   Participant, Law Enforcement Ethics Symposium presented by the
                       FBI (2001)

                   *   Reviewer, Police Lieutenant civil service examination (2001)

                   *   Assistant Chair, Area Integrity Plan Development Committee (2000)




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                   *   Member, Board of Inquiry to examine the suitability of particular officers
                       to be promoted to the rank of detective and sergeant (1999 - present)

                   *   Guest speaker, International Traffic Conference, Madrid, Spain
                       (2000)

                   *   Participant, California Office of Traffic Safety’s annual conference,
                       San Diego (2000)

                   *   Chairman of the LAPD Board of Rights, a de novo disciplinary hearing
                       for a Los Angeles Police Department captain accused of “neglect of duty”
                       in the Department’s “Rampart corruption scandal” (2000)

                   *   Master of ceremonies, Valley Traffic Safety Summit (2000-2004)

                   *   Member, LAPD Informant Policy and Procedures Review Committee
                       (2000)

                   *   Panelist, West San Fernando Valley Traffic Summit, a seminar for
                       community activists, elected officials, and various government agencies
                       pertaining to improving traffic safety (2000)

                   *   Guest speaker, California Assembly Speaker Robert Hertzberg’s
                       Public Safety Advisory Committee, and his Families and Community
                       Advisory Committee, on the subjects of traffic safety and the Rampart
                       corruption probe (1999-2000)

                   *   Civil service interview and personnel-package-review panelist for
                       the sergeant’s exam process (1999)

                   *   Member, Board of Inquiry committee to examine command
                       accountability for reviews of nondeadly force, vehicle pursuits, and fleet
                       safety issues pertaining to policy, training and practices of the        Los
                       Angeles Police Department (1999)

                   *   Commissioner, San Fernando Valley Public Safety Advisory
                       Commission convened by California State Assembly Speaker
                       Bob Hertzberg (1999 – 2003)

                   *   Member, Traffic Strategic Committee of the Los Angeles Police
                       Department, to develop and recommend improvements to the
                       Department’s efforts to reduce traffic collisions through education,
                       engineering and enforcement (1999 –2001)

                   *   Member, Detective Strategy Committee of the Los Angeles Police
                       Department, to develop and recommend improvements to the



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                           Department’s efforts to produce high-quality criminal investigations (1998-
                           1999)

                       *   Member, Short-Term Strategy Committee on Juvenile Issues of the
                           Los Angeles Police Department, to develop and recommend
                           improvements to the Department’s efforts to produce high quality
                           processes involving juveniles (1998-1999)

                       *   Chairman or Member, numerous Boards of Rights tribunals to
                           adjudicate disciplinary matters within the Los Angeles Police Department
                           (1998 – 2006)

                       *   Chairman or Member, numerous Advanced Paygrade Selection
                           Interview Panels for Lieutenant II and Detective III (1998 – 2005)

                       *   LAPD—West Point Leadership Course instructional cadre member
                           (1997 - 2005)

                       *    Leadership Course instructor for watch commanders, sergeants, and
                           field training officers, Los Angeles Police Academy (1995 - 1997)

                       *   Use-of-Force Review Coordinator, LAPD Wilshire Area (1993 - 1994)

                   *       Advisor, Use-of-Force Management Information System Task Force
                           (1994)

                       *   Chairman or Member, numerous Advanced Paygrade Selection
                           Interview Panels for Sergeant II, Detective III, Detective II, and Police
                           Officer III (Field Training Officers and Detective Trainees (1993 –1998)

                       *   Member, LAPD Tactics Training Review Committee (1990 – 1993,
                           2004 – 2006, and 2013 - present)

                       *   Rodney King case: Provided expert consultation on use-of-force issues
                           to the criminal and internal investigators (1991), state case prosecutors
                           (1991-92), City Attorney and administrative defense representatives
                           (1991-1994), U.S. Attorney and Federal Bureau of Investigation (1992);
                           memo to federal judge re use of force policy/training history (1993).

                       *   Reviewed and analyzed use-of-force and officer-involved shooting
                           reports for the Commanding Officer, Operations-Headquarters Bureau
                           (1991-93)

                       *   Conducted a special investigation of a command officer at the
                           direction of the Chief of Police (1987)




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                     *   Authored “The Watch Commander’s Guide for Control of Disasters
                         and Other Emergencies” (1982)

                     *   Developed nonlethal weapons policy &training material (1980-81)

                     *   Trained 67 instructor/divisional coordinators and three tactics
                         supervisors on the TASER device, LAPD Academy (1981)

                     *   Researched and/or tested thirteen nonlethal weapons at Planning
                         and Research Division (1979-80)

                     *   Staffed the LAPD Ad Hoc Committee on Nonlethal Weapons and
                         created the Nonlethal Control Device Incident Report, later adapted as
                         LAPD’s Use of Force Report (1980)

                     *   Conducted demonstrations of nonlethal weapons for the Mayor of
                         Los Angeles, the Los Angeles Board of Police Commissioners, and the
                         media (1980)

                     *   Member/staffer, LAPD’s Human Resources Development Committee
                         (1980-81)

SPECIALIZED
TRAINING
RECEIVED:

             *           Force Science Institute, update seminar re officer safety tactics,
                         contact-cover, reaction time issues, edged weapon distance, officer and
                         subject movement speeds (4 hours) (2016)

             *           Field Encounters with the Mentally Ill, Peace Officers Association
                         of Los Angeles County (POALAC) (8 hours) (2014)

             *           Managing, Oversight and Monitoring of Use of Force, Americans for
                         Effective Law Enforcement’s (AELE) (3 days, Las Vegas) (2013)

                 *       Institute for Prevention of In-Custody Death (IPICD) annual seminar
                         (3 days, Las Vegas) (annually 2006-2013)

                 *       Officer-Involved Shooting Investigation Course, Los Angeles Police
                         Department (3 days, Los Angeles, 2009)

                 *       Force Science Analyst Certification Course, Force Science Institute
                         (5 days, San Jose, 2009)




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               *    Lethal and Less-Lethal Use of Force Seminar, Americans for
                    Effective Law Enforcement (AELE) (3 days, annually or twice per year
                    from 2002-2013)

               *   Public Safety Discipline and Internal Affairs Course, Americans for
                   Effective Law Enforcement (AELE) (3 days, 2005, 2009, 2014)

               *    Training on California Highway Patrol (CHP) Mobile Video Audio
                    Recording System (MVARS) presented by CHP staff at the California
                    Department of Justice (Los Angeles office) (February 2013)

               *    Training on TASER X-2 and X26, presented by Advanced Officer Safety
                    Training staff of the California Highway Patrol (CHP) at the California
                   Department of Justice (Los Angeles office) (August 2012)

               *    Jail and Prison Legal Issues, Americans for Effective Law
                    Enforcement’s (AELE) (3 days, Las Vegas) (2005, 2011)

               *    SWAT Debrief: The Death of LAPD SWAT Officer Randy Simmons
                    (3 hours, Pleasanton, CA, by instructor Mike Odle, 2011)

               *    Earthquake Management Course, California Specialized Training
                    Institute (5 days, San Luis Obispo, 1981)

               *    Civil Disorders Management Course, California Specialized
                    Training Institute (5 days, San Luis Obispo, 1982)

               *    Basic Detective School, LAPD (15 days, 1982)

               *    Supervisory Development Course, LAPD (20 days, 1983)

               *    Juvenile Procedures School, LAPD (3 days, 1983)

               *    Vice School, LAPD (5 days, 1986)

               *    Supervisory Press Relations Training, LAPD (1 day, 1988)

               *    Homicide School, LAPD (5 days, 1991)

               *    Watch Commander School, LAPD (5 days, 1993)

               *    Effective Leadership Course, LAPD Wilshire Area (1994)

               *    P.O.S.T. Management Course (10 days, 1993)




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               *        LAPD--West Point Leadership and Command Program (24 days,
                        1996)

               *        LAPD Command Development Course (24 days, 1998-1999)

               *        Street Survival Seminar, Calibre Press (3 days, Honolulu (1999)

               *        “Leadership in the 21st Century,” presented by the University of
                        California at Los Angeles, the University of Southern California,
                        Pepperdine University, and Claremont University (12 days, 1999 – 2003)

               *        “Suicide By Cop – Revisited,” sponsored by the Peace Officers
                        Association of Los Angeles County (1 day, 2000)

               *        Live-fire weapons, dynamic building entry, and drug-lab
                        investigations, by the Drug Enforcement Administration (DEA), 4 hours
                        (shooting M4, M4A1, HK53, AR15), Los Angeles (1 day, 2007)


NON-LAPD
EXPERT
ACTIVITIES:        Presented multi-media lectures on use-of-force policy, training, equipment,
                       tactics, ethics, and risk-management processes to:

                   *    RLS Seminar, “Protecting Cops in the 21st Century,” presenter on the
                        PERF 30 Guiding Principles for Use of Force to attorneys and police
                        representation unit officials (San Jose, October 2016)

                   *    Use of Force Summit, “Policy, Implementation, and Training in a
                        Changing World,” presenter on nonlethal weapons policy and training
                        issues; and critique of the PERF 30 Guiding Principles; also acted as
                        master-of-ceremonies for the two-day event (Coral Gables, FL, September
                        2016)

                   *    Special Assistant to the Attorney General, California Department of
                        Justice; and deputy to Los Angeles County Supervisor Hilda Solis,
                        focus on policy, training, equipment, tactics (July 2016)

                   *    Department of Homeland Security HQ, Office of Civil Rights and
                        Civil Liberties, focus on policy, training, equipment, tactics, case studies
                        of DHS component agency complaints (Washington DC, May 2016)

                   *    Peace Officers Association of Los Angeles County (POALAC),
                        producer and presenter, LEOKA (Law Enforcement Officers Killed and
                        Assaulted) and use of force seminar, video and body-cam issues, and
                        TASERs (110 participants) (March 2016)



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                   *   Harvard-Westlake school, criminal justice seminar, discussed police
                       use of force issues with students of attorney Laurie Levenson (8
                       participants) (March 2016)

                   *   Office of the District Attorney, Los Angeles County, use of force
                       presentation for deputy district attorneys and local law enforcement,
                       focused on video evidence (including body cameras), use of force basics,
                       and nonlethal weapons ( 500 participants) (November 2015)

                   *   Office of the Public Defender, Los Angeles County, use of force
                       presentation focused on video evidence (including body cameras), use of
                       force basics, and nonlethal weapons (60 participants) (September 2015)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, use of force seminar, focusing on Force Science
                       issues, video and body-cam issues, and TASERs, POST-certified (55
                       participants) (April 2015)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, “Video Evidence Issues” seminar (October 2014)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter use of force seminar, focusing on Force Science
                       issues, video and body-cam issues, and TASERs, POST-certified (50
                       participants) (April 2014)

                   *   Americans for Effective Law Enforcement’s (AELE) Annual Lethal
                       and Less-Lethal Weapons seminar, Las Vegas, focused on Force
                       Science issues (95 participants) (October 2013)

                   *   Lorman seminar for plaintiff and defense attorneys and law
                       enforcement management, “Police Liability in California,” focused
                       on TASER issues and Force Science issues, Santa Ana (CA) (10
                       participants) (June 2013)

                   *   Lorman seminar for plaintiff and defense attorneys and law
                       enforcement management, “Police Liability in California,” focused
                       on TASER issues and Force Science issues, Pasadena (CA) (25
                       participants) (June 2013)

                   *   Americans for Effective Law Enforcement’s (AELE) Managing,
                       Oversight and Monitoring of Use of Force, Las Vegas, focused on
                       TASER issues (135 participants) (April 2013)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, use of force seminar, focusing on Force Science
                       issues and TASERs, POST-certified (65 participants) (January 2013)


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                   *   Americans for Effective Law Enforcement’s (AELE) Annual Lethal
                       and Less-Lethal Weapons seminar Las Vegas, focused on Force
                       Science issues (110 participants) (October 2012)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, “Critical Incidents: Lessons Learned” seminar,
                       focusing on the BART shooting/weapons confusion case (55 participants)
                       (July 2012)

                   *   Lorman seminar for plaintiff and defense attorneys and law
                       enforcement management, “Police Liability in California,” TASER
                       issues and Force Science issues, Santa Ana (48 participants) (June
                       2012)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, “Video Evidence Issues” seminar (80
                       participants) (May 2012)

                   *   Travis County Grand Jury (Austin, TX) to educate Grand Jury
                       members on officer-involved shooting policy, training, tactics, and force-
                       science issues (February 2012)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, use of force seminar, focusing on Force Science
                       issues and TASERs, POST-certified (55 participants) (February 2012)

                   *   Labor Relations Information System (LRIS) annual Internal Affairs
                       and Critical Incidents seminar, focus on arrest-related deaths, use-of-
                       force policy, police trainers, involuntary firearms discharges, Las Vegas
                       (110 participants) (November 2011)

                   *   Scottsdale (AZ) Police Department supervisors, focus on TASER
                       issues for supervisors, trainers, and SWAT personnel (25 participants)
                       (June 2011)

                   *   Public Safety Training Institute (PSTI), for various “East Bay”
                       (Northern California) law enforcement agencies, 240 participants (two, 4-
                       hour seminars) (July 2011)

                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, use of force seminar, focusing on TASER issues,
                       Glendale, CA, 50 participants, POST-certified (June 2011)

                   *   Independent Cities Risk Management Association (ICRMA),
                       representing 22 cities in the greater Los Angeles Area, 50 participants
                       (May 2011)


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                   *   Peace Officers Association of Los Angeles County (POALAC),
                       producer and presenter, use of force seminar, focusing on TASER issues,
                       Long Beach, CA, 45 participants, POST-certified (November 2010)

                   *   Institute for Law Enforcement Administration (ILEA) Use of Force
                       and Sudden In-Custody Death Seminar, Plano (TX), 75 participants
                       (September 2010)

                   *   Arroyo Grande (CA) Police Department (with guests from various
                       Central California Agencies), 40 participants (September 2010)

                   *   Americans for Effective Law Enforcement’s (AELE) Annual Lethal
                       and Less-Lethal Weapons seminar (formerly: Critical Incident
                       Response Management Seminar), Las Vegas (60-275 participants),
                       usually twice per year (2002 – 2010)

                   *   Peace Officers Association of Los Angeles County (POALAC), use
                       of force seminar, focusing on TASER and nonlethal weapons issues, 70
                       participants, POST-certified, Torrance, CA (October 2009)

                   *   Lorman seminar for plaintiff and defense attorneys and law
                       enforcement management, “Police Liability in California,” Santa Ana
                       (February 2009)

                   *   Penn State University’s Center for Community and Public Safety’s
                       annual seminar for Pennsylvania constables, presenting on the
                       subject of sudden in-custody death, 150 participants including police
                       training personnel, attorneys, and judges (November 2008)

                   *   Institute for Law Enforcement Administration (ILEA) Use of Force
                       and Sudden In-Custody Death Seminar, 150 participants, Plano (TX)
                       (2008)

                   *   Annual TASER Instructor Conference, 280 participants, Chicago
                       (2007)

                   *   Beverly Hills Rotary Club, lunch speaker, police use of force,        120
                       participants (2007)

                   *   Presenter, Pepperdine University public-policy graduate seminar,
                       20 graduate students, requested by former Los Angeles Police
                       Commissioner Racquelle de la Rocha (2006)

                   *   Presenter and panelist on Tasers and excited delirium, 30 law
                       enforcement executives and ACLU members, presented by the New York
                       Civil Liberties Union (Albany) (2006)


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                   *   Performance Institute’s 2005 Use of Force Seminar, 30 participants,
                       Arlington VA (2006)

                   *   TASER International’s Executive Course, 150 participants, Scottsdale
                       (2005)

                   *   TASER International’s Annual Instructor Seminar,
                       Las Vegas (150 participants) (2002)

                   *   Defensive Tactics Newsletter’s Annual Training Seminar,
                       Tallahassee, Florida (25 participants) (2002)

                   *   American Society for Law Enforcement Training (ASLET),
                       International Training Seminar, Anchorage, AK (100 participants) (2002)

                   *   Los Angeles County Sheriff’s Department training day for 1,200
                       deputies, West Covina, California (2002)

                   *   The Urban Alliance on Race Relations conference, “Alternatives to the
                       Use of Lethal Force by Police,” Ontario, Canada (2000)

                   *   California Association of Police Training Officers (CAPTO),
                       Norwalk, California; team-teach use-of-force issues with police defense
                       attorney Michael P. Stone; and panelist with Assistant U.S. Attorney
                       Michael Gennaco and plaintiff’s attorney Stephen Yagman (160
                       participants) (2000) (8-hour POST certified)

                   *   American Society for Law Enforcement Training (ASLET),
                       International Training Seminar, Richmond, VA (200 participants) (2000)

                   *   American Society for Law Enforcement Training (ASLET), Regional
                       Use of Force Seminar, Ontario, California (50 participants) (1999)

                   *   American Society for Law Enforcement Training (ASLET), Regional
                       Use of Force Seminar, Los Angeles, California (50 participants) (1997)

                   *   Sudden In-Custody Death Seminar (presenter and panelist),
                       Washington State Criminal Justice Training Commission (200 participants)
                       (1997)

                   *   California Association of Police Training Officers (CAPTO),
                       Regional Seminar, Fresno, CA (50 participants) (1996) (8-hour POST-
                       certified)

                   *   American Society for Law Enforcement Training (ASLET),
                       International Training Seminar, Grapevine, TX (100 participants) (1996)



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                   *   California Association of Police Training Officers (CAPTO), Annual
                       Seminar Bakersfield, California (80 participants) (1995)

                   *   American Society for Law Enforcement Training (ASLET), Regional
                       Use of Force Seminar, Albuquerque, New Mexico (50 participants) (1995)

                   *   South East (Los Angeles County) Training Association, at the
                       University of Southern California (80 participants) (1995)

                   *   American Society for Law Enforcement Training (ASLET),
                       International Training Seminar, Anchorage, Alaska (100 participants)
                       (1995)

                   *   Los Angeles Sheriff’s Academy, for the California Association of
                       Force Instructors (CAFI) (35 participants) (1994)

                   *   Central Florida Criminal Justice Institute at Orlando (20 participants)
                        (1994)

                   *   Orange County Traffic Officers’ Association (75 participants) (1994)

                   *   Wisconsin Chiefs’ Training Seminar (200 participants), Milwaukee
                       (1993)

                   *   Wisconsin Department of Justice Round Table (35 chiefs and
                       sheriffs), Osh Kosh (1992)

                   *   Americans for Effective Law Enforcement (AELE) workshop on
                       Critical Liability Issues (100+ participants), Las Vegas (1991, 1996,
                       2000)

                   *   Trained and certified more than 375 TASER instructors for dozens of
                       law enforcement and corrections agencies, for Tasertron (1991 – 1999)

                   *   State-licensed chemical spray trainer, trained hundreds of civilians
                       (1981)

                   *   Trained more than 20 TASER users, Inglewood Police Department
                       (1981)




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OTHER EXPERT
ACTIVITIES:

               *   Appointed as the Law Enforcement and Policing Practices Subject
                   Matter Expert in support of the US Department of Homeland
                   Security Headquarters – Office for Civil Rights and Civil Liberties,
                   to conduct independent reviews of selected public complaint and use of
                   force incidents by the Border Patrol, ICE, TSA, Secret Service, and other
                   DHS components; rewrite use of force policy; presentation to DHS
                   headquarters management on use-of-force issues. (June 2015 until
                   present)

               *   Moderator of the Keynote Panel, Body-Worn Camera Summit,
                   focused on lessons learned from the early adopters of the technology
                   (TBA in San Diego, February 2017)

               *   Participant, Town Hall Meeting, Police Executive Research Forum
                   (PERF), focused on rollout of PERF’s ICAT training program (Integrating
                   Communications, Assessment, and Tactics) related to the PERF 30
                   Guiding Principles for use-of-force policy and training (San Diego, October
                   2016)

               *   Panelist, “Journalist Law School,” Loyola Law School, seminar on
                   how to fairly and accurately investigate allegations of excessive force or
                   other misconduct, for prominent television and print media from around the
                   country (35 participants) (June 2016)

               *   Participant, The Fidler Institute, Loyola Law School, presentations on
                   access to justice, terrorism and cyberterrorism, technology innovations in
                   probation and parole, and workplace and consumer protection crimes (April
                   2016)

               *   Producer, “Active Shooter Incidents in Southern California,” a
                   seminar for the Peace Officers Association of Los Angeles County
                   (150 participants) (April 2016)

               *   Guest speaker, University of Southern California (USC) Journalism
                   School, re police use of force issues (March 2016)

               *   Producer, “Active Shooter Incidents in Southern California,” a
                   seminar for the Peace Officers Association of Los Angeles County (375
                   participants) (November 2015)

               *   Participant, Town Hall Meeting, Police Executive Research Forum
                   (PERF), focused on officer-involved shooting investigations, use-of-force
                   policy and training (Phoenix, June 2015)




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               *   Independent review of the death of Nicholas Covelli (occurred 2003
                   in Frazier Park, CA), involving bizarre behavior and an officer-involved
                   shooting. (2015)

               *   Interviewed by KCRW radio re TASER history and issues (2015)

               *   Expert witness and consultant on police procedure and use-of-
                   force issues (1989 – present)

               *   Participant, The Fidler Institute, Loyola Law School, presentations on
                   police body-cams, line-up identifications, and grand jury processes (2015)

               *   Interviewed as a Subject Matter Resource on a Los Angeles Police
                   Department, Training Division project to integrate four California POST
                   perishable-skills training subjects into a training course that mirrors actual
                   field situations (2015)

               *   Provided input for the Police Executive Research Forum (PERF)
                   conference (Washington DC, May 2015) “Re-Engineering Use-of-
                   Force Policies, Training and Supervision”

               *   Consultant, final draft of The Law of Self-Defense and The Use of
                   Force in California, publication produced by Michel and Associates, PC

               *   Participant, Internal Affairs and Discipline Seminar, presented by
                   Americans for Effective Law Enforcement (AELE), Las Vegas (2014)

               *   Guest on PBS “The News Hour” and NPR Radio in the wake of
                   controversial use of force incidents in New York and Missouri (August
                   2014)

               *   JPX Pepper Gun, handled and test-fired at the Los Angeles Police
                   Department Academy (August 2014)

               *   Panelist, “Journalist Law School,” Loyola Law School, seminar on
                   how to fairly and accurately investigate allegations of excessive force or
                   other misconduct, for prominent television and print media from around the
                   country (40 participants) (May 2014)

               *   Independent Expert Reviewer, Office of the Inspector General,
                   Oakland (CA) Police Department, to review and report on selected OPD
                   use of force cases during internal adjudication and testify at administrative
                   hearings (2014)

               *   Contributing editor, Electronic Control Weapons samples policies,
                   LAAW International, LLC (2014)




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               *   Participant, The Fidler Institute, Loyola Law School, presentations on
                   homicide investigations, sexual assault investigations, police misconduct
                   investigations (2014)

               *   Outside Independent Expert Advisor, Long Beach (CA) Police
                   Chief’s Community Use of Force Advisory Committee          (2013
                   – 2014)

               *   Edited article on OC (Pepper Spray) issues for Americans for Effective
                   Law Enforcement’s monthly law journal (April 2014)

               *   Participant, Annual Sudden and In-Custody Death
                   Conference, presented by the Institute for Prevention of In-Custody
                   Death, Las Vegas (each November 2005-2013)

               *   Participant, National Conference on Body Cameras, Police Executive
                   Research Forum (PERF) conference, Washington DC (September 2013)

               *   Donor, “The Greg Meyer Taser Collection,” Smithsonian National
                   Museum of American History, a collection of artifacts and files from
                   TASER inventor Jack Cover and my personal equipment and files (2013)

               *   Reviewer, United States Environmental Protection Agency
                   (EPA)/Criminal Investigation Division (CID) shooting incident
                   (2013)
                   Conducted independent external review for the EPA Inspector General re a
                   shooting involving EPA/CID personnel in Florida (2013)

               *   Consultant, California Peace Officer Standards and Training
                   (POST), re development of their lesson plan for the officer-involved
                   shooting investigations course (July 2012)

               *   Reviewer, two draft National Institute of Justice reports, “Evaluation
                   of Less Lethal Beanbag Munitions and Launchers” and “Evaluation of
                   Taser X2,” (June 2012)

               *   Contributing editor, “Weapons Confusion and Civil Liability”
                   article, for Monthly Law Journal of American’s for Effective Law
                   Enforcement (AELE) (May 2012)

               *   Participant, Critical Issues in Policing Series: An Integrated
                   Approach to De-Escalation and Minimizing Use of Force, Police
                   Executive Research Forum (PERF) conference (Washington DC,
                   February 2012)




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               *      Interviewed by Fox News 11 (Los Angeles) re the value of videotape
                      evidence; and whether to show it to involved officers before or after
                      interview; live television, “Studio 11 LA” (January 2012)

               *      Participant, Use of Force, Electronic Control Devices, and In-
                      Custody Death—Formulating a Plan, South Bay Training Committee
                      (Redondo Beach, CA, January 2012)

               *      Participant, Use of Force Investigation and Risk Management
                      lecture by attorney Randy Means, Labor Relations Information System
                      (LRIS) seminar (2011)

               *      Interviewed by Tammi Downey, producer for Discovery Channel
                      Canada, re forthcoming documentary on electronic control weapons
                      (2011)

               *      Reviewer, Oakland (CA) use-of-force incident
                      Conducted independent external review for the chief of police re a use-of-
                      force incident involving TASER, pepper spray, and baton (2010)

               *      Participant, Police Executive Research Forum (PERF) meeting to
                      revise Conducted Energy Device Guidelines and contributor to the
                      final editing process (Philadelphia) (August 2010)

               *      Edited Force Science News article re the Oakland BART Murder
                      trial (2010)

               *      Conducted internal affairs investigation for a local police agency to
                      determine propriety of a TASER use in a street confrontation between an
                      officer and a subject (2010)

               *       Participant, “The Deadly Mix: 20 Years of Officer Survival
                       Research,” 8-hour class by former FBI staff who authored “In the Line of
               Duty,” “In the Line of Fire,” and “Violent Encounters” (2010)

               *      Interviewed by Karyn MacEwan, producer for Discovery Channel, re
                             forthcoming documentary on TASER inventor Jack Cover (2010)

               *      Participant, Internal Affairs and Discipline Seminar, presented by
                      Americans for Effective Law Enforcement (AELE), Las Vegas (2009)

               *      Participant, New Product Advisory Meeting, TASER International
                      Headquarters, Scottsdale (2009)

               *      Interviewed by Hannah Simon, PoliceOne.com, for an article relating
                      to TASER International’s new guidelines for probe target areas (2009)



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                                   GREG MEYER
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               *   Interviewed by Nick Berardini, for a feature-length documentary film
                   on TASERs (2009)

               *   Interviewed by Bill Kidd, “Law Enforcement Management Bulletin,”
                   re TASER policy and training issues for law enforcement executives and
                   supervisors (2009)

               *   Interviewed by Chuck Remsberg, “Force Sciences News,” re TASER
                   recommendations from the Braidwood report in British Columbia (2009)

               *   Advisor, “Research roundup: Latest on Tasers, arrest-related
                   deaths, excited delirium,” Force Science News Bulletin #127 (2009)

               *   Co-author, “Electronic Control Weapons Model Policy,”
                   International Association of Chiefs of Police (IACP), revision published in
                   2010

               *   Participant, TASER Annual Instructor Conference, including rollout of
                   the TASER X3 model, Ft. McDowell (AZ) (2009)

               *   External reviewer, TASER International’s revision of “Product
                   Warnings: Law Enforcement” document (July, 2009)

               *   Participant, TASER International’s new product line
                   demonstration including X-REP shotgun (fired it), Shockwave, and
                   AXON, Los Angeles Sheriff’s Academy (2009)

               *   Certified instructor, TASER X-26 (2005, 2009)

               *   Certified instructor, TASER M-26 (2001, 2003, 2005, 2009)

               *   Participant, TASER Executive Conference, Los Angeles Sheriff’s
                   Academy (March 2009)

               *   Co-producer and presenter, Institute for Law Enforcement
                   Administration (ILEA) use of force and sudden in-custody death
                   seminar, Texas (2008)

               *   External reviewer, TASER International’s revision of “Product
                   Warnings: Law Enforcement” document (January & April 2008)

               *   Participant, Jail and Prison Legal Issues Seminar, presented by
                   Americans for Effective Law Enforcement, Las Vegas (2008)

               *   Guest¸ TASER Scientific and Medical Advisory Board Meeting (Las
                   Vegas); participated in discussions of current issues (2007)



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                                  GREG MEYER
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               *   Monitored TASER user training for 60 LAPD officers at the
                   Los Angeles Police Academy, including viewing all officers receive
                   TASER exposures for training purposes (September 18, 2007)

               *   Edited three articles on Electronic Control Weapons issues for
                   Americans for Effective Law Enforcement (see www.aele.org monthly
                   law journals for March, April and May (2007)

               *   Peer Reviewer, US Department of Homeland Security’s FY 2005
                   Commercial Equipment Direct Assistance Program (2006)

               *   Interviewed by Court-TV for a half-hour program on TASERs (2006)

               *   Participant, International Association of Chiefs of Police (IACP)
                   annual conference, attended use of force seminars, Boston (2006)

               *   Reviewer, Police Executive Research Forum national survey on
                   Officer Safety/Body Armor, sponsored by United States Department of
                   Justice, Bureau of Justice Assistance (2006)

               *   Radio talk show guest, debating Amnesty International on stun-gun
                   issues, Station WWRL (New York) (2006)

               *   Participant, TASER Annual Instructor Conference, Las Vegas (2006)

               *   Participant, Internal Affairs and Discipline Seminar, presented by
                   Americans for Effective Law Enforcement (AELE), Las Vegas (2005)

               *   Consultant, TASER issues for Vista Research (2005 - 2008)

               *   Presenter and panelist on the state and future of law enforcement
                   training, Academy of Criminal Justice Sciences (ACJS), Las Vegas
                   (2004)

               *   Academic Committee member, Americans for Effective Law
                   Enforcement’s “Certified Litigation Specialist” program (2002 –
                   present)

               *   Presented informal session, “Rafael Perez and the LAPD Rampart
                   Corruption Game,” American Society for Law Enforcement Training,
                   Orlando (2001).

               *   Editor, POST instructor-course proposal “Weaponless Defense
                   Against Contact Weapons” for Steve Tarani, Edge Defense (2000)




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               *   Panelist, “Mass Violence in America: The Law Enforcement
                   Response,” pertaining to Rapid-Response/Active Shooter tactics for
                   situations like the Columbine school shooting and other in-progress major
                   incidents, for the American Society for Law Enforcement Training
                   (ASLET), Richmond, Virginia (2000).

               *   Reviewer and editor for police attorney Michael P. Stone’s article,
                   “Lethal Force and Law Enforcement Activity-Related Deaths—A
                   Suggested Protocol for Investigation” (1999)

               *   Peer review panel member, National Institute of Justice, for federal grant
                   proposals relating to the Impact of Technology on Policing, Washington,
                   D.C. (1998)

               *   Presenter, custody-death issues re Price v. San Diego to the California
                   Association of Force Instructors (CAFI), Los Angeles (1998)

               *   Co-presenter, “The Value of Videotaped Evidence,” American Society
                   for Law Enforcement Training (ASLET), Los Angeles (1997)

               *   Presenter, causes and prevention of sudden in-custody death, to
                   the California Association of Force Instructors (CAFI), Beverly Hills,
                   California (1997)

               *   Met with the Director, Science and Technology Division, National
                   Institute of Justice, on concepts and issues surrounding development of
                   improved nonlethal weapons policy and technology (1994)

               *   Participant in the RAND Corporation’s meeting on transfer of less-
                   than-lethal military technology to civilian law enforcement arena;
                   and attended the House Armed Services Committee, Research and
                   Technology Subcommittee hearing on that subject (1994)

               *   Consultant to California Peace Officer Association, Standards and
                   Ethics Committee on nonlethal weapons policy, tactics and training
                   issues (1993)

               *   Consultant to California Peace Officer Standards and Training
                   Commission's round table on pepper spray policy and training
                   standards (1993)

               *   Conducted nonlethal weapons demonstrations and presentations
                   to the following during 1980-81:

                            *     California Peace Officers Association, Admin Institutes




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                                *   California Highway Patrol Academy, including numerous law
                                    enforcement agency and media representatives from the
                                    Sacramento area
                                *   California Department of Corrections, Sacramento
                                *   California Specialized Training Institute, San Luis Obispo
                                *   Rio Hondo Police Academy, Whittier
                                *   Redondo Beach Police Department
                                *   Chief of Police, Oakland
                                *   Chief of Police, San Francisco
                                *   Chief of Police, Los Angeles




LAPD
ASSIGNMENT
HISTORY:
          2013 -             Specialist Volunteer, LAPD Training Group
                             Consultant to the Commanding Officer, Police Science and Training
                             Bureau, regarding police training issues; member, LAPD Tactics
                             Training Review Committee

               2006 - 2012   Reserve Officer, Los Angeles Police Department
                             Consultant to the Chief of Police re use of force issues; consultant
                             to the Director, Police Training and Education re training issues;
                             expert resource for LAPD Media Relations and Professional
                             Standards Bureau re use-of-force issues.

               2004 – 2006   Captain, Training Division (Captain II)

                             Line command in partnership with one other captain, more than 300
                             employees assigned to the three major facilities of the
                             Los Angeles Police Academy, including nonlethal weapons, tactics,
                             firearms, pursuit driving, curriculum development, recruit
                             coordination (est. 600+ recruits annually), in-service course
                             coordination (more than 80 courses annually), e-learning
                             development and implementation. Chairman, Tactics Training
                             Review Committee. Manage the training of Department employees
                             and perform a variety of administrative and coordination functions.
                             Review/adjudicate police pursuits, use of force and internal affairs
                             cases. Serve as chairman or associate member of numerous
                             Boards of Rights (internal discipline tribunals to conduct de novo
                             hearings of internal affairs cases). Speaker at supervisor,
                             detective, leadership and other schools at the Police Academy.
                             Work closely with the Police Commission, the Chief of Police and
                             other high-ranking officials on use-of-force policy, training,
                             equipment, tactics and post-incident procedures, including policy
                             and training changes for use of the flashlight as an impact device,
                             and shoot/don’t shoot at moving vehicles, PIT maneuvers and spike



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                     strips. Manage the 2005 re-write of the LAPD Use of Force
                     Sourcebook. Manage the Revolving Training Fund ($1.5 million
                     annually). Manage the Police Academy’s relationship with the
                     College of Canyons. Manage the Police Academy’s relationship
                     with the California Peace Officers Standards and Training
                     Commission (POST) and attend numerous POST Commission
                     meetings. Manage the LAPD/West Point Leadership Program.
                     Manage the LAPD Personal Protection Equipment and Weapons of
                     Mass Destruction (PPE/WMD) training program, including liaison
                     with the Los Angeles County Sheriff’s Department and the
                     California Specialized Training Institute (CSTI).
                     (Retired from active service May 31, 2006)

       1999 – 2004   Commanding Officer, Valley Traffic Division (Captain II)

                     Line command of more than 200 employees assigned to enforce
                     the traffic laws, investigate traffic collisions, conduct follow-up
                     investigations of major injury and fatal collisions, hit/run collisions,
                     and arrests, and educate the public about traffic collision prevention
                     issues. Review/adjudicate police pursuits, use of force and internal
                     affairs cases. Expert resource for LAPD on pursuit reviews.
                     Serve as chairman or associate member of numerous Boards of
                     Rights (internal discipline tribunals to conduct de novo hearings of
                     internal affairs cases). Review and approve probationary officer
                     rating reports. Liaise with community groups, politicians, the
                     insurance industry, transportation engineers, surrounding police
                     agencies, and others to reduce deaths and injuries on our
                     highways. Deploy field forces to perform the traffic safety,
                     enforcement and collision investigation mission in a manner that
                     simultaneously assists patrol divisions with their crime control
                     activities. Task Force coordinator for crime-suppression
                     operations throughout the San Fernando Valley (2002-2004).

       1998 – 1999   Commanding Officer, North Hollywood Operations Support
                     Division (Captain I)

                     Line command of 95 employees assigned to detectives, vice,
                     CRASH, bike/hype detail, career criminal apprehension,
                     in-service training coordination, probationary officer training
                     coordination including approval of probationary rating reports and
                     counseling unsatisfactory probationary officers, personnel
                     investigations, and crime analysis. Review/adjudicate pursuits, use
                     of force, and internal affairs cases. Serve as chairman or
                     associate member of numerous Boards of Rights (internal
                     discipline tribunals to conduct de novo hearings of internal affairs
                     cases). Area liaison to the North Hollywood business and security
                     communities. Act for the Area Commanding Officer in his absence.



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                     Creator of the “Spike Busters!” crime-control program in support of
                     the FASTRAC command-accountability process. Act for the Area
                     commanding officer in his absence.

       1996 - 1998   Watch Commander, West Traffic Division (Lieutenant)

                     Line supervision of 90 employees, including 10 sergeants
                     assigned to collision investigation, traffic enforcement, community
                     traffic services. Act for the commanding officer in his absence.
                     Oversee implementation and effectiveness of goals and
                     expectations for employee productivity and work quality.
                     Review/adjudicate pursuits, use of force, and internal affairs cases.
                      Monitor and rate the work of supervisory employees. Instrumental
                     in development and implementation of the division’s Vision and
                     Mission Statements, and the Strategic Plan.

       1994 - 1996   Assistant Commanding Officer, Wilshire Detective Division
                     (Lieutenant)

                     Line supervision of 90 employees, and coordination
                     responsibilities for follow-up investigations including murder,
                     manslaughter, rape, robbery, aggravated assault, burglary, auto
                     theft, juvenile matters, and other crimes. Act for the commanding
                     officer in his absence. Monitor and evaluate the work of
                     supervisory employees. Leader of the Operations-West Bureau
                     Detective Mobile Field Force during emergency operations.
                     Review/adjudicate pursuits, use of force, and internal affairs cases.


       1993 - 1994   Patrol Watch Commander, Wilshire Area (Lieutenant)

                     Line supervision for patrol sergeants and officers responding to
                     emergencies and handling basic calls for service. Take field
                     command of major tactical incidents. Supervise the division’s
                     probationary officer training coordinator, approve probationary
                     rating reports and conduct feedback and counseling to satisfactory
                     and unsatisfactory probationary officers. Monitor and rate the work
                     of supervisory employees. Review/adjudicate pursuits, use of
                     force, and internal affairs cases. Act for the commanding officer in
                     his/her absence.

       1991 - 1993   Adjutant/Aide to the Commanding Officer and the Assistant
                     Commanding Officer, Operations-Headquarters Bureau
                     (Senior Sergeant)

                     Perform administrative functions (including review of internal
                     affairs, use of force, and pursuit investigations) for the command



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                     that includes specialized detective functions, narcotics, SWAT,
                     Metropolitan Division, Air Support Division, Tactical Planning
                     Section, and Traffic Coordination Section.

       1989 – 1991   Adjutant to the Commanding Officer, Detective Support
                           Division (Senior Detective)

                     Perform administrative functions (including review of internal affairs
                     and use of force investigations) for the command that includes
                     Special Investigation Section, Criminal Conspiracy Section, Gang
                     Information Section, Fugitive/Warrant Section, and Asian Crime
                     Investigation Section.

       1988 - 1989   Field Detective, Hollywood Area (Detective)

                     Conduct follow-up investigations on reports of crime.

       1986 - 1988   Assistant Officer-in-Charge, Traffic Coordination Section
                     (Senior Sergeant)

                     Line supervision for the Traffic Legislation and Special Projects
                     Unit. Act for the officer-in-charge in his absence. Monitor and rate
                     the work of supervisory employees. Supervised work on LAPD
                     pursuit policy revisions. Supervised the Specialized Collision
                     Investigation Detail (SCID) re major accidents involving the Police
                     and Fire Departments, including pursuits. Authored the Office of
                     Operations Management Paper, “1987—The Year of Traffic
                     Enforcement” and several articles for the Chief of Police.

       985 - 1986    Officer-in-Charge, Prostitution Enforcement Detail,
                     Hollywood Vice (Sergeant)

                     Line supervision and performance evaluation for personnel
                     assigned to suppress street prostitution in Hollywood Area.

       1984 - 1985   Officer-in-Charge, Hollenbeck Footbeats; and Patrol
                     Supervisor (Sergeant)

                     Line supervision and performance evaluation for uniformed
                     personnel assigned to footbeat patrols in several housing projects
                     and business districts; and perform general patrol supervision.
                     Officer-in-charge of field transportation detail in the
                     Coliseum/USC/Exposition Park venue during the 1984 Olympic
                     Games.

       1982 - 1984   Detective Trainee, Hollywood Area (Police Officer III)




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                     Conduct follow-up investigations on reports of crime
                     (robberies, sexual assaults, auto-related crimes, burglaries and
                     thefts). Honored as the 1983 Hollywood Detective of the Year.

       1981 - 1982   Researcher, Tactical Planning Section (Police Officer III)

                     Author of LAPD’s Watch Commander’s Guide for Control of
                     Disasters and Other Emergencies, as well as numerous other staff
                     research projects. Field command post equipment driver.

       1980 - 1981   Field Training Officer, Venice Area (Police Officer III)

                     Train, evaluate and document the performance of
                     probationary police officers, respond to calls for service and
                     conduct general patrol functions.

       1979 - 1980   Staff Researcher/Adjutant, Planning and Research Division
                     (Police Officer II and III)

                     Primary researcher and field-test coordinator, LAPD’s
                     nonlethal weapons program including TASER, teargas sprays,
                     other devices. Demonstrate these devices to police managers,
                     political officials, and the media. Write LAPD policy and training
                     material on nonlethal weapons. Train front-line supervisors as
                     users of these devices. Author of numerous other staff projects.
                     Perform administrative functions for the commanding officer.

       1978 - 1979   Patrol Officer, Southwest Area (Police Officer I and II)

                     Respond to calls for service and conduct general patrol functions.

       1978          Recruit Officer ( Police Officer I)

       1977 - 1978   Patrol Officer, Long Beach Police Department (Police Officer)

                     Respond to calls for service and conduct general patrol functions.

       1976 - 1977   Reserve Police Officer, Wilshire Area (Line Reserve Officer)

                     Respond to calls for service and conduct general patrol functions.




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PARTIAL
BIBLIOGRAPHY:      **REDCATED TO SHOW PAST 10 YEARS OF ARTICLES PER RULE 26**

                   “A Revolution in Use-of-Force Policy and Training?” article, POLICE
                   magazine (March 2016)

                   “Nonlethal weapons revisited: A tactical update,” article,
                   PoliceOne.com (September 2015)

                   “Improving ECW Tactics and Policies,” article, POLICE magazine
                   (August 2015)

                   “Body Cameras –Keep It Real,” guest editorial, POLICE magazine (June
                   2015)

                   “Drafting Your Agency’s Body-Worn Camera Policy,” lead article,
                   POLICE magazine body-camera supplement (June 2015)

                   “Digital Video: Working Under the Microscope,” article, POLICE
                   magazine online edition (June 2015)

                   “Unarmed Suspects and ‘Un-brained Media,” guest editorial, POLICE
                   magazine (October 2014)

                   “Tactics and science of TASER deployment,” article, PoliceOne.com
                   (January 2014)

                   “Lessons from the Onion Field,” article, POLICE Magazine online
                   (March 2013)

                   “Latest Medical Research on TASERs,” article, PoliceOne.com
                   (October 2012)

                   “Video Evidence Issues: Conflict and Controversy,” article,
                   PoliceOne.com (June 2012)

                   “The L.A. Riot – 20 Years Later,” article, POLICE website (April 2012)

                   “Training Crisis,” editorial, ghost-written for the publisher, POLICE
                   magazine (April 2012)

                   “TASER Drive-Stun Heading to US Supreme Court?” article,
                   PoliceOne.com (February 2012)

                   “The ‘Occupy’ Movement and Your Agency Response,” article,
                   POLICE website (December 2011) and magazine (January 2012)



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                   “TASER ECW Basics,” article, PoliceOne.com (November 2011)

                   “Tactical Challenge: Suicidal Person with a Knife,” article,
                   PoliceOne.com, (June 2011)

                   “PERF Updates Its Electronic Control Weapons Guidelines,” article,
                   PoliceOne.com (April 2011)

                   “Rodney King: 20 Years Later,” article, PoliceOne.com (March 2011)

                   “Two Major TASER Cases on Appeal at the 9th Circuit,” article,
                   PoliceOne.com (January 2011)

                   “Analysis of the BART Cop’s 2-Year Prison Sentence,” article,
                   PoliceOne.com (November 2010)

                   “The BART Shooting Tragedy: Lessons to be Learned,” article,
                   PoliceOne.com (July 2010)

                   “Getting It Off My Chest: TASER’s New Aiming Guidelines,” article,
                   PoliceOne.com (Oct. 2009)

                   “Why History Makes the Case for Less Lethal,” article, PoliceOne.com
                   (Sep. 2009)

                   “The AMA Takes on TASER Tactics,” article, PoliceOne.com (Aug.
                   2009)

                   “The UCLA Library Incident—Revisited,” article, PoliceOne.com (Jun.
                   2009)

                   “Emergency Room Doctor Survey re Police ‘Excessive Force’ . . .
                   Ouch!” article, PoliceOne.com (Apr. 2009)

                   “Conducted Energy Weapons: A User’s Perspective,” chapter for
                   TASER® Electronic Control Devices: Physiology, Pathology, and
                   Law, in collaboration with numerous doctors and medical examiners, a 32-
                   chapter book (published by Springer, Mar. 2009) ******

                   “TASER Inventor Jack Cover, Rest in Peace,” article, PoliceOne.com
                   (Mar. 2009)

                   “The Latest Amnesty International Report on Electronic Weapons,
                   article, PoliceOne.com (Dec. 2008)

                   “Another Federal Court Supports Officers in TASER Lawsuit,”
                   article, PoliceOne.com (Oct. 2008)


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                   “TASER Incidents in the News,” article, PoliceOne.com (Sept. 2008)

                   “Telling Your Story,” article, PoliceOne.com (August 2008)

                   “A Checklist to Enhance Your Nonlethal Weapons Program,” journal
                   article, California Peace Officer, (Fall 2008)

                   “Nonlethal Weapons: The Promise and the Challenge,” journal
                   article, Law Enforcement Executive Forum (July 2008)

                   “Little Words, Big Consequences,” article, PoliceOne.com (June 2008)

                   “Court Backs TASER Use,” article, PoliceOne.com (April 2008)

                   “Taking on the Media,” article, PoliceOne.com (February 2008)

                   “Tons of TASER News,” article, PoliceOne.com (October 2007)

                   “TASER Tactics, Training Injuries, and the Kitchen Sink,” article,
                   PoliceOne.com (August 2007)

                   “Do Away with the Anyways,” article, PoliceOne.com (June 2007)

                   “They’re Still Out There,” article, PoliceOne.com (April 2007)

                   “One-on-One, in the Backyard,” article, PoliceOne.com (Feb. 2007)

                   “The Gap: How Loss of the Neck Restraints Led to the Rodney King
                   Incident,” article, PoliceOne.com (January 2007)

                   “Rodney King Revisited,” article, PoliceOne.com (December 2006)

                   “Police Force, in Color,” article, published on the LAPD website blog
                   (mentioned by the Los Angeles Times 11-14-06), also published under
                   various titles by PoliceOne.com, American Police Beat, and The Beat
                   (LAPD) (November-December 2006)

                   “TASER Tactics Update,” article, PoliceOne.com (October 2006)

                   “Caught on Tape . . . Nice Save!” article, PoliceOne.com (September
                   2006)

                   “Resources for Sudden In-Custody Deaths,” article, PoliceOne.com
                   (August 2006)




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*      Interviewed by local and national media (1980 - present):

           o   Time                                     * US News & World Report
           o   Police Chief (IACP)                      * Longview News-Journal (TX)
           o   Los Angeles Times                        * Fox News 11, “Studio 11 LA”
           o   Los Angeles Herald Examiner              * Associated Press (AP)
           o   Los Angeles Daily News                   * Money Magazine
           o   Good Housekeeping                        * Grand Junction (CO) Sentinel
           o   Aspen Daily News                         * Miami Daily Business Review
           o   The Mountain Enterprise                  * Court-TV
           o   FOX News (Tampa, FL)                     * POLICE Magazine (multiple occasions)
           o   San Francisco Chronicle                  * National Public Radio (NPR)
           o   Austin American-Statesman                * Charlotte (NC) Observer
           o   Police & Security News                   * Force Science News (multiple occasions)
           o   Law Enforcement Management Bulletin      * Long Beach (CA) Register
           o   Nick Berardini (documentary on TASERs)   * RT.com
           o   PoliceOne.com                            * Discovery Channel
           o   KNBC-TV, KABC-TV, KCBS-TV,               * Kansas City Star
           o   KTLA-TV, KTTV-TV                         * Las Vegas Sun Times
           o   The Capital (Anne Arundel, MD)           * Oakland Tribune
           o   WNYC Radio (New York)                    * San Francisco Examiner
           o   Slate                                    * Las Vegas Review Journal
           o   Discovery Channel Canada                 * St. Petersburg Times
           o   KLAS-TV Channel 8 (Las Vegas)            * Acadiana Advocate
           o   The Daily (New York)                     * KPCC Public Radio
           o   Tampa Bay Times                          * KCRW Radio
           o   Columbus (GA) Ledger-Enquirer            * Washington Post
           o   Salt Lake Tribune                        * Scripps Television
           o   Baltimore Sun                            * BBC
           o   The Daily Breeze (CA)                    * CNN Digital
           o   Tallahassee Democrat                     * KCBS Radio (San Francisco)
           o   The Today Show (NBC)                     * Daily Mirror (London, UK)
           o   The News Hour (PBS)                      * Boston Herald
           o   Hawaiian News Now                        * Forbes
           o   USA Today                                * KUOW Radio-Seattle
           o   Harvard-Westlake Chronicle               * TheInfluence.org
           o   Reuters                                  * New York Times




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LITIGATION
ACTIVITIES:            1989-PRESENT: CASES: 269             DEPOSED: 53                 TESTIFIED: 48

               **REDCATED TO SHOW PAST 4 YEARS OF TESTIMONY PER RULE 26**

               Bordegaray v. County of Santa Barbara (CA) (2016) (Federal)
                     Expert witness for the defense, civil suit alleging excessive force, officer-
                     involved shooting (Deposed)

               Osorio v. State of California (CA) (2015)
                      Expert witness for the defense, civil suit alleging wrongful death, fatal officer-
                      involved shooting (Deposed)

               R.A. v. County of Riverside (CA) (2015) (Federal)
                       Expert witness for the defense, civil suit arising out of a fatal officer-involved
                       shooting by a California state parole agent, TASER issues (Deposed)

               Eberhard v. State of Calif (CHP) (CA) (2015) (Federal)
                     Expert witness for the defense, civil suit alleging false arrest (Deposed)

               Oakland Police Officer O Arbitration (CA) (2015)
                     Expert witness for the police department; appeal of discipline regarding
                     excessive force, TASER issues (Testified)

               Lam v. City of San Jose (CA) (2015) (Federal)
                      Expert witness for the defense, civil suit arising out of alleged excessive force,
                      officer-involved shooting (Testified)

               West v. United States (AZ) (2015) (Federal)
                      Expert witness for the defense (USA and City of Mesa), civil suit arising out of
                      alleged wrongful conviction for armed robbery (Deposed)

               Gonzales v. City of San Jose (CA) (2015) (Federal)
                     Expert witness for the defense, civil suit arising out of search and seizure, false
                     arrest, and use of force issues (Deposed)

               Jacobo v. City of Phoenix (2015) (Federal)
                     Expert witness for the defense, civil suit arising out of search and seizure and
                     false arrest issues (Deposed)

               Oakland Police Officer N Arbitration (CA) (2014)
                     Expert witness for the police department; appeal of discipline regarding
                     excessive force, TASER issues (Testified)

               Rezek v. City of Tustin (CA) (2014) (Federal)
                      Expert witness for the defense, civil suit alleging false arrest, excessive force
                      (Testified)

               Espinoza v. City of Mesa (AZ) (2014) (Federal)
                     Expert witness for the defense, civil suit alleging excessive force, nonfatal
                     officer-involved shooting (Testified)



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               Fowler v. State of California (CA) (2013) (Federal)
                      Expert witness for the defense, civil suit alleging excessive force during a DUI
                      arrest (Testified.)

               Atencio v. Arpaio, et al. (AZ) (2013) (Federal)
                      Expert witness for the defense (City of Phoenix defendants), civil suit excessive
                      force, arrest-related death, TASER issues (Deposed)

               U.S. v. Colorado City (AZ) and Hildale (UT) (2013) (Federal)
                       Expert witness for the defense, civil suit alleging discriminatory enforcement
                       practices by a police agency (Deposed)

               Tatro v City of Paso Robles (CA) (2013)
                       Expert witness for the defense, civil suit alleging employee harassment,
                       retaliation, imposition traffic citation quotas by a police agency (Deposed)

               Shirar v. State of California (CHP) (CA) (2013)
                       Expert witness for the defense, civil suit alleging excessive force, fatal officer-
                       involved shooting (Deposed)

               Bieg v. City of Springfield (MO) (2013) (Federal)
                       Expert witness for the defense, civil suit alleging excessive force, TASER
                       involved (Deposed)

               Hardy v. City of Chicago (IL) (2013) (Federal)
                      Expert witness for the defense, civil suit alleging excessive force, TASER
                      involved (Deposed)

               Gonzales-Guerrero v. City of San Jose (CA) (2013) (Federal)
                     Expert witness for the defense, civil suit alleging excessive force, nonfatal
                     officer-involved shooting (Deposed)

               Coto and Molina v. County of Los Angeles (CA) (2012) (Federal)
                      Expert witness for the defense, civil suit alleging excessive force resulting in
                      arrest-related death, TASER involved (Deposed)

               Sparks and Murr Administrative Appeal (CO) (2012)
                      Expert witness for the City of Denver, administrative appeal of discipline
                      imposed, excessive force (Testified)

               Tapia v. Skarupinski (IL) (2012) (Federal)
                      Expert witness for the defense, civil suit alleging excessive force during arrest,
                      TASER issues (Deposed, settled)

               Travis County Grand Jury (TX) (2012)
                      Testified before Grand Jury members on officer-involved shooting policy,
                      training, tactics, and force-science issues while it reviewed a fatal officer-
                      involved shooting case (February 2012)




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               Bravo v. City of Santa Maria (CA) (2012) (Federal)
                      Expert witness for the defense, civil suit alleging deficiencies in a search
                      warrant (Deposed)

               F.C. v. City of Phoenix (AZ) (2011) (Federal)
                       Expert witness for the defense, civil suit alleging excessive force, nonfatal
                       officer-involved shooting (Deposed)

               Rehkow v. City of Phoenix (AZ) (2011) (Federal)
                     Expert witness for the defense, civil suit alleging malicious prosecution and civil
                     rights violations stemming from alleged false arrest and perjury by a police
                     detective (Deposed)

               Guizan v. Town of Easton (CT) (2011) (Federal)
                      Expert witness for the defense of a police chief, captain, and officer, civil suit
                      alleging deficiencies in a search warrant; and excessive force regarding
                      management decision-making during a multi-agency crisis entry with flash-bangs
                      deployed, fatal officer-involved shooting (Deposed)




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